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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION




FEDERAL TRADE COMMISSION,
                                                     Case No.: 4:23-CV-03560-KH
              Plaintiff,

         v.

U.S. ANESTHESIA PARTNERS, INC., et al.,

              Defendants.



                            Plaintiff Federal Trade Commission’s
                            Appendix of Authorities in Rule 26(f)
                           Joint Discovery/Case Management Plan
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360 Mortgage Grp, LLC v. LoanCare LLC, Not Reported in Fed. Supp. (2018)


                                                                against Castle Mortgage, and it brings fraud, fraudulent
                    2018 WL 6272034                             inducement, negligent misrepresentation, negligence, and
     Only the Westlaw citation is currently available.          conspiracy claims against Castle Mortgage and LoanCare.
United States District Court, W.D. Texas, Austin Division.
                                                                Shortly after removal, LoanCare filed a motion to dismiss the
               360 MORTGAGE GRP, LLC                            claims against it under Rule 12(b)(6). In the present motion it
                        v.                                      requests that the Court stay discovery against it until the Rule
                 LOANCARE LLC, et al.                           12 motion is resolved. It contends there is a high likelihood
                                                                that its Rule 12 motion will be granted, and that all claims
                       1:18-CV-332 RP                           against it will be dismissed.
                              |
                      Signed 11/30/2018

Attorneys and Law Firms                                                                  II. Analysis

                                                                LoanCare requests that the Court stay discovery because the
Jason W. Snell, John-Robert Skrabanek, The Snell Law Firm,
                                                                resolution of its motion to dismiss “may obviate the need
P.L.L.C., W. Lance Cawthon, Cawthon Law, P.L.L.C., Austin,
                                                                for any discovery or will at least narrow the issues and
TX, for 360 Mortgage Grp, LLC.
                                                                allow the parties to pursue discovery in a more targeted
Ethan G. Ostroff, Troutman Sanders LLP, Virginia Beach,         fashion.” Dkt. No. 22-1 at 2-3. Under Rule 26(c), “[t]he
VA, Virginia Bell Flynn, Troutman Sanders LLP, Dallas, TX,      court may, for good cause, issue an order to protect a party
for LoanCare llc, et al.                                        or person from annoyance, embarrassment, oppression, or
                                                                undue burden or expense.” FED. R. CIV. P. 26(c)(1). To show
                                                                “good cause” under Rule 26, the party seeking a stay of
                         ORDER                                  discovery must “show the necessity of its issuance, which
                                                                contemplates a particular and specific demonstration of fact as
ANDREW W. AUSTIN, UNITED STATES MAGISTRATE                      distinguished from stereotyped and conclusory statements.”
JUDGE
                                                                   In re Terra Int’l, Inc., 134 F.3d 302, 306 (5th Cir. 1998)
 *1 Before the Court is Defendant LoanCare LLC’s Motion         (quoting    United States v. Garrett, 571 F.2d 1323, 1326
for Protective Order (Dkt. No. 22), 360 Mortgage’s Response     n.3 (5th Cir. 1978) ). The Court has broad discretion in
(Dkt. No. 25), and LoanCare LLC’s Reply (Dkt. No. 26). On       determining whether to grant a motion for a protective order
October 9, 2018, the District Court referred the above motion
                                                                or stay of discovery.      Landry v. Air Line Pilots Ass’n
to the undersigned for a determination pursuant to     28       Int’l AFL-CIO, 901 F.2d 404, 436 (5th Cir.), cert. denied, 498
U.S.C. § 636(b)(1)(A), Rule 72, and Rule 1(c) of Appendix       U.S. 895 (1990).
C of the Local Rules.
                                                                LoanCare has failed to show “good cause” to stay discovery
                                                                in this case. While, in theory, a court may find good cause
                  I. General Background                         to stay discovery when there is a pending 12(b)(6) motion,
                                                                in practice such stays are very rare, and almost never wise.
On March 26, 2018, 360 Mortgage Group, LLC filed                   Glazer’s Wholesale Drug Co., Inc. v. Klein Foods, Inc.,
this suit against LoanCare and Castle Mortgage Corp. in         2008 WL 2930482, at * 1 (N.D. Tex. July 23, 2008) (such
Travis County District Court. The case was removed to this
Court on April 23, 2018, based on diversity of citizenship.     stays are “the exception rather than the rule”);   Von Drake
Dkt. No. 1. 360 Mortgage alleges that Castle Mortgage           v. Nat’l Broad. Co., 2004 WL 1144142, at *1 (N.D. Tex.
breached a contract between the two parties, and also           May 20, 2004) (“While discovery may be stayed pending the
alleges that both Castle Mortgage and LoanCare defrauded        outcome of a motion to dismiss, ‘the issuance of stay is by no
it in relation to the handling of a particular loan that        means automatic.’ ”). As one district judge has noted, “[h]ad
was part of a loan pool acquired by 360 Mortgage. It            the Federal Rules contemplated that a motion to dismiss under
brings a declaratory judgment and breach of contract claim      FED. R. CIV. P. 12(b)(6) would stay discovery, the Rules



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                                                                       dismissal of the case. Notwithstanding LoanCare’s view of
would contain a provision to that effect. In fact, such a notion
                                                                       its motion to dismiss, this is not such a case. Accordingly,
is directly at odds with the need for expeditious resolution of
                                                                       LoanCare’s Motion for a Protective Order Staying Discovery
litigation.”  Gray v. First Winthrop Corp., 133 F.R.D. 39,             (Dkt. No. 22) is DENIED.
40 (N.D. Cal. 1990).

 *2 There are of course exceptions to these general rules,             All Citations
but they apply to cases in which, for example, the motion to
dismiss raises a serious legal question or factual deficiency          Not Reported in Fed. Supp., 2018 WL 6272034
that has a reasonably high likelihood of resulting in the

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Array Holdings, Inc. v. Safoco, Inc., Not Reported in Fed. Supp. (2012)


                                                                     the fact that the pending Motions to Dismiss have only been
                   2012 WL 12896361                                  recently filed, there is no compelling reason, from either a
      Only the Westlaw citation is currently available.              efficiency or economic standpoint, for a stay of all discovery
         United States District Court, S.D. Texas,                   in this case until such time as the Motions to Dismiss are
                  HOUSTON TEXAS.                                     resolved. A stay of discovery to allow the Court to resolve
                                                                     purely legal issues may be warranted in some circumstances,
           ARRAY HOLDINGS, INC., Plaintiff,                          but it is the exception, not the rule. See Glazer's Wholesale
                         v.                                          Drug Co., Inc. v. Klein Foods, Inc., 2008 WL 2930482 (N.D.
            SAFOCO, INC., et al., Defendants.                        Tex. 2008) (and cases cited therein). Here, the Motions to
                                                                     Dismiss, while multi-faceted, are based in part on Defendants'
              CIVIL ACTION NO. H–12–0366
                                                                     arguments that Plaintiff has not stated a claim against under
                            |
                                                                     the standard(s) set forth in Twombly and Iqbal. Whether that
                    Signed 10/12/2012
                                                                     is true or not, the Court has sufficient discretion, when claims
                                                                     are insufficiently pled, to allow for an amendment. Here,
                                                                     given that possibility, however remote, it cannot be said that
                          ORDER                                      the parties' interests would be served by an indefinite stay of
                                                                     discovery.
FRANCES H. STACY, UNITED STATES MAGISTRATE
JUDGE
                                                                     Accordingly, it is
 *1 Before the Magistrate Judge upon referral from the
District Judge is the McAfee Taft Defendants' Opposed                ORDERED that Defendants' Opposed Motion to Stay
Motion to Stay Discovery Pending Determination of Motions            Discovery Pending Determination of Motions to Dismiss
to Dismiss (Document No. 54). The other Defendants have              (Document No. 54) is DENIED. Based on that determination,
joined in the Motion to Stay, but Plaintiffs are opposed. Also       it is further
pending is Defendants' Motion to Quash Deposition Notices
and for Protection (Document No. 87), in which Defendants            ORDERED that Defendants' Motion to Quash Deposition
seek an order quashing certain depositions, and protection           Notices and for Protection (Document No. 87) is likewise
from any additional discovery until such time as a ruling is         DENIED.
made on Defendants' Motion to Stay Discovery.
                                                                     All Citations
Having considered Defendants' Motion to Stay, the other
Defendants' joinder, Plaintiff's response and supplemental           Not Reported in Fed. Supp., 2012 WL 12896361
response in opposition, the Docket Control Order entered, and

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                    2022 WL 4110918
      Only the Westlaw citation is currently available.                                  ORDER
             United States District Court, S.D.
                                                               LaKeysha Greer Isaac, UNITED STATES MAGISTRATE
              Mississippi, Northern Division,
                                                               JUDGE
                    Northern Division.
                                                                *1 Before the Court is the Motion to Bifurcate Trial [119]
     BROWN BOTTLING GROUP, INC., Plaintiff
                                                               filed by Defendant The H.T. Hackney Co. and joined by
                           v.
                                                               Defendants Imperial Trading Co., L.L.C., Long Wholesale,
       IMPERIAL TRADING CO., L.L.C.; Long                      Inc., AAA Cash and Carry Wholesale, Inc., The Corr-
     Wholesale, Inc.; AAA Cash & Carry Wholesale,              Williams Company, and W.L. Petrey Wholesale Co., Inc. Also
      Inc.; The Corr-Williams Company; The H.T.                before the Court is the Motion to Bifurcate Discovery [122],
        Hackney, Co.; MS Wholesales 1 Inc.; and                filed by Imperial Trading Co., L.L.C, Long Wholesale, Inc.,
      W.L. Petrey Wholesale Co., Inc., Defendants              Corr-Williams Company, and joined by The H.T. Hackney
                                                               Co., W.L. Petrey Wholesale Co., Inc. and AAA Cash & Carry
      CIVIL ACTION NO.: 3:19-CV-00142-HTW-LGI                  Wholesale, Inc. The movant-defendants are collectively
                           |
                                                               referred to hereinafter as “Defendants”. 1 Plaintiff Brown
               Signed September 7, 2022
                                                               Bottling Group, Inc. (“Plaintiff” or “Brown Bottling”) filed a
Attorneys and Law Firms                                        Response in Opposition to Defendants’ Motion to Bifurcate
                                                               Trial [129], and Defendants submitted a Reply in Support
Hugh Quan Gottschalk, Pro Hac Vice, Webster C. Cash, III,      of the Motion to Bifurcate Trial [133]. Likewise, Plaintiff
Pro Hac Vice, Wheeler Trigg O'Donnell, LLP, Denver, CO,        filed a Response in Opposition to Defendants’ Motion to
Phillip S. Sykes, Haley Fowler Gregory, Butler Snow LLP,       Bifurcate Discovery [131], and Defendants submitted a Reply
Ridgeland, MS, for Plaintiff.                                  in Support of the Motion to Bifurcate Discovery [135]. The
                                                               Court, having considered the submissions, the record, and
Jeffrey R. Blackwood, Christina M. Seanor, Erin D.             relevant law, finds that the Motion to Bifurcate Trial [119] is
Saltaformaggio, Stevie F. Rushing, Bradley Arant Boult         GRANTED and the Motion to Bifurcate Discovery [122] is
Cummings, LLP, Jackson, MS, for Defendants Imperial            DENIED, as discussed below.
Trading Co., L.L.C., Long Wholesale, Inc., The Corr-
Williams Company.

R. Andrew Taggart, Jr., Jeffrey B. Rimes, Mona Patel                                    ANALYSIS
Graham, Sarah Lindsey Hammons, Taggart, Rimes &
Wiggins, PLLC, Ridgeland, MS, Cherie R. Wade, Taggart,         I. Defendants’ Motion to Bifurcate Trial [119]
Rimes & Wiggins, PLLC, Pascagoula, MS, for Defendant           Defendants seek to bifurcate the trial of the tortious
AAA Cash & Carry Wholesale, Inc.                               interference claim into two phases: (1) liability and
                                                               compensatory damages and (2) punitive damages. Plaintiff
Cheryl G. Rice, Pro Hac Vice, Egerton, McAfee, Armistead       seeks punitive damages for its pendent state-law claim for
& Davais, PC, Knoxville, TN, John H. Geary, Jr., Ian Austin,   tortious interference, with actual or prospective business
Copeland, Cook, Taylor & Bush, PA, Ridgeland, MS, for          relations. Defendants move for bifurcation, because they
Defendant The H.T. Hackney Co.                                 “expect [at the trial in this matter] that Brown Bottling will
                                                               attempt to introduce evidence, or elicit testimony, regarding
Martin de’Porres Perkins, The Perkins Law Firm, Jackson,       punitive damages prior to a jury finding of liability in
MS, for Defendant MS Wholesales 1 Inc.                         connection with the tortious interference claim.” See Doc.
                                                               [120] at 2.
Dudley Collier Graham, Jr., Rebecca W. Hawkins, Wise,
Carter, Child & Caraway, PA, Jackson, MS, H. Dean Mooty,
                                                               The decision to grant separate trials rests within the sole
Jr., Pro Hac Vice, Mooty & Associates, PC, Montgomery, AL,
for Defendant W.L. Petrey Wholesale Co., Inc.                  discretion of the trial court. Guedry v. Marino, 164 F.R.D.
                                                               181, 186 (E.D. La. 1995). Defendants’ Motion [119] seeks


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to bifurcate the trial into a phased trial rather than into                   and compensatory damages with the
separate trials, which is consistent with Federal Rule of Civil               contingent issue of wanton and
Procedure 42(b) and the provisions of Mississippi's punitive                  reckless conduct which may or may
damages statute. Rule 42(b) provides, “for convenience, to                    not ultimately justify an award of
avoid prejudice, or to expedite and economize, the court may                  punitive damages.
order a separate trial of one or more separate issues, claims,
crossclaims, counterclaims, or third-party claims.” Fed. R.
Civ. P. 42. (Emphasis added). Mississippi Code § 11-1-65
                                                                     Bradfield, 936 So. 2d at 938.
mandates the bifurcation of liability and compensatory
damages from that of punitive damages. While this court
                                                                  The Court analyzes this motion, regarding the tortious
is not bound by the Mississippi state statute requiring
                                                                  interference action, by weighing the parties’ positions against
bifurcation of punitive damages, federal district courts have
                                                                  the provisions of Rule 42(b) to determine if bifurcation will:
followed the strict procedure outlined in § 11-1-65, in
                                                                  1) promote convenience, 2) expedite proceedings, or 3) avoid
instances where granting the relief would be consistent with
                                                                  unfair prejudice to a party. The Court carefully considers each
the provisions of Rule 42(b). See James v. Antarctic Mech.
                                                                  factor. However, “only one of these three factors must be met
Servs., Inc., No. 3:18-CV-678, 2021 WL 4999012, at *2 (S.D.
                                                                  to justify bifurcation.” Daniels v. Loizzo, 178 F.R.D. 46, 47
Miss. Oct. 27, 2021);     Cooper v. Meritor, Inc., No. 4:16-
                                                                  (S.D.N.Y. 1998). See also      Ismail v. Cohen, 706 F. Supp.
CV-52-DMB-JMV, 2019 WL 1028530, at *2 (N.D. Miss.
Mar. 4, 2019); and Dykes v. Cleveland Nursing & Rehab. Ctr.,      243, 251 (S.D.N.Y. 1989), aff'd,       899 F.2d 183 (2d Cir.
No. 4:15-cv-76, 2018 WL 2967627, at *2 (N.D. Miss. June
                                                                  1990);    Saxion v. Titan-C-Mfg., Inc., 86 F.3d 553, 556 (6th
12, 2018).
                                                                  Cir. 1996); and    MCI Commc'ns Corp. v. Am. Tel. & Tel.
 *2 “Specifically, Miss. Code Ann. § 11–1–65(1)(c) provides       Co., 708 F.2d 1081, 1166 (7th Cir. 1983).
that ‘[i]f, but only if, an award of compensatory damages
has been made against a party, the court shall promptly
                                                                     A. Prejudice
commence an evidentiary hearing to determine whether
                                                                  First, the Court considers whether bifurcation will avoid
punitive damages may be considered by the same trier of
                                                                  unfair prejudice to the parties. Defendants argue that allowing
fact.’ ” Boddie v. Walker, 280 F. Supp. 3d 920, 921 (N.D.
                                                                  Plaintiff to “mention or present evidence pertaining to
Miss. 2017) (citing Miss. Code Ann. § 11-1-65(1)(a)-(e) (Rev.
                                                                  punitive damages during the liability/compensatory damages
2000)). The Northern District Court has noted “one arguable
                                                                  phase on the tortious interference claim – such as evidence
interpretation of this statute is that the ‘shall’ language
                                                                  or discussion of Defendants’ respective revenues or net worth
requires an evidentiary hearing on punitive damages to be
                                                                  – could lead to substantial prejudice against Defendants,
held in the event that such damages are sought and an award
                                                                  especially considering Brown Bottling's strong local presence
of compensatory damages is entered against the defendant at
                                                                  in Mississippi, which some Defendants do not have.” Doc.
trial.” Munson v. C.R. Bard, Inc., 561 F. Supp. 3d 655, 679
                                                                  [120] at 5. Defendants also submit that “ordering bifurcation
(N.D. Miss. 2021).
                                                                  will help to ensure that the jury does not return ‘an inflated
                                                                  compensatory damage award based on consideration of
Further, “the Mississippi Supreme Court concluded in the
                                                                  the wrong evidence,’ (i.e., evidence pertaining to punitive
decision of   Bradfield v. Schwartz, 936 So. 2d 931, 938          damages), during the liability/compensatory damages phase.”
(Miss. 2006):                                                     Id. Defendants claim that Plaintiff “will not be prejudiced
                                                                  by bifurcation, because the punitive damages phase of trial
                                                                  will follow immediately after the liability and compensatory
            that the detailed procedure outlined                  damages phase (in the event the Court determines that trial
            [in section 11-1-65(1)(e)] must                       should proceed on the issue of punitive damages), and
            be meticulously followed because,                     most witnesses presumably reside and/or do business in
            without an evidentiary buffer at                      Mississippi.” Id. Defendants further argue that bifurcation
            trial, juries will ultimately confuse                 is necessary to avoid what they perceive as a “real risk of
            the basic issue of fault or liability                 prejudice,” adding:



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                                                                     ensure that the tools the jury uses to exercise that discretion
                                                                     are appropriate. See     Mattison, 947 F.2d at 105 (“When
             [S]ome     Defendants      are    large                 a jury is left to its own devices to take property or mete
             companies without the sort of strong                    out punishment to whatever extent it feels is best in the
             local presence Brown Bottling has. A                    course of the process, our sensibilities about that process are
             jury could easily view this situation                   offended.”).
             as out-of-towners muscling in on the
             local favorite's home territory, and so                 The Court finds Plaintiff's argument that it will be forced
             it is not hard to see how jury bias                     to try the same case twice unavailing, given the common
             could arise in these circumstances.                     practice of bifurcating between liability and damages phases
             Couple that with allowing argument                      in trial. See Wagoneka v. KT&G USA Corp., No. 4:18-
             or evidence regarding Defendants’ net                   CV-859, 2020 WL 6063096, at *2 (E.D. Tex. Oct. 14, 2020)
             worth during the liability phase, and                   (“To avoid prejudice, courts will often bifurcate claims so that
             we could see here precisely the type                    the presentation of punitive-damages evidence occurs only
             of improper jury bias the Supreme
                                                                     after the jury has determined liability.”); see also Johnson
             Court described in State Farm Mut.                      v. Helmerich & Payne, Inc., 892 F.2d 422, 424 (5th Cir. 1990)
             Auto Ins. Co. v. Campbell, 538 U.S.                     (“[S]eparation of issues of liability from those relating to
             408, 417, 123 S.Ct. 1513, 155 L.Ed.2d
             585 (2003). In other words, it is the                   damages is an obvious use for Rule 42(b) ....”);    EEOC v.
             totality of the circumstances described                 Bass Pro Outdoor World, LLC, 826 F.3d 791, 800 (5th Cir.
             in Campbell, not net-worth evidence                     2016) (“Bifurcation of liability and damage is a common tool
             alone, that could lead to substantial                   deployed by federal district courts in a wide range of civil
             prejudice here. Phasing the trial will                  cases”).
             avoid that prejudice.
                                                                     Moreover, “[p]rejudice is the Court's most important
                                                                     consideration in deciding whether to order separate trials

*3 Doc. [133] at 4.                                                  under Rule 42(b).”         Laitram Corp. v. Hewlett-Packard
                                                                     Co., 791 F. Supp. 113, 115 (E.D. La. 1992); Utex Indus. v.
Plaintiff claims it would be “unduly prejudiced by not being         Wiegand, No. H-18-1254, 2020 WL 5879102, at *1 (S.D. Tex.
able to present evidence regarding Defendants’ improper              Oct. 2, 2020) (finding it appropriate to bifurcate trials where
transshipping in Brown's exclusive territory, including their        defendant could suffer prejudice if the jury were allowed to
revenues from that activity” because it “is central to the issues    hear evidence and arguments about the defendant's net worth
in this case and is among the bases for Brown Bottling's             when determining liability); Dubea v. Simpson, No. 9:07-
compensatory damages.” Doc. [130] at 5. Plaintiff also rebuts        CV-63-TH, 2009 WL 10677421, at *1 (E.D. Tex. Mar. 2,
Defendants’ argument by asserting that net worth and revenue         2009) (“[T]he Court finds that evidence of [defendant's] net
information are insufficient claims of undue prejudice and are       worth is relevant to the issue of exemplary damages. But,
insufficient to support bifurcation.                                 given the aforementioned risk of ... prejudice to [defendant],
                                                                     the Court will bifurcate the issue of exemplary damages from
The Supreme Court has recognized that inflammatory                   the liability portion of the trial.”). Accordingly, the first factor
financial evidence can be especially destructive in the context      weighs in favor of granting the motion to bifurcate trial.
of punitive damages, because of the leeway given to juries
in selecting the appropriate amount necessary to punish and
                                                                        B. Convenience of the Parties
deter. See    State Farm Mut. Auto Ins., 538 U.S. at 417, 123         *4 Second, the Court considers the convenience of the
S.Ct. 1513 (explaining how “punitive damages pose an acute           parties. Plaintiff submits that Defendants did “not offer any
danger of arbitrary deprivation of property” because of the          argument or evidence that bifurcation is convenient” and
“wide discretion” given to juries “in choosing amounts”). To         therefore “have conceded that bifurcation is not convenient.”
be sure, juries are and should be afforded substantial room to       Doc. [130] at 3. Defendants explain that they “did not argue
exercise their discretion, but it is the court's responsibility to   about convenience because only one of the three bifurcation


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criteria need be met ... and Defendants focused on the ones       in their lawful business; (3) the acts were done with the
that are present in this case and support bifurcation (i.e.,      unlawful purpose of causing damage and loss without right
avoiding prejudice and expedition and economy, in addition        or justifiable cause on the part of the defendant (which
to avoiding jury confusion).” Doc. [133] at 3. Because neither    constitutes malice); and (4) actual loss and damage resulted.”
party argues that bifurcation will impact the convenience of      PDN, Inc. v. Loring, 843 So. 2d 685, 688 (Miss. 2003).
the parties, the Court finds that the second factor does not      Notably, “under Mississippi law, a claimant must prove by
weigh in favor of either conclusion.                              clear and convincing evidence that the defendant against
                                                                  whom punitive damages are sought acted with actual malice,
                                                                  gross negligence which evidences a willful, wanton, or
   C. Judicial Economy and Expedition                             reckless disregard for the safety of others or committed actual
Defendants reason that “bifurcation will expedite and             fraud.” Cooper Tire & Rubber Co. v. Farese, No. 3:02CV210-
economize trial by barring the presentation of punitive           SA-JAD, 2008 WL 5188233, at *4 (N.D. Miss. Dec. 9, 2008)
damages evidence and/or argument unless and until it              (citing Miss. Code Ann. § 11-1-65(1)(a)).
is necessary.” Doc. [120] at 5-6. Plaintiff contends that
“Defendants’ intentional and willful violation of Brown           The Court finds that bifurcating the punitive damages phase
Bottling's exclusive rights are central to Brown Bottling's       of trial will support judicial economy and expedite the
liability claim” because “[t]he same facts that support Brown     presentation of evidence. The Court agrees that “there is no
Bottling's tortious interference claim will also, in part, show   guarantee that the Court will ultimately send the punitive
that Defendants willfully and maliciously violated Brown          damages claim to a jury, and so presenting punitive damages
Bottling's rights and caused Brown Bottling injury.” Doc.         evidence and/or argument during the liability phase could
[130] at 6. Plaintiff submits that it “expects to use these       prove a waste of time and resources.” Doc. [133] at 4. “Even if
same facts to show that Defendants acted with reckless            bifurcation might somehow promote judicial economy, courts
disregard for Brown Bottling's rights in an effort to divert      should not order separate trials when bifurcation would result
customers away from Brown Bottling.” Id. Plaintiff argues         in unnecessary delay, additional expense, or some other form
that bifurcation would duplicate, not economize, presentation
of evidence in this case, because:                                of prejudice.” Guedry, 164 F.R.D. at 186.Accordingly, the
                                                                  third factor weighs slightly in favor of granting the motion to
                                                                  bifurcate trial.

            Brown Bottling sent cease and desist
                                                                   *5 After balancing the two competing claims of prejudice,
            letters to the Defendants, notifying
                                                                  the convenience of the parties and judicial economy, the
            them of their contractual rights to
                                                                  Court finds that these considerations weigh in favor of
            exclusively distribute PepsiCo and
                                                                  Defendants’ motion to bifurcate trial under Rule 42(b). The
            KDP products in Brown Bottling's
                                                                  Court concludes that the goals of judicial economy and
            territory. Many Defendants even
                                                                  fairness will be best served if the trial is bifurcated to
            received cease and desist letters from
                                                                  separate the liability and compensatory damages phase from
            PepsiCo. Nevertheless, they continued
                                                                  the punitive damages phase at trial. The Court finds that
            to sell in Brown Bottling's territory.
                                                                  a bifurcated trial is appropriate and thus, the Motion to
                                                                  Bifurcate Trial [119] is granted. If the jury reaches a verdict
                                                                  for Plaintiff after the first phase of trial, the trial will proceed
Id.                                                               to the punitive damages phase before the same jury. There will
                                                                  not be a need for separate witnesses. The Court will not permit
This Court recognizes that the tortious interference claims       any evidence of Defendants’ net worth to enter evidence in
against the Defendants essentially requires that a trier of       the first phase of the trial.
fact must consider one of the most important elements
that is also necessary to prove punitive damages – malice.        This Court, in the exercise of its discretion, has therefore
“Under Mississippi law, a claim for tortious interference         determined that trial in this case should be bifurcated into
with business relations requires proof of the following four      a liability and compensatory damages phase and a punitive
elements: (1) the acts were intentional and willful; (2)          damages phase. Where a district court has exercised its
the acts were calculated to cause damage to the plaintiffs        discretion to bifurcate a punitive damage phase, it follows


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that evidence relevant only to an award of punitive damages         distinct claims between different parties and bifurcation could
is irrelevant at other stages. See, e.g., Landrum v. Conseco        efficiently resolve the threshold issue. Id. at 5-6. According to
Life Ins. Co., No. 1:12-cv-5, 2014 WL 28861, at *3                  Defendants, the threshold fact issue “is whether it possesses
(S.D. Miss. Jan. 2, 2014). Of course, evidence otherwise            a valid and enforceable right to sell various soft-drink
relevant to liability or compensatory damages is not rendered       refreshment products ... in designated territories based on
inadmissible merely because it is also relevant to the issue        purported exclusive licensing agreements it has with PepsiCo
of punitive damages. Bossier v. State Farm Fire & Cas. Co.,         (“Pepsi”) and Keurig Dr. Pepper (“KDP”) ... to the exclusion
2009 WL 3281128, at *1–2 (S.D. Miss. Oct. 9, 2009). This            of all others, including Defendants.” Id. at 3. Defendants
Court agrees that a phased trial is appropriate and thus, this      request bifurcation of discovery to permit a prioritization of
motion [119] is granted.                                            discovery, so the threshold issue can be put before the Court
                                                                    before the parties incur significant expenses.

II. Defendants’ Motion to Bifurcate Discovery [122]                 Further, Defendants seek to stay discovery regarding the
Defendants also ask this Court to bifurcate the discovery           Plaintiff's tortious interference and Lanham Act claims and
phase of this case. “Trial courts are afforded ‘broad discretion’   defenses, as they contend these claims, unlike the declaratory
in ‘balancing the interests of both sides while looking for a       judgment claim, “present different and broader questions
discovery plan that reasonably fits the particular demands of       of fact and law, for each of the seven defendants.” Id.
the case.’ ” Hawkins v. Miss. Farm Bureau Cas. Ins. Co.,            at 7, 9. Defendants contend that they are each individual
2018 U.S. Dist. LEXIS 212445 *1 (S.D. Miss. Dec. 18, 2018)          wholesalers, with different businesses and customers, and
(quoting Winkler v. Sunbelt Rentals, Inc., No. 3:12-CV-3789-        with no connections to one another, apart from being named
B, 2014 WL 12596498, at *4 (N.D. Tex. July 10, 2014)).              in the subject lawsuit. Id. Defendants argue that the claims
Rule 26 affords trial courts ample authority to control the         against each Defendant are distinct, as neither claim has
sequence and timing of discovery. EEOC v. Lawler Foods              identical fact and legal issues. Id. Thus, they contend pursuing
Inc., 128 F. Supp. 3d 972, 974 (S.D. Tex. 2015). “ ‘[W]hen one      discovery, in the normal course, “could spiral exponentially,
issue may be determinative of a case, the court has discretion      and unnecessarily.” Id. Finally, Defendants claim the Plaintiff
to stay discovery on other issues until the critical issue has      will not be prejudiced if discovery is bifurcated, as it will
been decided.’ This principle of judicial parsimony is often        allow discovery to proceed on the Plaintiff's purported issue
invoked, for example, to justify postponing discovery on            regarding exclusivity of rights and stay discovery as to the
damages until liability has been established.” Id. (quoting 8A      pendent issues. Id. at 10. Defendants also claim the Plaintiff
Wright and Miller, Federal Practice and Procedure § 2040 (3d        will not be prejudiced by staying discovery on its tortious
ed. 2010)).                                                         interference claims, because it cannot provide the necessary
                                                                    element of malicious intent, without first establishing its
Under Defendants’ proposal 2 to bifurcate discovery, phase          exclusive right to sell products in the alleged designated areas.
one of discovery would be limited to issues involving               Id. Similarly, Defendants contend the Plaintiff will not be
Plaintiff's declaratory judgment claim. Following the Court's       prejudiced if the Court stays discovery on the false affiliation
ruling on dispositive motions on this issue, the case would         claims under the Lanham Act. Id.
proceed, if necessary, to phase two, which would include
all other issues, including the Plaintiff's Lanham Act claim        Plaintiff vigorously opposes bifurcation of discovery. Plaintiff
and tortious interference claim. Defendants assert that the         asserts it would be “severely and unduly prejudiced” by
declaratory judgment claim is separate and distinct from all        bifurcating discovery in this case. Doc. [132] at 2. Plaintiff
others and that bifurcated discovery saves the parties time and     argues it is prejudicial to require Brown Bottling to pursue
money and conserves judicial resources.                             its case at the pace and direction chosen by Defendants,
                                                                    which it contends gives Defendants a faster track to potential
 *6 Specifically, Defendants assert that bifurcation of             dispositive motions, while freezing Plaintiff's exploration of
discovery promotes efficiency and conservation of resources.        its own claims. Id. at 10. Plaintiff also submits that the phased
Doc. [123] at 3. In support of this assertion, Defendants cite      discovery plan, presented by Defendants, “would not resolve
to EEOC v. Lawler Foods, Inc., 128 F. Supp. 3d 972, 974             all the claims at issue in this lawsuit, [but would instead] cause
(S.D. 2015) to persuade this Court that their proposed phased       needless delay, expense, time and undue prejudice” to the
discovery plan is necessary here, because there are multiple        Plaintiff. Id. Plaintiff argues the cases relied on by Defendants



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                                                                    It is Plaintiff's position that “every defendant in every case
are distinguishable and support Brown Bottling's position that
                                                                    would bifurcate discovery to develop its defenses to the
courts do not commonly bifurcate discovery, unless doing so
                                                                    exclusion of plaintiff's discovery supporting its own claims.”
will resolve a lawsuit. Specifically, Plaintiff points to EEOC
                                                                    Id. at 1. Plaintiff properly points out that this Court rarely
v. Lawler Foods, Inc. 3 , cited by Defendants, and notes that
                                                                    grants the relief sought by Defendants. However, when
case is distinguishable from the instant action, because it
                                                                    relief is granted, it often occurs where the bifurcation would
involved a class action lawsuit, which involved a large class
                                                                    resolve the entire lawsuit. The Court finds that discovery
of aggrieved persons and a distinct threshold issue that, if
                                                                    regarding the EBAs and license agreements is necessary
proven, would alleviate the need for a trial altogether. Id. at
                                                                    for the declaratory judgment, Lanham Act, and tortious
8. Plaintiff submits that bifurcating discovery and proceeding
                                                                    interference claims. Further, the Court anticipates that many
with discovery on the declaratory judgment claim only will
                                                                    of the documents and witnesses involved will be the same
not resolve this entire lawsuit.
                                                                    for all claims, and it will be an inconvenience as well as a
                                                                    waste of lawyers’ and witnesses’ time, and other resources,
 *7 Plaintiff contests Defendants’ request for bifurcation
                                                                    to require duplicative discovery of the same documents and
of discovery, arguing that the phased plan “would be the
                                                                    witnesses. See Performance Aftermarket Parts Group, LTD.
“epitome of inefficiency, delay and waste of resources.” Id.
                                                                    V. TI Group Auto Sys., 2006 U.S. Dist. LEXIS 75795 *5, 2006
at 6. Plaintiff opposes Defendants plan to stay discovery as
                                                                    WL 2850061 (S.D. Tex. Oct. 4, 2006).
to its tortious interference and Lanham Act claims. Plaintiff
contends the Exclusive Bottling Agreements (“EBAs”) and
                                                                    The Court determines that bifurcation of discovery in the
license agreements help establish the first element of the
                                                                    manner sought by the Defendants is not appropriate in
tortious interference claim–that the acts were intentional and
                                                                    this action, because it will cause undue delay, inefficiency,
willful. Id. at 5. In support of its claim that Defendants
                                                                    and also waste resources. The Court further finds that the
acted intentionally and willfully, Plaintiff argues it sent each
                                                                    proposed sequence and timing of discovery will unfairly
Defendant a cease-and-desist letter by certified mail notifying
                                                                    prejudice Plaintiff and will not further the interests of judicial
each of Plaintiff's exclusive rights under the EBAs. Id.
                                                                    economy or fairness. See Bunch v. Metro. Cas. Ins. Co.,
Regarding the Lanham Act claims, Plaintiff argues the EBAs
                                                                    2010 U.S. Dist. LEXIS 92104 *6, 2010 WL 3120048 (S.D.
and license agreements are “necessary merely to show that
                                                                    Miss. Aug. 5, 2010). The Court concludes that bifurcation of
PepsiCo and KDP have not granted Defendants rights to
                                                                    discovery would not further convenience or avoid prejudice
distribute their trademarked products.” Id. at 6.
                                                                    in this case and, therefore, denies the Motion to Bifurcate
                                                                    Discovery [122]. As discussed above, bifurcated trials, as
Plaintiff also submits that the same documents and witnesses
                                                                    opposed to bifurcated discovery, would be conducive to an
will be involved in the declaratory judgment, Lanham Act,
                                                                    expedited and economical resolution of this case.
and tortious interference discovery. In support of this position,
Plaintiff relies on two cases from this District, wherein
Magistrate Judge Ball and Magistrate Judge Parker rejected
requests to bifurcate discovery in insurance cases involving                               CONCLUSION
uninsured motorist claims and bad faith claims. Id. at 6-7
                                                                    IT IS, THEREFORE, ORDERED that the Motion to
(citing Judge Ball's holding in Wallace v. State Auto Prop.
                                                                    Bifurcate Trial [119] is granted.
& Cas. Ins. Co., 2013 WL 1212201 at *1 (S.D. Miss. Jan.
10, 2013) (holding “the most efficient means of resolving
                                                                    IT IS FURTHER ORDERED that the Motion to Bifurcate
the instant case is for all discovery to proceed.”)) and
                                                                    Discovery [122] is denied.
(citing Judge Parker's holding in Hibley v. Mathis, 2009 WL
765083, *1 (S.D. Miss. March 19, 2009) (holding “much of
                                                                    SO ORDERED, this the 7th day of September, 2022.
the discovery involving the various claims will involve the
same people and many of the same records or documents.
Proceeding with discovery as to all claims at this time is more     All Citations
efficient than a piecemeal approach.”)).
                                                                    Not Reported in Fed. Supp., 2022 WL 4110918




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                                                        Footnotes


1      Defendant MS Wholesales 1 Inc. did not join in the motions (119), (122).

2      “The parties have 150 days to take discovery regarding Plaintiff's Declaratory Judgment claims and
       Defendants’ defenses thereto, which, at a minimum, requires production of all “agreements”, including
       amendments and communications with the licensor or trademark owner, for each trademark named in the
       Amended Complaint, or any Trademark under which Brown Bottling seeks to assert a declaratory judgment
       claim. This phase of discovery will seek to resolve the following factual and legal issues:

            1. Whether Brown Bottling has the sole right to use each trademark and/or sell each product in a certain
               territory.

            2. Whether Brown Bottling's rights are enforceable against third parties, such as defendants.

            3. Established mechanisms for enforcing Brown Bottling's contractual agreements with Trademark
              Owners, and the use and effectiveness of those mechanisms.

            4. Any other factual and legal basis relevant to the declaratory judgment claims or defenses.

         During this phase, Defendants request that discovery regarding claims and defenses related to the Lanham
         Act claim and the tortious interference claim be stayed.

         Defendants further request a status conference following the close of the first phase of discovery, at which
         the parties will report to the Court regarding whether and to what extent the above-listed issues have been
         resolved, and whether the parties are prepared for dispositive motions on these issues and/or this claim. If
         so, then discovery on the Lanham Act and tortious interference claims would remain stayed pending final
         resolution of such dispositive motions. If not, then the parties would proceed with discovery on the Lanham
         Act and tortious interference claims.”

       Doc. [122] at 1-2.

3
       Plaintiffs also seek to distinguish     Jinro Am. Inc., 266 F. 3d 993, 998 (9th Cir. 2001), cited by Defendants in
       their brief, noting that the issue on appeal in Jinro was the trial judge's decision to bifurcate trial, not discovery.
       See Doc. [132] at 9; see also Defendants’ Motion, Doc. [123] at 6.



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                   2022 WL 17416656                                               I. Procedural Background
      Only the Westlaw citation is currently available.
        United States District Court, D. Colorado.               In brief and as relevant here, this antitrust case arose after
                                                                 Plaintiff sued Defendants alleging they committed unlawful
            CROWNALYTICS, LLC, Plaintiff,                        competitive practices under both state and federal laws. [Dkt.
                           v.                                    1.] Plaintiff then sought a temporary restraining order (TRO)
              SPINS, LLC, DAAP, LLC, and                         and preliminary injunction (PI) against Defendants to stop
         Information Resources, Inc., Defendants.                them from prohibiting Plaintiff's use of Defendants’ client
                                                                 data while servicing those clients. [Dkts. 10.] But the Court
          Civil Action No. 1:22-cv-1275-NYW-SKC                  denied it. 1 [Dkt. 17.]
                               |
                  Signed December 5, 2022                        Subsequently, Defendants filed their motions to dismiss and
                                                                 their joint motion to stay discovery proceedings. [Dkts.
Attorneys and Law Firms
                                                                 40-42.] Plaintiff opposes the Motion. [Dkt. 45.]
Rick D. Bailey, Law Office of Rick D. Bailey, Denver,
CO, Aaron Robert Gott, Bona Law PC, Minneapolis, MN,
Alexandra H. Shear, Bona Law PC, New York, NY, Kristen                                     II. Discussion
Amber Harris, Bona Law PC, La Jolla, CA, Patrick Joseph
Pascarella, Bona Law PC, Dallas, TX, for Plaintiff.              Defendants assert the Court should stay discovery pending
                                                                 its ruling on their motions to dismiss to avoid engaging in
Dylan David Smith, Matthew John O'Hara, Freeborn &               “notoriously expensive and burdensome” antitrust discovery
Peters LLP, Chicago, IL, Raymond W. Martin, Wheeler Trigg        because Plaintiff's claims will not survive their motions to
O'Donnell LLP, Denver, CO, for Defendants SPINS, LLC,            dismiss. The Court disagrees that a stay is necessary.
DAAP, LLC.
                                                                 Under the Federal Rules of Civil Procedure, a district court
James Peter Denvir, III, Michael Scott Mitchell, Boies
                                                                 has the inherent power to administer its case docket in the
Schiller Flexner LLP, Washington, DC, Kenneth F. Rossman,
                                                                 interest of time, judicial economy, and the parties involved.
IV, Lewis Roca Rothgerber Christie LLP, Denver, CO, for
                                                                 See Certain Underwriters at Lloyds, London v. Hartford
Defendant Information Resources, Inc.
                                                                 Accident & Indemnity Co., 1:18-cv-01896-CMA-NYW, 2021
                                                                 WL 5810712, at *3 (D. Colo. Dec. 6, 2021) (the Federal Rules
                                                                 of Civil Procedure indirectly provide courts with inherent
         ORDER DENYING DEFENDANTS’                               powers to stay a case). To determine whether a stay is proper,
       JOINT MOTION TO STAY DISCOVERY                            a court in this district may choose to weigh the following
                                                                 factors: (1) plaintiff's interests in proceeding expeditiously
S. Kato Crews, United States Magistrate Judge
                                                                 with the civil action and the potential prejudice to plaintiff
 *1 This matter is before the Court upon referral of             from the delay; (2) the burden on the defendants; (3) the
Defendants’ Joint Motion to Stay Discovery and Pretrial          convenience to the court; (4) the interests of persons not
Deadlines. [Dkt. 41.] Defendants seek to stay discovery          parties to the civil litigation; and (5) the public interest.
pending a ruling on their respective motions to dismiss          Barrington v. United Airlines, 565 F. Supp. 3d 1213, 1217
Plaintiff's Complaint for lack of standing under Fed. R. Civ.    (D. Colo. 2021) (citing String Cheese Incident, LLC v. Stylus
P. 12(b)(3), and failure to state a plausible claim under Fed.   Shows, Inc., 1:02-cv-01934-LTB-PA,         2006 WL 894955, at
R. Civ. P. 12(b)(6). Plaintiff opposes the Motion. [Dkt. 45.]    *2 (D. Colo. Mar. 30, 2006)).

The Court, after reviewing the Motion, the response in           After considering the above factors in this case, the Court
opposition and Defendants’ reply, the case docket, and           finds a stay is not warranted. First, Defendants’ Motion does
applicable law, DENIES the Motion for the reasons discussed      not directly address whether Plaintiff faces any potential
below.
                                                                 prejudice by a delay. 2 Instead, Defendants say continuing



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                                                                    WL 10619942, at *12 (D. Colo. Feb. 23, 2017) (denying
discovery based on Plaintiff's “flimsy foundation” of alleged
                                                                    defendant's motion to stay discovery because “jurisdictional
antitrust violations weighs in their favor because the presiding
                                                                    and sufficiency of allegations issues are frequently raised in
judge previously denied Plaintiff's request for a TRO and
                                                                    motions to dismiss” and thus insufficient to permit a stay).
Plaintiff's claims will not survive their motions to dismiss. But
                                                                    Rather, the Court agrees with Plaintiff that Defendants fail
this District generally disfavors stays, and Defendants’ mere
                                                                    to show their burdens exceed the usual burdens on litigants
filing of motions to dismiss which the Court may eventually
                                                                    in any case. See SOLIDFX, LLC, 2011 WL 4018207, at
grant is insufficient to permit a stay. See Barrington, 565
                                                                    *3 (declining to stay discovery in an antitrust case because
F. Supp. at 1217 (under Fed. R. Civ. P. 1, a court's role is
                                                                    defendants failed to adequately show any specific discovery
to administer a just and speedy determination of an action;
                                                                    was “substantially greater” than required); Prison Legal
thus, stays should be the exception, not the rule); Giuffre v.
                                                                    News, 2017 WL 10619942, at *13 (same); see also Chavez v.
Marys Lake Lodge, LLC, No. 11-cv-00028-PAB-KLM, 2012
WL 1361611, at *1 (D. Colo. Apr. 19, 2012) (it is within the        Young Am. Ins. Co., 1:06-cv-02419-PSF-BNB,       2007 WL
Court's discretion to grant or deny a motion to stay).              683973, at *2 (D. Colo. Mar. 2, 2007) (there is no special
                                                                    burden on a defendant because of the inherent burden that
 *2 Moreover, the likelihood of Plaintiff's success (on             exists when sued).
the merits) is irrelevant to this Court's determination in
considering the stay, especially when “motions to dismiss are       Finally, although Defendants argue that staying discovery
denied far more often than they result in the termination of a      favors both public and non-party interests, these factors are
case.” 3 Roueche v. U.S., No. 09-cv-00048-WDM-BNB, 2010             arguably neutral because while Defendants point to specific
WL 420040, at *2 (D. Colo. Feb. 1, 2010); cf. Barrington,           non-party witnesses, there is always some burden on non-
565 F. Supp. 3d at 1217 (noting that a motion to stay “is           parties in litigation. See SOLIDFX, LLC, 2011 WL 4018207,
not the appropriate context to argue the merits” of a motion        *4 (even non-parties face some burden, and thus insufficient
to dismiss); Breckenridge v. Vargo, No. 16-cv-01176-WJM-            to justify staying discovery even when defendants argued that
MEH, 2016 WL 7015702, at *1 (D. Colo. Nov. 28, 2016)                deposing the non-parties may prove unnecessary if the Court
(pending a court's ruling of a dispositive motion can last          eventually granted the motion to dismiss).
several months or more and is insufficient to grant a stay on
discovery).                                                         For these reasons, the Court finds Plaintiff's interests in
                                                                    proceeding expeditiously with this matter and the potential
Next, Defendants say staying discovery is appropriate               prejudice to Plaintiff from the delay outweigh any burdens
to avoid a “gross undue burden” because other courts                on the Defendants. The Court further finds it is not
recognize that antitrust discovery is “notoriously expensive        inconvenienced by the case proceeding. And, the public and
and burdensome.” But the Court is unconvinced discovery in          non-party interests do not weigh in favor of a stay.
this antitrust case deserves any special recognition warranting
a stay. See SOLIDFX, LLC v. Jeppesen Sanderson, Inc.,               Therefore, the Motion is DENIED.
No. 11-cv-01468-WJM-BNB, at *2 (D. Colo. Sept. 8, 2011)
(it is within the court's discretion to issue a protective
                                                                    All Citations
order pending a ruling on a motion to dismiss, “[i]n an
antitrust case, as in every case”); cf. Prison Legal News v.        Not Reported in Fed. Supp., 2022 WL 17416656
Fed. Bureau of Prisons, No. 15-cv-02184-RM-STV, 2017




                                                            Footnotes


1       Plaintiff withdrew its motion requesting a PI after the Court denied the request for a TRO. [Dkts. 17, 19.]

2       The Court did not consider Defendants’ newly raised arguments, in their reply brief, for why Plaintiff would
        not be substantially prejudiced by the requested stay. See generally Civil Rights Educ. & Enf't Ctr. v. Sage



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      Hosp. Res. LLC, 222 F. Supp. 3d 934, 938 (D. Colo. 2016) (declining to consider new arguments raised in
      a reply brief).

3     Notably, Plaintiff based the request for a TRO on only its state law claims for tortious interference. See [Dkt.
      10 n. 1.]



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                                                                      stay discovery. Fed. R. Crim. P. 26(c). While in some
                     2021 WL 4027696                                  circumstances a motion to stay discovery pending the
     Only the Westlaw citation is currently available.                outcome of a motion to dismiss is appropriate, a stay is
United States District Court, S.D. Texas, Houston Division.           certainly not the general rule. See        Glazer's Wholesale
                                                                      Drug Co., Inc. v. Klein Foods, Inc., No. 3-08-CV-0774-L,
       EDGE196 LLC and Jaikrishna Patel, Plaintiffs,                  2008 WL 2930482 at *1 (N.D. Tex. July 23, 2008) (noting
                          v.                                          that “such a stay is the exception rather than the rule”).
      JOINTER, INC. and Jude G. Regev, Defendants.
                                                                      Defendants urge two main points in support of a stay. First,
                  Civil Action No. H-20-3417
                                                                      Defendants argue that this case will ultimately be dismissed
                               |
                                                                      when the court rules on the pending motion and therefore
                       Signed 01/22/2021
                                                                      any efforts to exchange discovery will be a waste of time
                                                                      and resources. The court will not express any opinion on
Attorneys and Law Firms
                                                                      the ultimate merits of the pending motion to dismiss but
Vineet Bhatia, Susman Godfrey LLP, Houston, TX, Jenna G.              notes, after a brief review of the filings, that the outcome of
Farleigh, Suaman Godfrey LLP, Seattle, WA, for Plaintiffs.            the motion is not obvious. Moreover, Plaintiff explains that
                                                                      there are disputed jurisdictional facts upon which discovery is
Mo Taherzadeh, Taherzadeh, PC, Houston, TX, for                       warranted. Thus, the pendency of a motion to dismiss is not,
Defendants.                                                           under the specific facts of this case, sufficient to show good
                                                                      cause for a blanket cessation of discovery.

      ORDER DENYING STAY OF DISCOVERY                                 Defendants further argue that the discovery requests served
                                                                      upon them and several third parties are overly broad, unduly
Peter Bray, United States Magistrate Judge                            burdensome, and seek confidential information. The court
                                                                      notes that a significant volume of discovery has already been
 *1 Pending before the court is Defendant's Opposed Motion
                                                                      turned over, and that no motions for protective order or to
to Stay Discovery. (D.E. 26.) The motion is DENIED.
                                                                      quash have been filed. If the discovery Plaintiffs seek is,
                                                                      in fact, inappropriate, there are remedies that Defendants
Edge196 and Jaikrishna Patel have sued the remaining
                                                                      can seek short of a full stay of discovery. The parties are
Defendants, Jointer, Inc. and Jude G. Regev for breach
                                                                      encouraged to meet and confer about the pending discovery
of contract, breach of fiduciary duty, fraud, and negligent
                                                                      requests, and alert the court by motion if a resolution cannot
misrepresentations and omissions. Plaintiffs also seek a
                                                                      be reached.
declaratory judgment. (D.E. 31.) Defendants have filed
a motion to dismiss the complaint for lack of personal
                                                                      For these reasons, the motion to stay discovery (D.E. 26) is
jurisdiction and failure to state a claim upon which relief may
                                                                      DENIED.
be granted. (D.E. 35.) Defendants seek a stay of discovery
pending the resolution of the pending dispositive motion.
                                                                      All Citations
“The court may, for good cause, issue an order to protect a
party or person from annoyance, embarrassment, oppression,            Not Reported in Fed. Supp., 2021 WL 4027696
or undue burden or expense,” including an order to

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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



FEDERAL TRADE COMMISSION,

                   Plaintiff,

             vs.                                       Case Number : 1:14-CV-5151-HB

ABBVIE, INC., et al.,

                   Defendants.




                                Fed. R. Civ. P. 26(f)(2) Report to the Court

         Plaintiff Federal Trade Commission and Defendants AbbVie, Inc., Abbott Laboratories,

Unimed Pharmaceuticals, LLC, Besins Healthcare, Inc., and Teva Pharmaceuticals USA, Inc.

(collectively, “the Parties”) respectfully submit this joint report pursuant to Rule 26(f)(2) of the

Federal Rules of Civil Procedure. This joint report also incorporates topics identified in Local

Civil Rule 16.1(b), Rules of the United States District Court for the Eastern District of

Pennsylvania, and in this Court’s Policies and Procedures Relating to Pretrial Procedure in Civil

Cases.

                                             BACKGROUND

                                    Plaintiff’s Preliminary Statement

         The Federal Trade Commission filed Civil Action No. 14-5151 (HB) in the U.S. District

Court for the Eastern District of Pennsylvania on September 8, 2014, alleging that defendants

AbbVie, Inc., Abbott Laboratories, Unimed Pharmaceuticals, LLC, Besins Healthcare, Inc., and

Teva Pharmaceuticals USA, Inc. engaged in a multifaceted anticompetitive scheme to obstruct




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entry of lower-priced versions of AbbVie’s testosterone replacement drug AndroGel. In response

to the competitive threat posed by potential rivals Teva and Perrigo in 2011, AbbVie and Besins

filed sham patent infringement lawsuits to trigger a regulatory provision that would block approval

of the generics’ products, thereby forestalling competition for up to 30 months. At the time of

filing, AbbVie and Besins knew that the generics’ products contained a different key ingredient

than AndroGel’s and that their asserted “doctrine of equivalents” infringement theory directly

contradicted the repeated claims of non-equivalence they had made in other venues, including to

the PTO and the FDA. Indeed, Teva filed an antitrust counterclaim alleging that the infringement

action constituted sham litigation.

       When the Teva litigation moved more quickly than expected and Teva’s victory appeared

close at hand, AbbVie decided to use its monopoly profits to buy the protection from competition

that its patent could not provide. To secure Teva’s agreement to settle the AndroGel infringement

suit and refrain from launching its competing product for several years, AbbVie compensated

Teva with an authorized generic side deal for an unrelated cholesterol drug called TriCor. Based

on these facts, the FTC’s complaint alleges two violations of Section 5(a) of the Federal Trade

Commission Act, 15 U.S.C. § 45(a): Count One charges that AbbVie and Besins unlawfully

maintained the AndroGel monopoly through a course of conduct that included filing sham patent

infringement lawsuits. Count Two alleges that AbbVie’s settlement of the sham lawsuit with Teva

was an illegal restraint of trade. The FTC seeks a final court judgment declaring that defendants’

conduct violates Section 5(a) of the FTC Act, ordering ancillary equitable relief including

restitution and disgorgement to remedy the injury caused by defendants’ violations, and

permanently enjoining them from engaging in similar anticompetitive tactics in the future.



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       The FTC’s general position on the proposed case schedule is that prompt commencement

of discovery is essential to obtain effective equitable relief for the benefit of consumers who have

been forced to pay hundreds of millions of dollars more for AndroGel as a result of Defendants’

conduct.

                               Defendants’ Preliminary Statement

       In Spring and Fall 2011, respectively the AbbVie Defendants and Besins initiated patent

litigation against Teva and Perrigo Pharmaceuticals, Inc., two other pharmaceutical companies

that had filed applications to sell competing versions of the AbbVie Defendants’ AndroGel

product. The Perrigo litigation settled on December 8, 2011 before Perrigo responded to the

complaint, and the FTC does not challenge the terms of that settlement. The Teva litigation settled

on December 21, 2011, after the Court declined to grant Teva’s motion for summary judgment,

had ordered that fact and expert discovery proceed, and scheduled a trial on Teva’s

non-infringement defense for May of 2012. The Teva settlement provided Teva a license to sell its

product more than six years before the patent at issue in the litigation expires. As a result of the

parties’ settlement, the patent case was dismissed on January 3, 2012.

       The FTC initiated an investigation of the litigations and, after the relevant parties provided

the settlements to the FTC pursuant to the federal reporting statute, expanded its investigation to

include those as well. In that investigation, the FTC engaged in substantial pre-Complaint

discovery, including taking investigational depositions of the parties’ representatives and issuing

numerous Civil Investigative Demands and document subpoenas, from which the FTC obtained

almost 900,000 pages of documents. On September 8, 2014, the FTC filed the Complaint in this

matter alleging two counts. Count I, which is against the AbbVie Defendants and Besins only,

alleges that they engaged in sham patent litigation. Count II, which is against the AbbVie

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Defendants and Teva, alleges that Defendants’ settlement agreement constitutes an unreasonable

restraint of trade.

        On November 13, 2014, Defendants filed a motion to dismiss Count II of the Complaint, as

well as Count I to the extent it relies on the settlement agreement subject to Count II. The FTC

filed its opposition to Defendant’s motion to dismiss on December 12, 2014. Defendants’ reply

brief in support of their motion to dismiss is currently due on January 9, 2015.

        The Defendants named in Count I of the Complaint also plan to file a summary judgment

motion in early January with respect to that Count.

        Defendants address each specific topic enumerated by Rule 26(f) below and believe that

negotiating appropriate protective and discovery-related orders is appropriate now:

        •       negotiation of an appropriate protective order governing production of confidential
                information,

        •       negotiation of a stipulation on the extent of discovery of experts,

        •       negotiation of a stipulation regarding inadvertently disclosed privileged
                information,

        •       negotiation of a stipulation regarding electronically stored information (ESI), and

        •       negotiation of a protocol for avoiding duplicative discovery efforts.

However, Defendants’ general position is that considerations of efficiency and judicial economy

dictate that all discovery in this case should be deferred pending resolution of (1) the motions to

dismiss, which, if granted, would dismiss all claims against the Teva Defendants and would

greatly limit the claims against the other defendants, and (2) the motion for summary judgment,

except to the extent that the Court orders discovery under a Rule 56(d) showing by the FTC. If any

claims survive those motions, the Court should then more generally address the scope and timing



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of discovery. Defendants look forward to addressing the reasons for staying further discovery

more fully during a conference with the Court and would be happy to provide separate briefing on

the issue if the Court determines that it would be helpful.

                                  THE PARTIES’ PROPOSALS

         The Parties conducted a Rule 26(f) conference on December 16, 2014, by telephone

conference. The Parties report as follows:

1.       Motions

         On September 18, 2014, and November 10, 2014, this Court entered Orders (Dkt. Nos. 8

and 35) setting forth the following schedule:


Defendants shall answer or otherwise respond to the Complaint            November 12, 2014

Plaintiff shall file any opposition to a motion to dismiss               December 12, 2014

Defendants shall file any reply                                          January 9, 2015

                                                                         14 days after this Court’s
Defendants shall answer the Complaint                                    decision on defendants’
                                                                         motion to dismiss


2.       Initial Disclosures

         The Parties do not agree with respect to initial disclosures.

         Plaintiff proposes that the parties will exchange the information required by Fed. R. Civ. P.

26(a)(1) by January 16, 2015.

         Defendants propose that initial disclosures be exchanged with respect to any remaining

claims (if any) within fourteen days of a ruling on Defendants’ initial motions.




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3.       Scope of Discovery

         The Parties do not agree on the timing and scope of fact discovery.

            a. Timing of Discovery

         Plaintiff proposes that, except for requests for admissions (including requests for

admissions for the authentication and admissibility of exhibits), full fact discovery shall

commence on January 16, 2015, and last nine months. Prompt commencement of discovery is

necessary and warranted in this case. First, a delay in discovery, as Defendants propose, is

inappropriate given the significant ill-gotten gains accruing to Defendants on a daily basis and the

important public interests implicated by Defendants’ anticompetitive conduct and misuse of

government processes. Second, a delay in the discovery schedule could prejudice the FTC’s ability

to gather and preserve relevant evidence, especially if, for example, employees with responsibility

for the products at issue change employers or otherwise become indisposed while a stay is

pending. Third, Defendants have moved only for a partial dismissal of the complaint in this case

and staying discovery is “rarely appropriate when the pending motion will not dispose of the entire

case.” Keystone Coke Co. v. Pasquale, No. 97-cv-6074, 1999 WL 46622, at *1 (E.D. Pa. Jan. 7,

1999). Finally, the fact that the FTC conducted a targeted pre-complaint investigation is not a

reason to stay or limit the scope of discovery in this litigation. See, e.g., SEC v. Sargent, 229 F.3d

68, 80 (1st Cir. 2000) (“Here, even though the [agency] had already conducted a pre-filing

investigation . . . ‘there is no authority which suggests that it is appropriate to limit the [agency]’s

right to take discovery based upon the extent of its previous investigation into the fact underlying

its case.’”).

         Defendants propose that fact discovery should be deferred pending a conference with the

Court following its ruling on Defendants’ initial motions. Defendants propose that once fact

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discovery begins, it should last twelve months from the start date. The FTC already has obtained

key documents in this matter, as well as the testimony of several witnesses under oath. The FTC

also waited more than two and a half years after the agreements at issue were signed to initiate this

lawsuit. Moreover, if the motion to dismiss were granted, it would result in complete dismissal of

the Teva defendant, and the contemplated summary judgment motion would address the remainder

of the claims against the other defendants. For all these reasons, deferring discovery for the limited

additional time that would be required for the Court to rule maximizes efficiency and creates no

meaningful prejudice to the FTC.

        The Parties agree that they shall serve subpoenas and discovery requests sufficiently in

advance of the discovery deadlines and that all responses or objections will be due on or before the

relevant dates, except as provided in Fed. R. Civ. P. 29(a).

        The Parties request regular status conferences with the Court to facilitate the resolution of

discovery issues and to obtain rulings from the Court in an efficient way. Plaintiff suggests

scheduling a call every 30 days; Defendants suggest that initially scheduling a call every 60 days is

sufficient.

              b. Phased Discovery

        The Parties agree that fact discovery precedes expert discovery.

              c. Requests for Production

        The Parties agree that the production of paper and electronic documents shall be completed

8 weeks before the completion of fact discovery.

        Plaintiff proposes that there should be no deviation from the number of requests for the

production of documents that any party may serve provided by Fed. R. Civ. P. 34.



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        Defendants believe that the number of requests for the production of documents should be

limited to no more than 50 by each side (i.e., 50 by Defendants (as a group) and 50 by Plaintiff).

       Plaintiff proposes that parties make rolling productions of responsive documents with the

first such production made within sixty (60) days of service of the requests. Any party unable to

make an initial production of responsive documents within 60 days may move for relief from this

provision for good cause, except that no motion shall be necessary if the Parties agree among

themselves. Privilege logs for each production must be served within 14 days of any document

production.

       Defendants agree with Plaintiff’s proposal that the Parties produce documents in response

to discovery requests on a rolling basis to the extent feasible. Defendants do not believe it

necessary or even possible to set specific timelines for each document production.

       Defendants also agree that privilege logs should be served on a rolling basis, but

Defendants do not believe it is possible, or appropriate, to require that all such privilege logs be

served within 14 days following a document production.

       The Parties agree that all documents and associated privilege logs produced to the FTC in

connection with the investigation styled In the Matter of Abbott Laboratories, FTC File No.

121-0028, will be deemed produced in this litigation upon entry of a Protective Order in this

litigation. The continued applicability of any prior confidentiality designations will be provided

for in the Protective Order.

           d. Interrogatories

        Although Defendants believe any consideration of this question is premature, as the scope

of discovery will depend in large part on the contours of the case after this Court’s ruling on the



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motion to dismiss, the Parties at this stage are in agreement that the limits on interrogatories set

forth in Fed. R. Civ. P. 33(a) are appropriate.

           e. Requests for Admission

       Plaintiff proposes that there should be no deviation from the number of requests for

admission that any party may serve provided by Fed. R. Civ. P. 36.

       Defendants believe any consideration of this question is premature, as noted above. In any

event, Defendants propose that requests for admission should be subject to the same limitations on

interrogatories as set forth in Fed. R. Civ. P. 33(a).

           f. Depositions

       Defendants believe that any consideration of this question is premature, as noted above, but

the Parties at this stage are in agreement that depositions should be limited to 30 depositions per

side (i.e., Plaintiff may notice 30 depositions and all Defendants combined may notice 30

depositions). The per-side deposition limit shall include depositions of third parties.

       The Parties agree to abide by the presumption expressed in Fed. R. Civ. P. 30(d) that a

deposition’s duration be limited to one day of seven hours, but each party reserves the right to seek

more time for certain witnesses.

       The Parties agree that any deposition taken pursuant to Fed. R. Civ. P. 30(b)(6) will be

treated like any other deposition. If a 30(b)(6) deposition requires more than seven hours to

complete, it will count as more than one deposition. However, the fact that a party designates more

than one witness to testify on topics listed in the 30(b)(6) notice alone does not mean that a

30(b)(6) deposition will count as more than one deposition. The Parties agree that the deposition of

an individual deposed in both their personal capacity and as a corporate designee for Rule 30(b)(6)

topics shall count as a single deposition as long as it is completed in seven hours. The Parties will

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use their best efforts to ensure that an individual will have to sit only once for a deposition.

Plaintiff and Defendants reserve the right to seek leave of court to extend the presumptive seven

hour duration for a 30(b)(6) deposition if the production of multiple designees unnecessarily

extends the time needed to complete the noticed topics.

        Plaintiff and Defendants reserve the right to seek leave of court to take additional

depositions of witnesses identified during the discovery process.

        The Parties agree that expert depositions are not subject to the provisions and limitations of

this subparagraph.

            g. Protective Order

        The Parties agree that a protective order is necessary to safeguard confidential information

concerning Defendants’ and third parties’ business information. The Parties agree to meet and

confer regarding a protective order governing the confidentiality of documents in this litigation

and to submit a joint proposed order by February 6, 2015, for the Court’s consideration. Any

disagreement between the Parties regarding the content of the proposed protective order shall be

identified in the submission to the Court, which will include a brief statement of each party’s

position. The Parties agree that a lack of protective order shall not prohibit or delay the production

of materials in this litigation and that such materials shall be produced on an outside counsel only

basis until the entry of a protective order.

            h. Electronically Stored Information

        The Parties agree to address issues concerning electronically stored information (“ESI”)

consistent with Fed. R. Civ. P. 26 and Fed. R. Civ. P. 34. The Parties will meet and confer to

develop a joint stipulation governing the scope of preservation of evidence and the format and

protocols for the production of ESI to be submitted on or before February 6, 2015, for the Court’s

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consideration. Any disagreement between the parties regarding the content of the proposed ESI

stipulation shall be identified in the submission to the Court, which will include a brief statement

of each party’s position.

4.       Experts

         Subject to the following paragraphs, the Parties propose no modification of the

requirements of Fed. R. Civ. P. 26(a). Although the Parties largely agree on the structure of expert

discovery, the Parties disagree on the timing for expert discovery.

             a. Expert Reports

         The Parties agree to disclose the identity of any expert witnesses as required by Fed. R.

Civ. P. 26(a)(2). The Parties agree that there shall be a simultaneous exchange of expert reports,

and then a simultaneous exchange of rebuttal expert reports, followed by depositions of the

experts.

         Plaintiff proposes the Parties exchange expert reports required by Fed. R. Civ. P.

26(a)(2)(B) four weeks after the close of fact discovery.

         Defendants propose the Parties exchange expert reports six weeks after the close of fact

discovery.

             b. Expert Rebuttal Reports

         The Parties agree to exchange any expert rebuttal reports six weeks after the exchange of

initial expert reports.

             c. Expert Depositions

         The Parties agree to complete expert depositions eight weeks after the exchange of rebuttal

expert reports.



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5.       Settlement

         The Parties do not believe that there is a meaningful prospect of settlement at this time. The

Parties agree to meet and confer as discovery proceeds and the case develops and report to the

Court regarding the appropriateness of settlement discussions and potential mechanisms to

facilitate such discussions.

6.       Summary Judgment

         The Parties disagree on the deadlines for filing summary judgment and Daubert motions.

         Plaintiff proposes that summary judgment and Daubert motions be filed no later than thirty

days after the close of all discovery as provided by Fed. R. Civ. P. 56(b).

         Defendant proposes that summary judgment and Daubert motions be filed no later than

sixty days after the close of expert discovery.

         Plaintiff and Defendants agree that absent agreement or further order of the court on a

different briefing schedule, any opposition or Rule 56(d) response shall be filed within 45 days

from the filing of such motions, and replies in support of summary judgment and Daubert motions

shall be filed within 30 days of the filing of oppositions.

7.       Pretrial Conference

         The Parties disagree on the timing for a pretrial conference.

         Plaintiff requests that the Court schedule a pretrial conference at the Court’s convenience

within six weeks from the completion of summary judgment briefing after the close of all

discovery.

         Defendants propose that the date for the pretrial conference be determined by the Court

based on the time frame the Court anticipates for hearing and determining summary judgment and

Daubert motions.

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8.       Trial Date

         The Parties agree that the Court set a trial date following the pretrial conference.

9.       Jurisdictional Defects, If Any

         The Parties do not anticipate that issues concerning jurisdictional defects will arise in this

matter, but reserve the right to raise the issue pursuant to the Federal Rules of Civil Procedure.

10.      Service

         The Parties do not anticipate that issues concerning service will arise in this matter, but

reserve the right to raise the issue pursuant to the Federal Rules of Civil Procedure. The Parties

agree that all filings will be served by electronic mail.

11.      Joinder of Parties and Amendment of Pleadings

         The Parties do not anticipate that additional parties need to be joined or that amendments to

the complaint are necessary, but Plaintiff reserves the right to amend the complaint pursuant to

Fed. R. Civ. P. 15.

12.      Information Not Subject to Discovery

         The Parties will meet and confer to develop joint stipulations governing the categories of

information exempt from discovery, to be submitted on or before February 6, 2015, for the Court’s

consideration. The stipulations will include an expert stipulation, and an agreement on the logging

and inadvertent production of privileged documents. Any disagreement between the Parties

regarding the content of the proposed stipulations shall be identified in the submission to the

Court, which will include a brief statement of each party’s position.

13.      Magistrate Jurisdiction

         The Parties do not consent to the jurisdiction of a United States Magistrate Judge pursuant

to 28 U.S.C. § 636(c).

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14.    Other Supplemental Proposals

       The Parties agree that each party shall make reasonable efforts to produce all third party

discovery to opposing counsel within five (5) business days of receipt.

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                             Plaintiff’s Proposal                Defendants’ Proposal

Answer or other response     11/12/2014                          11/12/2014
to complaint

   Opposition, if any        12/12/2014                          12/12/2014

   Reply, if any             01/09/2015                          01/09/2015

Rule 26(f) conference        12/16/2014                          12/16/2014

Joint 26(f) report           12/23/2014                          12/23/2014

Initial disclosures          01/16/2015                          Following the Court’s decision
                                                                 on initial motions

Start of fact discovery      01/16/2015                          Following the Court’s decision
                                                                 on initial motions

Production deadline for      08/21/2015 (8 weeks prior to the    8 weeks prior to the close of
paper/electronic discovery   close of fact discovery)            fact discovery

Close of fact discovery      10/16/2015 (9 months following      12 months following the start
                             the start of fact discovery)        of fact discovery

Exchange expert              11/13/2015 (4 weeks following       6 weeks following the close of
disclosures and reports      the close of fact discovery)        fact discovery

Exchange any expert          12/28/2015 (6 weeks following       6 weeks following the
rebuttal reports             the exchange of expert reports)     exchange of expert reports

Close expert depositions     02/22/2016 (8 weeks following       8 weeks following the
                             the exchange of rebuttal reports)   exchange of rebuttal reports

Dispositive motions          03/23/2016 (30 days following       60 days following the close of
                             the close of expert discovery)      expert discovery

Opposition                   05/09/2016 (45 days following       45 days following service of
                             service of opening motions)         opening motions

Reply                        06/08/2016 (30 days following       30 days following service of
                             service of opposition motions)      opposition motions

Pre-Trial conference         Within 6 weeks of completion of Following the Court’s
                             summary judgment briefing       decisions on dispositive
                                                             motions

Trial                        To be determined by the Court       To be determined by the Court



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Dated: December 23, 2014                 Respectfully submitted,

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                                      Certificate of Service

       I hereby certify that on December 23, 2014, I filed the parties’ Joint Rule 26(f) Report

with the United States District Court for the Eastern District of Pennsylvania using the ECF

system. I also served a copy of this report on all counsel of record via electronic mail.



                                                               /s/ Patricia M. McDermott
                                                               Patricia M. McDermott
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                                                               600 Pennsylvania Avenue, N.W.
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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


FEDERAL TRADE COMMISSION                :               CIVIL ACTION
                                        :
           v.                           :
                                        :
ABBVIE INC., et al.                     :               NO. 14-5151
                          FIRST SCHEDULING ORDER

           AND NOW, this 29th day of April, 2015, following a

status conference in the above-captioned matter and in

consideration of the joint report and proposed scheduling order

submitted by the parties, it is hereby ORDERED that:

           1.     The parties shall file and serve, on or before

May 4, 2015, a joint proposed protective order governing the

confidentiality of information produced in the above-captioned

matter.

           2.     Pending future order of court, the information

produced in this litigation may be disclosed only to outside

counsel of record, FTC trial counsel, and their respective

staffs.   Such interim disclosures may be made only for purposes

of this litigation.

           3.     All initial disclosures and requests for

production shall be served, noticed, and completed by May 15,

2015.

           4.     Plaintiff shall file and serve, on or before

August 5, 2015, any motion challenging any claim of privilege




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with respect to documents or information, including entries on

the privilege logs deemed produced in this litigation, from In

the Matter of Abbott Laboratories, FTC File No. 121-0028, FTC v.

Actavis, No. 09-955 (N.D. Ga.), or In re Androgel Antitrust

Litigation (II), 09-2084 (N.D. Ga.) on which the parties are

unable to reach agreement.

           5.     Defendants shall file and serve, on or before

August 19, 2015, any response in opposition to any such motion.

           6.     The parties shall produce all paper and

electronic documents on or before September 30, 2015.                Privilege

logs shall be produced within 2 weeks of their associated

document productions, with all privilege logs produced by

September 30, 2015.

           7.     All fact discovery shall proceed forthwith and

continue in such a manner as will assure that all requests for,

and responses to, discovery will be served, noticed, and

completed by November 30, 2015.

           8.     Plaintiff shall serve, on or before December 31,

2015, any reports of expert witnesses with respect to issues on

which it has the burden of proof and any responsive reports of

expert witnesses with respect to those declarations previously

submitted by defendants in support of summary judgment (Doc.

# 59).




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           9.     Defendants shall serve, on or before February 1,

2016, any reports of expert witnesses with respect to issues on

which they have the burden of proof and any supplemental or

responsive reports of expert witnesses.

           10.    Plaintiffs shall serve, on or before February 29,

2016, any rebuttal reports of expert witnesses limited to those

issues raised in the expert reports of defendants served

pursuant to paragraph 9 above.

           11.    Any depositions of expert witnesses shall be

noticed and completed on or before March 31, 2016.               No more than

one deposition of any expert may be conducted without leave of

court or agreement of the relevant parties.

           12.    Any summary judgment motion or other dispositive

motion, and any motion under Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), together with

supporting brief, shall be filed and served on or before

April 30, 2016.

           13.    Any responsive brief to any dispositive motion or

any Daubert motion shall be filed and served on or before

May 31, 2016.

           14.    Any reply brief shall be filed and served on or

before June 15, 2016.




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            15.   No brief filed in support of or in opposition to

any motion shall exceed 25 pages in length without prior leave

of court.

            16.   Every factual assertion set forth in any brief

shall be supported by a citation to the record where that fact

may be found.


                                           BY THE COURT:



                                           /s/ Harvey Bartle III
                                                                               J.




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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



IN RE ANDROGEL ANTITRUST
LITIGATION (II)                             Master Dkt. No. 1:09-md-2084-TWT
                                            ALL CASES




FEDERAL TRADE
COMMISSION,

                 Plaintiff,
                                           Case No. 1:09-cv-955-TWT
           vs.

ACTAVIS, INC., et al.,

                 Defendants.



                              Discovery Order




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      Upon consideration of the Plaintiffs’ Joint Proposed Discovery Plan,

Defendants’ Response to Plaintiffs’ Joint Discovery Plan, arguments heard at the

status conferences on April 4, 2014 and May 16, 2014, and for good cause shown,

it is hereby ORDERED that the following case schedule and limits on discovery

shall apply to the above-captioned cases.


 I.      Case Schedule

               EVENT                                   DUE DATE

Discovery Opens                      4/4/2014

Document Productions                 The parties will produce documents in response
                                     to a discovery request on a rolling basis
Fact Discovery Closes                3/5/2015
Plaintiffs’ Expert Reports to be     4/16/2015
served on Merits and Class
Certification Issues
Depositions of Plaintiffs’ Experts   4/17/2015 to 5/15/2015
on their Expert Reports on
Merits and Class Certification
Issues
Defendants’ Expert Reports to be     6/11/2015 (8 weeks after service of Plaintiffs’
served on Merits and Class           Expert Reports)
Certification Issues
Depositions of Defendants’           6/12/2015 to 7/10/2015
Experts on their Expert Reports
On Merits and Class
Certification Issues
Plaintiffs’ Expert Reply Reports     8/6/2015 (8 weeks after service of Defendants’
to be served on Merits and Class     Expert Reports)
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Depositions of Plaintiffs’ Experts   8/7/2015 to 8/28/2015
on their Reply Reports
Expert Discovery Closes              8/28/2015

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              EVENT                                   DUE DATE

Rule 16.3 Conference                8/28/2015 to 9/11/2015 (within 14 days after
                                    the close of discovery)
Summary Judgment Motions to         9/28/2015 (31 days after the close of discovery)
be filed

Oppositions to Summary              10/28/2015 (30 days from filing of Dispositive
Judgment Motions to be filed        Motion)

Replies in Support of Summary       11/27/2015 (30 days from filing of Opposition)
Judgment Motions to be filed

Plaintiffs’ Class Certification     12/4/2015 (7 days from filing of Summary
Motions to be filed                 Judgment Replies)

Defendants’ Opposition to Class 1/18/2016 (45 days from filing of Class
Certification Motions to be filed* Certification Motions)

Plaintiffs’ Replies in Support of 3/3/2016 (45 days from filing of Oppositions to
Class Certification Motions to be Class Certification Motions)
filed


II.     Written Discovery

        The FTC may serve no more than 25 interrogatories on any other party. The

Direct Purchaser Plaintiffs and the End Payor Plaintiffs collectively may serve no

more than 25 interrogatories on any other party. Defendants each may serve no
*
 If the Court grants any motion permitting Defendants to file a supplemental
expert report on class certification, the following schedule modifications apply:

     x Defendants’ supplemental expert report will be served no later than
       1/18/2016;
     x Deposition of Defendants’ expert on his/her supplemental expert report will
       occur between 1/19/2016 and 2/11/2016.

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more than 25 interrogatories on the FTC and no more than 25 interrogatories on

the Direct Purchaser Plaintiffs and the End Payor Plaintiffs collectively.

Consistent with this Court’s directive to coordinate discovery where possible, all

parties will use their best efforts to avoid duplicative discovery.

III.     Fact Depositions

         Plaintiffs collectively and Defendants collectively may each notice the

deposition of up to 40 fact witnesses. Every seven (7) hours of a deposition

noticed pursuant to Fed. R. Civ. P. 30(b)(6) shall constitute a single deposition

regardless of the number of corporate representatives designated by a party or non-

party. The parties reserve the right to seek leave of the Court to take additional

depositions of witnesses identified during the discovery process.

IV.      Summary Judgment Motions

         No party may depart from the date for filing summary judgment set forth in

Section I above without first making a request and obtaining permission from the

Court.

 V.      Expert Depositions

         As provided in the case schedule above, Plaintiffs and Defendants are

permitted to depose each other’s experts after serving their respective reports. Any

party’s expert addressing both class certification and merits issues will be subject

to a two-day deposition. If any party serves reply expert reports, the opposing


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party shall be permitted to take an additional deposition of those experts for no

more than three and a half (3.5) hours.

VI.   Privilege Logs

      The parties shall produce privilege logs within a reasonable time following

service of each production.




So ORDERED, this 11th day of June, 2014.



 /s/Thomas W. Thrash
Thomas W. Thrash, Jr.
United States District Judge




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                                                               HCG, Inc., HCG, inc. c/o Lennon & Klein, P.C., Medford,
                    2018 WL 893803
                                                               OR, pro se.
      Only the Westlaw citation is currently available.
         United States District Court, D. Oregon,              Henry Cricket Group, LLC, pro se.
                    Medford Division.
                                                               Publishers Payment Processing, Inc., Publishers Payment
      FEDERAL TRADE COMMISSION, Plaintiff,                     Processing, Inc. c/o Lennon & Klein, P.C., Medford, OR, pro
                     v.                                        se.
     ADEPT MANAGEMENT INC., et al, Defendants.
                                                               Magazine Clearing Exchange, Inc., pro se.
                 Civ. No. 1:16–cv–00720–CL
                                                               Magazine Link, Inc., pro se.
                               |
                      Signed 02/13/2018                        Maximillian, Inc., Maximillian, Inc., Medford, OR, pro se.
Attorneys and Law Firms                                        North West Data Services LLC, North West Data Services
                                                               LLC, Eagle Point, OR, pro se.
Connor Shively, Krista K. Bush, Laura Marie Solis, Richard
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Plaintiff.
                                                               Specialties, Inc., Specialties, Inc., Trail, OR, pro se.
Adept Management, Inc., Adept Management, Inc., David
Paul Lennon, Lennon & Klein, P.C., Express Publishers          Subscription House Agency, Inc., Subscription House
Service, Inc., Express Publishers Service, Inc. c/o Lennon &   Agency, Inc., Trail, OR, pro se.
Klein, P.C., David B. Paradis, Brophy Schmor LLP, David B.
Paradis, Brophy Schmor LLP, Medford, OR, Adam Alba, Pro        United Publishers Exchange, Inc., pro se.
Hac Vice, Eric K. Schnibbe, Pro Hac Vice, James Magleby,
                                                               Wineoceros Wine Club, Inc., pro se.
Pro Hac Vice, Magleby Cataxinos Greenwood, Salt Lake
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Associated Publishers Network, Inc., pro se.                   Linda Babb, Eagle Point, OR, pro se.
Atlas Business Consulting LLC, Atlas Business Consulting       Shannon Bacon, Trail, OR, pro se.
LLC, Eagle Point, OR, pro se.

Clarity Group, Inc., Clarity Group, Inc., Trail, OR, pro se.
                                                                                 OPINION AND ORDER
Consolidated Publishers Exchange, Inc., Consolidated
Publishers Exchange, Inc., Trail, OR, pro se.                  MARK D. CLARKE, United States Magistrate Judge

Crown Resource Management LLC, Crown Resource                   *1 This case comes before the Court on a motion (#226) by
Management LLC, Medford, OR, pro se.                           the Hoyal defendants to bifurcate the issues in this case for
                                                               trial. The Hoyal defendants assert that the preliminary issue
Customer Access Services, Inc., pro se.                        that should be bifurcated and addressed first is “whether or
                                                               not the mailers used to solicit newspaper subscriptions were
                                                               deceptive.”


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                                                                     tendency to deceive.’ ”     F.T.C. v. Commerce Planet, Inc.,
                                                                     878 F.Supp.2d 1048, 1073 (C.D.Cal.2012) (quoting      Trans
                        DISCUSSION
                                                                     World Accounts, Inc., 594 F.2d at 214). Furthermore, the
“For convenience, to avoid prejudice, or to expedite and             Court considers “the overall, common sense ‘net impression’
economize, the court may order a separate trial of one or more       of the representation or act as a whole to determine whether
separate issues, claims, crossclaims, counterclaims, or third-       it is misleading,” and a Section 5 violation may still be
party claims.” Fed. R. Civ. P. 42(b). Rule 42(b) “confers broad      found even if the fine print and legalese were technically
discretion upon the district court to bifurcate a trial, thereby     accurate and complete.     Commerce Planet, 878 F.Supp.2d
deferring costly and possibly unnecessary proceedings
                                                                     at 1063 (citing    Gill, 265 F.3d at 956) ); see also  F.T.C.
pending resolution of potentially dispositive preliminary
                                                                     v. Cyberspace.Com LLC, 453 F.3d 1196, 1200 (9th Cir.2006)
issues.”    Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080,           (stating that a representation “may be likely to mislead
1088 (9th Cir. 2002). “In determining whether to bifurcate,          by virtue of the net impression it creates even though the
courts consider a number of factors, including whether               [representation] also contains truthful disclosures”).
bifurcation would promote efficient judicial administration,
promote convenience, simplify discovery or conserve                   *2 In this case, while the deceptiveness of the mailers is a
resources, reduce the risk of juror confusion, and separability      key factor in the overall deceptiveness of the “practice” or
of the issues.”    Lam Research Corporation v. Schunk                business at issue, such a determination does not depend solely
Semiconductor, 65 F.Supp.3d 863, 865 (N.D. Cal. 2014).               on the words used in each notice; the context of the mailers
                                                                     is just as important to liability. This includes whether or not
The Hoyal defendants move to bifurcate the case so that the          defendants were authorized to offer or sell the subscriptions
alleged deceptiveness of the subject mailers is adjudicated          offered, whether or not the recipients were led to believe they
first. Many of the cases cited by the defendants in support of       owed money for existing subscriptions, and whether or not
their motion indicate that bifurcating liability from remedy         recipients who ordered subscriptions based on the mailers
issues can be cost and time efficient, and certainly this            ever received the products as advertised. Such contextual
Court has seen instances where this is the case. The Hoyal           considerations rely on information regarding the functional
defendants do not propose to bifurcate all questions of              operation of the businesses at issue, and how the defendants
liability, however. Instead, they propose to limit the first phase   interacted with each other and with the consumers—how they
of the Court's determination to whether or not the mailers used      ran those operations—is at the heart of that question.
were “deceptive.” The defendants claim that this is a narrow,
discrete, and simple issue, which can be adjudicated quickly         Indeed, unlike some of the cases cited by the defendants,
and may be dispositive of the case. The Court disagrees.             here the complex questions regarding how the defendants
                                                                     are related, and how they operated individually and together,
First, it is undisputed that the FTC's case will rest on the         are not confined to issues of remedy, as suggested by the
allegation that the defendants engaged in “unfair or deceptive       defendants. Instead, a significant amount of overlap exists
                                                                     between the facts the FTC will have to show to prove liability
acts or practices in or affecting commerce.” See 15 U.S.C.           and the facts it will have to show to determine the appropriate
§ 45(a)(1). “An act or practice is deceptive if ‘first, there        remedy. Therefore, bifurcation would not be an efficient use
is a representation, omission, or practice that, second, is          of the Court's and the parties' resources.
likely to mislead consumers acting reasonably under the
circumstances, and third, the representation, omission, or           Second, even if bifurcation would streamline separable issues
practice is material.’ ”     F.T.C. v. Gill, 265 F.3d 944, 950       of liability and remedy for trial, it would not simplify
                                                                     discovery, as claimed by the defendants. This case has
(9th Cir.2001) (citing   F.T.C. v. Pantron I Corp., 33 F.3d
                                                                     already progressed through several phases of complicated
1088, 1095 (9th Cir.1994)). Actual deception is not required
                                                                     discovery for the last two years. By now, the FTC, and, the
for a Section 5 violation.   Trans World Accounts, Inc. v.           Court presumes, all of the parties, have already completed a
F.T.C., 594 F.2d 212, 214 (9th Cir.1979). Rather, Section 5          significant amount of the discovery necessary for issues of
“only requires a showing that misrepresentations ‘possess a          both liability and remedy. Thus, even if this motion were well



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                                                                      dates on the list. First, if the FTC wishes to conduct additional
taken, it would have been more appropriately posed at the start
                                                                      depositions in this case, they must submit such a request by
of this case.
                                                                      February 23.
Third, there is no risk of juror confusion in this case because
                                                                      Second, please note the date for “Requests to file Summary
it will be tried to the Court.
                                                                      Judgment Motions.” This deadline indicates that all parties
                                                                      will be required to request permission from the Court prior
                                                                      to filing a motion for summary judgment. Such request must
                          ORDER                                       be filed in writing and include a brief, no longer than three
                                                                      (3) pages, memorandum outlining the basis for the motion
The motion for bifurcation (#226) is DENIED. Additionally
                                                                      requested.
the Court adopts, in part, the schedule proposed by the FTC,
as indicated below. The parties should note two additional
                                                                      The Court adopts the following case schedule:
 FTC Request for add'l depositions                                        February 23, 2018
 Discovery Motions due                                                    April 2, 2018
 Close of Fact Discovery                                                  May 1, 2018
 Initial Expert Disclosures                                               May 15
 Requests to File Summary Judgment                                        May 25
 Status Conference                                                        June 1
 Expert Rebuttals                                                         June 15
 Close Expert Discovery                                                   July 16
 Dispositive Motions due                                                  Aug 3
 Pretrial Conference                                                      October 22@ 10AM
 Bench Trial                                                              October 29, 2018

                                                                      All Citations
It is SO ORDERED and DATED this 13 day of February,
2018.                                                                 Not Reported in Fed. Supp., 2018 WL 893803



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                                               THE HONORABLE JOHN H. CHUN




                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE



                                             CASE NO.: 2:23-cv-01495-JHC
FEDERAL TRADE COMMISSION, et al.,
                                             PLAINTIFFS’ MOTION TO
               Plaintiffs,                   BIFURCATE

          v.                                 NOTE ON MOTION CALENDAR:
                                             March 15, 2024
AMAZON.COM, INC., a corporation,
                                             ORAL ARGUMENT REQUESTED
               Defendant.




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                                          INTRODUCTION

          Plaintiffs move to bifurcate this action into two separate proceedings: a trial solely on

liability to be followed by a proceeding on remedies. By first addressing liability, Plaintiffs will

be able to present a streamlined case focused on showing the Court how Amazon has violated the

law and harmed competition to the detriment of shoppers and sellers. Once the Court finds Amazon

liable, the Parties would then move to a remedy proceeding tailored to the Court’s specific findings

on liability. Bifurcation allows the Parties to make focused presentations at each stage, thereby

reducing the overall burden on the Parties, the Court, and non-party witnesses alike. Given the

efficiencies associated with proceeding in this manner, Plaintiffs respectfully ask this Court to

order that the trial be bifurcated.

                                           BACKGROUND

          Plaintiffs filed this suit to challenge the illegal course of exclusionary conduct Amazon

deploys to block competition, stunt rivals’ growth, and cement its dominance to the detriment of

the tens of millions of American households who regularly shop on Amazon’s online superstore

and the hundreds of thousands of businesses who rely on Amazon to reach them. (¶¶ 3, 7.) 1        0F




Plaintiffs allege that Amazon has illegally maintained monopoly power in two discrete but

interrelated markets (¶¶ 117-19) through intricate schemes that span more than a decade

(¶¶ 257-415). Plaintiffs collectively bring twenty claims against Amazon under the FTC Act, the

Sherman Act, and state competition and consumer protection laws. (¶¶ 442-564.) Plaintiffs seek,

among other relief, equitable relief necessary to “redress and prevent recurrence of Amazon’s

violations of the law” and “restore fair competition and remedy the harm to competition caused by

Amazon’s violations of the law,” along with “any additional relief the Court finds just and proper.”



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    Citations in the form (¶ __) are to Plaintiffs’ Complaint, Dkt. #114.



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(Complaint, Dkt. #114 at 148-49.) Plaintiff States also seek equitable monetary relief and the costs

of suit. (Id. at 149.)

        While Plaintiffs and Amazon appear to agree that fact discovery should encompass both

liability and remedy issues, Amazon opposed Plaintiffs’ proposal “that trial should address only

Amazon’s liability under Section 5 of the FTC Act, Section 2 of the Sherman Act, and applicable

state competition and consumer protection laws.” (Joint Status Report, Dkt. #135 at 44-45.)

Plaintiffs now move for bifurcation consistent with the Case Scheduling Order (Dkt. #159).

                                      LEGAL STANDARD

        Federal Rule of Civil Procedure 42(b) allows “the court [to] order a separate trial of one

or more separate issues” “[f]or convenience, to avoid prejudice, or to expedite and economize.”

Rule 42(b) “confers broad discretion upon the district court to bifurcate a trial, thereby deferring

costly and possibly unnecessary proceedings pending resolution of potentially dispositive

preliminary issues.” Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002); see also

Estate of Diaz v. City of Anaheim, 840 F.3d 592, 601 (9th Cir. 2016) (“It is clear that Rule 42(b)

gives courts the authority to separate trials into liability and damages phases.” (cleaned up)). In

considering a motion for bifurcation, “[c]ourts weigh several factors, including convenience,

prejudice, and judicial economy in determining whether to phase or bifurcate proceedings.”

United States v. Boeing Co., 2023 WL 5836487, at *2 (W.D. Wash. Aug. 31, 2023). Bifurcation

should “be encouraged where experience has demonstrated its worth.” Fed. R. Civ. P. 42(b)

advisory committee’s notes to 1966 amendment.

                                           ARGUMENT

        Complex antitrust cases, like this one, are often bifurcated into separate liability and

remedies proceedings to increase convenience and judicial economy. (§ I.) The rationale for

bifurcation applies with particular force here given the scope of the allegations and the role the



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Court’s findings on liability will play in guiding the Parties’ remedies arguments. (§ II.) Amazon’s

arguments against bifurcation are unpersuasive and actually underscore why bifurcation is

especially appropriate here. (§ III.)

I.       COURTS COMMONLY SPLIT COMPLEX ANTITRUST CASES INTO

         SEPARATE LIABILITY AND REMEDY PHASES FOR PURPOSES OF

         CONVENIENCE AND JUDICIAL ECONOMY.

         Bifurcating liability and relief into separate proceedings in especially complex cases is a

common and “obvious” application of Rule 42(b) because “liability must be resolved before

damages are considered.” 9A Charles A. Wright & Arthur R. Miller, Federal Practice &

Procedure § 2390 (3d ed. 2016). Courts have often found complex antitrust cases well-suited for

bifurcation due to the intricacy of the liability issues and the efficiencies in addressing each phase

separately. See id. (noting that “a significant number of federal courts, in many different kinds of

civil litigation, have ordered the questions of liability and damages to be tried separately, for

example in cases involving antitrust” (emphasis added)); accord Goldfarb v. Va. State Bar, 421

U.S. 773, 778 (1975) (district court conducted bench trial “solely on the issue of liability” in case

brought under the Sherman Act for injunctive relief and damages); Oltz v. St. Peter’s Cmty. Hosp.,

19 F.3d 1312, 1313 (9th Cir. 1994) (bifurcated antitrust trial on liability and remedies); In re Data

Gen. Corp. Antitrust Litig., 490 F. Supp. 1089, 1099 (N.D. Cal. 1980) (same); Wall Prods. Co. v.

Nat’l Gypsum Co., 357 F. Supp. 832, 834 (N.D. Cal. 1973) (same); see also, e.g., In re Master Key

Antitrust Litig., 528 F.2d 5, 15 (2d Cir. 1975) (recognizing that “bifurcated trials have frequently

been employed with great success [including] in antitrust suits”).

         Resolving complex antitrust cases is often a significant undertaking. See generally 3B

Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and

Their Application (“Areeda & Hovenkamp”) ¶ 311a (5th ed. 2020) (“[A]n antitrust case may



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involve so many issues, documents, witnesses, and lawyers as to defy comprehension . . . .”).

Bifurcating remedy proceedings from the underlying resolution of liability allows the factfinder to

address each of these complex issues independently, promoting the efficient development and

presentation of evidence on the merits. See, e.g., In re High Fructose Corn Syrup Antitrust Litig.,

295 F.3d 651, 666 (7th Cir. 2002) (Posner, J.) (“No doubt in view of the complexity of [this

antitrust] case the judge will also want to bifurcate the trial, that is, to have a trial on liability first

and only if the jury finds that the defendants violated the law to conduct a trial to determine the

plaintiffs’ damages.”); Kraft Foods Glob., Inc. v. United Egg Producers, Inc., 2023 WL 5177501,

at *10-13 (N.D. Ill. Aug. 11, 2023) (recognizing that “antitrust cases are often strong candidates

for bifurcation” given their complexity and granting motion to bifurcate trial into liability and

damages phases in part to avoid “add[ing] another layer of complexity to an already complex

trial”); Union Carbide Corp. v. Montell N.V., 28 F. Supp. 2d 833, 837-38 (S.D.N.Y. 1998)

(ordering bifurcation to “[s]egment[] difficult issues of liability and damages” in antitrust case

involving “voluminous evidence and difficult concepts lying at the crossroads of law and

economics” where “[c]onfronting one complex set of issues at a time” would reduce potential

confusion); Reines Distribs., Inc. v. Admiral Corp., 257 F. Supp. 619, 621 (S.D.N.Y. 1965) (“The

inherent complexity of an antitrust case is itself a factor promoting a separate trial of an issue in

such a case where the result of the separate trial may simplify the litigation.”).

        Moreover, it is often efficient to address how a monopolist violated the law separately from

how to appropriately remedy that violation given the wide variety of relief that may be necessary.

Equitable relief may need to be much broader than simply ordering the monopolist to cease the

illegal conduct. “The principal purpose of equitable relief” in monopolization cases “is not to

punish violations but to restore competitive conditions—the ‘undoing’ of what the antitrust

violation achieved.” 3D Areeda & Hovenkamp ¶ 325c. Accordingly, if a district court concludes



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that monopolization has occurred, “the available injunctive relief is broad” because the court must

“terminate the illegal monopoly, deny to defendant the fruits of its statutory violation, and ensure

that there remain no practices likely to result in monopolization in the future.” Optronic Techs.,

Inc. v. Ningbo Sunny Elec. Co., 20 F.4th 466, 486 (9th Cir. 2021) (quoting United States v.

Microsoft Corp., 253 F.3d 34, 103 (D.C. Cir. 2001) (en banc) (per curiam)); accord Ford Motor

Co. v. United States, 405 U.S. 562, 573 (1972) (holding that antitrust relief must restore

competition).

       In order to efficiently carry out this broad mandate, courts often bifurcate complex antitrust

cases to allow the remedies proceeding to be tailored to the specific violations found by the court.

The court cannot craft appropriate injunctive relief until it knows “the wrong creating the occasion

for the remedy.” Microsoft, 253 F.3d at 107. Separate proceedings can thus be more efficient

because the scope and specifics of any remedy depend on the scope and specifics of the court’s

liability determination. Cf. id. at 103-05 (vacating district court’s remedy decree because court of

appeals revised underlying bases of liability, requiring district court to reevaluate remedy based

on new scope of liability). When proceedings are not bifurcated in cases with a broad scope,

witnesses may have to testify about a range of potential remedies covering all possible liability

outcomes. This could result in the parties litigating—and the court considering—remedies that

may ultimately be foreclosed by the court’s liability determinations, thereby reducing judicial

economy. See Kraft Foods, 2023 WL 5177501, at *10 (bifurcation allows the parties and the court

to focus on remedies that are “actually in play after [a] liability verdict”). And, as courts have

recognized, bifurcation may obviate the need for a remedies proceeding altogether. See, e.g.,

Reines Distribs., 257 F. Supp. at 621 (“If plaintiff should lose on [liability], the issue[] of . . .

damage[s] . . . will be out of the case and there will be neither duplication nor cumulation.”

(cleaned up)).



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        Given the benefits that bifurcation can bring, it is unsurprising that courts overseeing recent

complex monopolization cases concerning online markets have bifurcated proceedings into bench

trials on liability followed by separate tailored proceedings on remedies. See United States v.

Google LLC, No. 1:20-cv-03010 (D.D.C. Dec. 6, 2021), Dkt. #264 (“The Court finds that, to the

extent necessary, holding separate trials on the issues of liability and remedies will be more

convenient for the Court and the Parties, and will expedite and economize this litigation.”); FTC

v. Meta Platforms, Inc., No. 1:20-cv-03590 (D.D.C. Mar. 3, 2022), Dkt. #103 (“There will be a

first phase that will address only the Defendant’s liability under the antitrust laws. If the Court

renders a decision finding the defendant liable, then the Court will hold a separate proceeding

regarding any remedies for any violations of the antitrust laws that it finds.”); accord United States

v. Google LLC, No. 1:23-cv-00108 (E.D. Va. June 11, 2023), Dkt. #283 (“In the event plaintiffs

obtain a jury verdict [in] their favor on liability and monetary damages, the court will promptly

convene a status conference to discuss whether plaintiffs wish to pursue equitable relief based on

the jury’s verdict, what equitable relief plaintiffs intend to pursue, the schedule for exchanging

expert reports addressing the specific equitable remedy or remedies being sought, the schedule for

briefing by the parties, and a date for the hearing.”); In re Google Play Store Antitrust Litig.,

No. 3:21-md-02981 (N.D. Cal. Jan. 18, 2024), Dkt. #917 (noting court’s intention to “hear from

the parties’ economist experts at [an] evidentiary hearing on the issue of an appropriate conduct

remedy” following jury trial on liability that resulted in verdict in favor of plaintiff).

II.     BIFURCATING THE LIABILITY AND REMEDIES PHASES OF THIS CASE

        WOULD BE CONVENIENT AND PROMOTE JUDICIAL ECONOMY.

        This case is broader in scope and complexity than a typical antitrust case. As such, the

rationales related to convenience and judicial economy that courts have applied in other complex

antitrust cases when ordering bifurcation weigh in favor of separate proceedings here.



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        As discussed above, remedying monopolization requires not only halting illegal conduct,

but also restoring competition. (See § I.) To craft an appropriate remedy here, the Court will need

to understand the mechanics of how Amazon has violated the law to fashion injunctive relief

sufficient to return the markets to the states they would have been in absent Amazon’s illegal

conduct. The scope of the inquiry on remedies combined with the scope of Amazon’s challenged

practices heightens the benefits of holding a separate liability trial.

        Plaintiffs allege Amazon has used many different programs, business units, and tactics to

illegally maintain its monopolies in two separate but interrelated markets. Contractual price parity

clauses, Select Competitor–Featured Offer Disqualification, Amazon Standards for Brands,

Customer Experience Ambassadors, and a first-party anti-discounting algorithm all contribute to

Amazon’s long-term strategy of punishing online discounting. (¶¶ 272-304, 326-32.) Amazon also

uses Prime eligibility, the Featured Merchant Algorithm, Fulfillment by Amazon, and Seller

Fulfilled Prime to reduce seller multihoming. (¶¶ 351-60, 397-409.) And Amazon used Project

Nessie to raise prices by manipulating other online stores’ pricing algorithms. (¶¶ 416-32.) The

Court must assess Amazon’s tactics holistically and examine the cumulative impact of Amazon’s

unlawful behavior. See City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1376 (9th Cir. 1992)

(“[I]t would not be proper to focus on the specific individual acts of an accused monopolist while

refusing to consider their overall combined effects.”); Plaintiffs’ Opposition to Amazon’s Motion

to Dismiss, Dkt. #149 at 6-8. A separate trial on liability would allow the Court to make this holistic

assessment in the context of focused presentations about how Amazon’s various tactics fit

together. Simultaneously evaluating remedy issues and Amazon’s liability for its course of

conduct, on the other hand, would “add another layer of complexity to an already complex trial.”

Kraft Foods, 2023 WL 5177501 at *11.




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       The number and variety of laws Amazon has violated also favors bifurcation. Several

Plaintiff States allege that Amazon has engaged in deceptive acts or practices in addition to unfair

and anticompetitive conduct. (¶¶ 513, 522(c), 541-52.) These claims differ from Plaintiffs’

antitrust claims and will require independent analysis of applicable remedies. Certain Plaintiff

States have also raised state law claims for equitable monetary relief, including disgorgement.

(See, e.g., ¶¶ 482(a), 507(a), 521(b), 523(b), 540, 552, 561.) Plaintiff FTC also alleges that Amazon

has engaged in unfair methods of competition in violation of Section 5 of the FTC Act (¶¶ 454-63),

a law with a broader reach than the Sherman Act. See Plaintiffs’ Opposition to Amazon’s Motion

to Dismiss, Dkt. #149 at 18-20. The scope of claims advanced here thus increases the breadth of

issues to be decided beyond those normally at issue in an antitrust case, and further supports

streamlining an already complex trial.

       In addition, bifurcation will simplify the proceedings on remedies and save the Court and

the Parties significant time and resources by enabling the Parties to tailor presentations on remedies

to the Court’s liability findings. (See § I above.) For example, the Court’s findings regarding how

each strain of Amazon’s anticompetitive conduct amplifies the effects of every other

anticompetitive behavior it has engaged in will impact what equitable relief may be necessary to

“unfetter [the] market[s] from anticompetitive conduct.” Microsoft, 253 F.3d at 103 (quoting Ford

Motor Co., 405 U.S. at 577).

       For the reasons explained above, adoption of Plaintiffs’ bifurcation proposal would make

the proceedings more convenient for the Parties and the Court and promote judicial economy.

III.   AMAZON’S ARGUMENTS AGAINST BIFURCATION HIGHLIGHT THE NEED

       FOR BIFURCATION.

       Amazon claims that bifurcation will result in “massive duplication” because determining

liability requires “pressure testing . . . what the remedy would be” and that bifurcation would



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therefore require some witnesses to testify during both phases. (February 8, 2024 Scheduling

Conference Tr. at 9:23-10:11; id. at 11:24-12:3.) Amazon’s arguments are not persuasive; in fact,

they show why bifurcation would be useful and appropriate.

       Amazon’s argument against bifurcation confuses the remedy phase of an antitrust case with

the much narrower question that may be relevant within the liability analysis of whether

“substantially less restrictive means exist to achieve any proven procompetitive benefits.” NCAA

v. Alston, 594 U.S. 69, 100 (2021). (See, e.g., Scheduling Conference Tr. at 10:5-11 (“[I]f you’re

attacking something that, in their words, goes to the core of our operations, which we deem to be

exceptionally pro-customer, we have to talk about what is it they think should be different, and

we’re going to have to talk about that in the liability phase. So we’re going to end up in a situation

where there’s just a lot of repetition, if there’s a separate remedy phase.”).) At the liability phase,

the Court may need to probe alternative conduct Amazon could have engaged in if—and only if—

Amazon proves that its anticompetitive conduct also has cognizable procompetitive benefits. But

the “less restrictive alternatives” issue is very different and much more circumscribed than

deciding appropriate remedies after liability is established. The purpose of the “less restrictive

alternative” inquiry at the liability phase is to determine whether a restraint with anticompetitive

effects is unreasonably broad—that is, broader than necessary to achieve its purported

procompetitive justification. See Alston, 594 U.S. at 100-01. This is a fundamentally different

inquiry than the one the court must engage in to fashion an appropriate equitable remedy, where

its task is to “cure the ill effects of the illegal conduct, and assure the public freedom from its

continuance.” United States v. U.S. Gypsum Co., 340 U.S. 76, 88 (1950); see also United States v.

Grinnell Corp., 384 U.S. 563, 577 (1966) (“[A]dequate relief in a monopolization case should put

an end to the combination and deprive the defendants of any of the benefits of the illegal conduct,

and break up or render impotent the monopoly power found to be in violation of the Act.”).



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Amazon’s improper conflation of these issues helps to show why bifurcation is needed. See Hirst

v. Gertzen, 676 F.2d 1252, 1261 (9th Cir. 1982) (upholding bifurcation in part because “certain

evidence relevant [to the second proceeding] might [have] tend[ed] to obscure the more

fundamental question [in the first proceeding]”).

       Amazon’s contention that bifurcation would require presenting the same evidence twice is

without merit. The remedies phase may not require additional witness testimony. See, e.g., United

States v. Am. Express Co., No. 1:10-cv-04496 (E.D.N.Y. Feb. 19, 2015), Dkt. #620 (ordering,

following bench trial resulting in liability for antitrust violations, that each party submit proposed

remedial orders within thirty days “consistent with the analysis” in court’s findings of fact and

conclusions of law and accompanied by “a supporting memorandum explaining why the court

should adopt its proposed remedy”). To the extent there is evidence relevant to both phases,

bifurcation will not result in “massive duplication.” Because the Court is acting as the factfinder,

it can rely on evidence submitted at the liability bench trial during the remedies phase without

repetition of testimony. See, e.g., New York v. Microsoft Corp., 224 F. Supp. 2d 76, 98 (D.D.C.

2002) (concluding that “the district court’s factual findings . . . may be relied upon during the

remedy phase of this proceeding” as “it would make little sense to proceed to craft a remedy in the

absence of substantial reliance upon the factual foundation which underlies the liability entered in

this case”); Yanni v. City of Seattle, 2005 WL 2180011, at *2 (W.D. Wash. Sept. 9, 2005) (granting

motion for bifurcation over defendants’ objections concerning “duplicative” testimony because

the factfinder can “consider testimony from the first phase in [its] deliberations in the second

phase”); Gaekwar v. Amica Mut. Ins. Co., 2024 WL 85089, at *2 (W.D. Wash. Jan. 8, 2024)

(granting bifurcation motion and noting that “trying the case before a single [factfinder] in two

phases will minimize the need for any evidence and witnesses to be presented twice, thereby

undermining [the] argument that bifurcat[ion] will lengthen and increase the cost of trial”).



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       If, however, the Court finds that it would be helpful to hear further testimony during the

remedies phase, including from a witness who appeared during the liability phase, the Court can

impose limits on the scope of testimony to avoid repetition. See, e.g., Navellier v. Sletten, 262 F.3d

923, 941 (9th Cir. 2001) (recognizing that “[t]rial courts have broad authority” to manage trials

and “challenges to trial court management” are reviewed for “abuse of discretion”); Kraft Foods

Glob., Inc. v. United Egg Producers, Inc., No. 1:11-cv-8808 (N.D. Ill. Nov. 27, 2023), Dkt. #587

(order limiting evidence parties may present during bifurcated damages phase to avoid duplication

of evidence received during liability phase). Some overlap in evidence, moreover, is not a barrier

to bifurcation because the Court’s dual role will ensure that Amazon is not prejudiced. See F & G

Scrolling Mouse, L.L.C. v. IBM Corp., 190 F.R.D. 385, 388 & n.5 (M.D.N.C. 1999) (“[A] mere

minor overlap of evidence between the liability phase and the damage phase has not prevented

courts from ordering an otherwise justified bifurcation.”) (collecting cases); Greening v. B.F.

Goodrich Co., 1993 WL 134781, at *3 (N.D. Ill. Apr. 23, 1993) (“Any minimal overlap of

evidence on these issues is outweighed by the potential for judicial economy through bifurcation .

. . .”). Amazon’s concerns that bifurcation would lead to “massive duplication” are therefore

unfounded.

       While a non-bifurcated proceeding may obviate the need for any witness to testify twice,

the time each witness spends on the stand during that single proceeding will likely run much longer

than the time they would spend testifying across two bifurcated proceedings. Absent bifurcation,

such trial witnesses will need to testify not only about complex issues relevant to liability, but also

about a range of potential remedies covering a constellation of conceivable liability findings.

Conducting a single proceeding to avoid “duplication” of testimony—an objective also readily

achievable through bifurcation—is not more economical or convenient if doing so sacrifices

efficiency and makes an already complex case even more complicated.



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                                         CONCLUSION

       Plaintiffs respectfully submit that the Court should grant this motion and bifurcate the

proceedings into liability and remedies phases in accordance with Plaintiffs’ proposed order. To

the extent the Court is not inclined to order bifurcated proceedings at this time, Plaintiffs

respectfully request the Court defer resolution of this motion until this case is closer to trial. At

present, the Parties agree that fact discovery should encompass both liability and remedy issues,

which alleviates the need for an immediate decision on bifurcation.




Dated: February 29, 2024
                                      I certify that this memorandum contains
                                      3,704 words, in compliance with the Local Civil Rules.

                                      Respectfully submitted,

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                                                           THE HONORABLE JOHN H. CHUN




                             UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE


 FEDERAL TRADE COMMISSION, et al.,
                                                         CASE NO.: 2:23-cv-01495-JHC
                   Plaintiffs,
                                                         [PROPOSED] BIFURCATION
                                                         ORDER
              v.

 AMAZON.COM, INC., a corporation,

                   Defendant.



       Plaintiffs have moved to bifurcate the proceedings to conduct separate proceedings on

liability and, if necessary, remedy.

       Rule 42(b) of the Federal Rules of Civil Procedure authorizes a court to conduct separate

proceedings on separate issues “[f]or convenience, to avoid prejudice, or to expedite and

economize.” Having duly considered Plaintiffs’ motion and Amazon’s opposition, the Court

finds that holding separate proceedings on liability and remedies will be more convenient for the

Court and the Parties and will expedite and economize this litigation.

       IT IS THEREFORE ORDERED:

       1.      The bench trial identified in the Case Scheduling Order (Dkt. #159) will address

               only Amazon’s liability under the FTC Act, Sherman Act, and the state laws

               implicated by Plaintiffs’ Complaint.



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       2.     If the Court renders a decision finding Amazon liable, the Court will schedule a

              conference to address how to proceed on remedies.

       3.     Nothing in this Order shall (a) alter the Parties’ respective abilities to offer

              evidence relevant to Amazon’s liability at trial nor alter the burden of proof,

              persuasion, or production to establish each and every element of liability,

              justifications, or defenses, or (b) limit the scope of fact discovery in this case.



Dated this ___ day of _______, 2024



                                                      THE HONORABLE JOHN H. CHUN
                                                      UNITED STATES DISTRICT JUDGE




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA




       FEDERAL TRADE COMMISSION
            600 Pennsylvania Avenue, N.W.
            Washington, D.C. 20580

                                      Plaintiff,              Civil Action No. 08-cv-2141-RBS

               V.

       CEPHALON, INC.
            41 Moores Road
            Frazer, Pennsylvania 19355

                                      Defendant.




                      Fed. R. Civ. P. 26(f)(2) REPORT TO THE COURT

       Plaintiff Federal Trade Commission and Defendant Cephalon, Inc. respectfully submit

this joint report pursuant to Rule 26(f)(2) of the Federal Rules of Civil Procedure. This joint

report also incorporates topics identified in LcvR 16.1(b), Rules of the United States District

Court for the Eastern District of Pennsylvania, and in this Court's Policies and Procedures

Relating to Pretrial Procedure in Civil Cases.

                                         BACKGROUND

                                 Plaintiff s Preliminary Statement

       The Federal Trade Commission ("FTC") filed Civil Action No. 08-cv-00244 (JDB) in the

U.S. District Court of the District of Columbia on February 13, 2008, alleging that a course of

conduct by Defendant Cephalon to restrain trade in the sale of generic versions of Provigil



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violates Section 5(a) of the Federal Trade Commission Act, 15 U.S.C. § 45(a). The FTC seeks a

pennanent injunction and other equitable relief. On May 8, 2008, that court transferred this case

to the U.S. District Court for the Eastern District of Pennsylvania. The FTC's general position is

that prompt resolution of this enforcement action is essential to accomplish the objective of

providing consumers access to lower-cost generic drug competition. Any delay in the schedule

impairs the FTC's efforts to obtain effective equitable relief, to the detriment of consumers. The

FTC, therefore, opposes any stay in discovery pending resolution of the Defendant's motion to

dismiss.

                                Defendant's Preliminary Statement

       On May 2, 2008, Defendant filed a motion to dismiss on grounds that largely parallel the

pending motions to dismiss the complaints filed by Direct Purchasers, End-Payors, and Apotex,

Inc. (the "private party actions"), which raise similar claims against Cephalon in regard to the

patent settlements at issue. While Defendant responds to each of the individual items set out

below, Defendant's general position is identical to the position it took in the Rule 26(f) reports

filed in the private party actions: considerations of efficiency and judicial economy dictate that

all discovery should be deferred in this case pending resolution of the motions to dismiss and a

conference with the Court following its decision. If any claims survive those motions, the Court

should then address the extent to which coordination of discovery, protective orders, and related

issues is appropriate, as well as the scope and timing of discovery.

        Pursuant to Rules 16 and 26(f) of the Federal Rules of Civil Procedure, the parties

conferred on April 28, 2008 to discuss the following matters:




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1.       Motions

         Plaintiff advises the Court that the parties agreed to the following schedule in a

stipulation approved by the District Court for the District of Columbia on February 22, 2008:

         -Defendant's motion to dismiss (filed)                                May 2, 2008

         -Plaintiff's response to motion to dismiss (if any)                   June 2, 2008

         -Defendant's reply (if any)                                           June 20, 2008

2.       Initial Disclosures

         The parties do not agree with respect to initial disclosures.

         Plaintiff submitted initial disclosures pursuant to Rule 26(a)(1)(C), Fed. R. Civ. P.

         Defendant proposes, as noted above, that initial disclosures should be deferred pending a

conference with the Court following its decision on Cephalon's motion to dismiss, and be served

four weeks thereafter.

3.       Scope of Discovery

         (a)     Timing of Discovery

         The parties do not agree on the timing of discovery.

         Plaintiff proposes that, except for requests for admissions, including requests for

admissions for the authentication and admissibility of exhibits and requests for admissions, fact

discovery should be completed by December 19, 2008.

         Defendant proposes that discovery should be deferred pending a conference with the

Court following its ruling on the motion to dismiss, and that it should end at least 12 months

from the date thereof.




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       The parties agree that they shall serve subpoenas and discovery requests sufficiently in

advance of the discovery completion date that all responses or objections will be due on or before

that date, except as provided in Rule 29(a) of the Federal Rules of Civil Procedure.

       (b)     Phased Discovery

       The parties agree that discovery should not be managed in phases. However, as noted

above, Defendant's position is that all discovery should be deferred pending a conference with

the Court following its ruling on the motions to dismiss.

        (c)    Limitations on Interrogatories

       The parties do not agree on limitations to interrogatories.

       Plaintiff proposes no modification to the limits on interrogatories set forth in Rule 33(a)

of the Federal Rules of Civil Procedure. Defendant believes any consideration of this question is

premature, as noted above.

       (d)     Other Written Discovery

       The parties do not agree on the limitations to other written discovery.

       Plaintiff proposes that there be no limitations on the number of requests for the

production of documents pursuant to Rule 34, Fed. R. Civ. P., or on the number of requests for

admission pursuant to Rule 36, Fed. R. Civ. P. Defendant believes any consideration of this

question is premature, as noted above.

        Each party reserves the right to seek a protective order pursuant to Rule 26(c), Fed. R.

Civ. P., with respect to the total number of requests for the production of documents or requests

for admission, as well as any objections to specific discovery requests.




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       (e)     Limitations on Depositions

       The parties do not agree on limitations on depositions.

       Plaintiff proposes that Plaintiff and Defendant each be permitted to take the depositions

of the parties, the fact witnesses named on the opposing party's witness list, and no more than 20

other witnesses. Plaintiff further proposes that the parties abide by the presumption expressed in

Rule 30(d), Fed. R. Civ. P, that a deposition's duration be limited to one day of seven hours, but

reserves the right to seek more time for certain witnesses. Defendant believes any consideration

of this question is premature, as noted above.

       Plaintiff proposes to exchange proposed fact witness lists on August 18, 2008 and revised

proposed fact witness lists on November 3, 2008. Defendant believes any consideration of this

question is premature, as noted above. Defendant further respectfully submits that exchange of a

"fact witness" list, as opposed to an identification of persons with first-hand knowledge as called

for in Rule 26(a)(1)(A)(1), Fed. R. Civ. P., is not required under the discovery rules.

       The parties reserve the right to seek protective orders consistent with the provisions of the

final case management order.

       The parties agree that expert depositions are not subject to the provisions and limitations

of this subparagraph.

        M       Protective Order

        The parties agree that a protective order is necessary to safeguard confidential

information concerning Defendant's and third parties' business information.

        Plaintiff is prepared to negotiate a protective order at this time.




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         Defendant believes that any consideration of protective orders should be deferred pending

a conference with the Court following its ruling on the motions to dismiss, and at that time, the

Court should consider a common protective order governing this case and the private party

actions, with the specifics to be worked out at that time.

         (g)    Electronically Stored Information

         The parties agree to address issues concerning electronically stored information consistent

with Rules 26 and 34, Fed. R. Civ. P.

4.       Experts

         Subject to the following paragraphs, the parties propose no modification of the

requirements of Rule 26(a), Fed. R. Civ. P.

         (a)       Expert Disclosures

         The parties do not agree on the schedule for expert disclosures.

         Plaintiff proposes that the parties shall disclose the identity of expert witnesses other than

rebuttal experts as required by Rule 26(a)(2)(A), Fed. R. Civ. P., by November 19, 2008.

         Defendant proposes that the disclosure via an initial expert report be provided four weeks

from the end of fact discovery.

         (b)       Expert Reports

         The parties do not agree on the schedule for expert reports.

         Plaintiff proposes that the parties shall exchange the expert reports required by Rule

26(a)(2)(B), Fed. R. Civ. P., by January 23, 2009.

         Defendant proposes that the parties shall exchange the expert reports nine weeks after the

date on which the expert disclosures are provided.


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         (c)      Expert Rebuttal Reports

         The parties do not agree on the schedule for expert rebuttal reports.

         Plaintiff proposes that the parties shall exchange expert rebuttal reports by February 20,

2009.

         Defendant proposes that the parties shall exchange the expert rebuttal reports nine weeks

after the date on which expert reports are provided.

         (d)      Expert Depositions

         The parties do not agree on the schedule for expert depositions.

         Plaintiff proposes that expert depositions shall be completed by March 13, 2009.

         Defendant proposes that expert depositions shall be completed 28 weeks from the end of

fact discovery.

5.       Settlement

         The parties do not believe that there is a possibility of settlement at this time.

6.       Summary Judgrnen

         The parties do not agree on a schedule for summary judgment.

         Plaintiff proposes that summary judgment motions be filed no later than April 3, 2009.

         Defendant proposes that summary judgment motions be filed four weeks from the close

of expert discovery.

         Plaintiff further proposes that a response to any dispositive motions be filed within 30

days of the service of the motion and that the moving party shall have 15 days after service of the

response to file a reply brief.




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         Defendant further proposes that a response to any dispositive motions be filed within six

weeks of the service of the motion and that the moving party shall have four weeks after service

of the response to file a reply brief.

7.       Pretrial Conference

         The parties do not agree on the schedule for a pretrial conference.

         Plaintiff proposes that the Court schedule a pretrial conference for June 15, 2009.

         Defendant proposes that the date be determined by the Court based on the trial date.

8.       Trial Date

         The parties do not agree on a date for trial.

         Plaintiff proposes that the Court set a trial date beginning July 6, 2009.

         Defendant feels it is premature to set a trial date for the case, for the reasons noted above.

9.       Jurisdictional Defects, If Any

         The parties do not anticipate that issues concerning jurisdictional defects will arise in this

matter, but reserve the right to raise the issue pursuant to the Federal Rules of Civil Procedure.

10.      Service

         The parties do not anticipate that issues concerning service will arise in this matter, but

reserve the right to raise the issue pursuant to the Federal Rules of Civil Procedure.

11.      Joinder of Parties and Amendment of Pleadings

         The parties do not agree with respect to joinder of parties and amendment of pleadings.

         Plaintiff does not anticipate that additional parties need to be joined or that amendments

to the complaint are necessary, but reserves the right to amend the complaint pursuant to Rule 15,

Fed. R. Civ. P.


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       Defendant believes that it is too early to determine whether additional parties need to be

joined or if amendments to the complaint are necessary.

12.    Information Not Subject to Discovery

      (a)     The Plaintiff proposes that the following types of information relating to experts

shall not be the subject of discovery: (1) the content of communications among and between: (i)

counsel and expert witnesses; (ii) expert witnesses and other expert witnesses or consultants; (iii)

and/or expert witnesses and their respective staffs, and (2) notes, drafts, written communications

or other types of preliminary work created by, or for, expert witnesses. Plaintiff further proposes

that the protections against discovery contained in this section will not apply to any

communications or documents upon which an expert specifically relies as a basis for any of his

or her opinions or reports.

        Defendant believes that any consideration of the scope of discovery is premature and that

the issue should be addressed at a conference with the Court following its ruling on the motions

to dismiss. At that time, Defendant believes issues related to the scope of discovery should be

coordinated with the private party actions.

        (b)     The parties agree that the following types of post-complaint information relating

to this matter shall not be the subject of discovery and need not be retained: (1) e-mail, notes,

drafts, communications, memoranda or other work product produced by or exchanged among and

between: (i) Plaintiff's attorneys, management, and staff; (ii) Defendant's outside counsel and

their staff; and (iii) Defendant's outside counsel and Defendant's in-house counsel.




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13.     Magistrate Jurisdiction

        The parties do not consent to the jurisdiction of a United States Magistrate Judge

pursuant to 28 U.S.C. § 636(c) (2000).

14.     Other Supplemental Proposals

        (a)      Because of delays in the delivery of first class mail due to government screening

procedures, the parties stipulate that correspondence between counsel shall be conducted by e-

mail, with a courtesy copy delivered, upon request, by hand delivery or overnight mail. This

stipulation, however, does not apply to service of Court filings, which is governed by the

requirements set forth in LcvR 5.1.2.

        (b)      Plaintiff proposes that pleadings delivered to counsel via the Electronic Case

Filing System after 5:00 pm, on a weekend, or on a federal holiday shall be deemed served on the

party the next business day for purposes of calculating the due date for any responsive pleading.

        Defendant believes that any departure from the Local Rules of Civil Procedure and the

Court's customary procedures with respect to electronic case filing, including any modification

of the time and date provision set forth in LcvR 5.1.2(5)(b), is unwarranted.

        (c)      Plaintiff proposes that each party shall produce all third party discovery to

opposing counsel within ten (10) business days of receipt, absent good cause.

        Defendant believes that any stipulation regarding third-party discovery is premature and

that the issue should be addressed at a conference with the Court following its ruling on the

motions to dismiss and in conjunction with consideration of coordination of discovery with

related cases.




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        Plaintiff and Defendant have each submitted the following proposed scheduling orders

reflecting their alternative positions.

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                           PLAINTIFF Federal Trade Commission's
                          Proposed Schedule in FTC v. Cephalon, Inc.


Answer or Other Response
to Complaint                         05/02/08

        Opposition, if any           06/02/08

        Reply, if any                06/20/08

Start of Fact Discovery              05/20/08

Exchange Preliminary
Witness List                         08/18/08

Exchange Revised                     11/03/08
Witness List

Exchange Expert Disclosures          11/19/08

Close of Fact Discovery              12/19/08

Exchange Expert Reports              01/23/09

Exchange Expert Rebuttal             02/20/09
Reports

Close Expert Depositions             03/13/09

Dispositive Motions                  04/03/09

        Opposition                   05/04/09

        Reply                        05/19/09

Pretrial Conference                  06/15/09

Trial                                07/06/09




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                              DEFENDANT Cephalon, Inc.'s
                         Proposed Schedule in FTC v. Cephalon, Inc.

May 2, 2008                                  Cephalon's Motion to Dismiss Filed.

June 2, 2008                                 Opposition, if any.

June 20, 2008                                Reply, if any.

Conference following Decision on             Fact discovery begins. Discovery
Motions to Dismiss ("Conference")            requests may be served.

4 weeks from Conference                      26(a)(1) disclosures due.

12 months (at least) from Conference         Completion of fact discovery.

4 weeks from the end of fact                 Plaintiff's initial expert reports due.
discovery

       - 6 weeks thereafter                  Depositions of Plaintiff's experts.

       - 3 weeks thereafter                  Defendant's initial expert reports due.

       - 6 weeks thereafter                  Deposition of Defendant's experts.

       - 3 weeks thereafter                  Plaintiff's expert rebuttal reports due.

       - 6 weeks thereafter                  Depositions of Plaintiff's experts on rebuttal
                                             reports.

4 weeks from the close of expert             Dispositive motions due.
discovery

       - 6 weeks thereafter                  Oppositions to dispositive motions due.

       - 4 weeks thereafter                  Replies to dispositive motions due.

Remaining pre-trial dates to be determined by Court depending on trial date.




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                                             Respectfully submitted,
Dated: May 12, 2008

                                             Markus H. Meier
                                             Bradley S. Albert
                                             Saralisa C. Brau
                                             FEDERAL TRADE COMMISSION
                                             600 Pennsylvania Avenue, N.W.
                                             Washington, D.C. 20580
                                             Telephone: (202) 326-3759
                                             Facsimile: (202) 326-3384
                                             mmeier a,ftc.gov

                                             Counsel for Plaintiff
                                             Federal Trade Commission

Dated: May 12, 2008

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                                             Michael N. Onufrak
                                             David E. Edwards
                                             WHITE AND WILLIAMS LLP
                                             1800 One Liberty Place
                                             Philadelphia, PA 19103-7395
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                                             creagand a,whiteandwilliams.com

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                                             Boston, MA 02109
                                             Telephone: (617) 526-6000
                                             Facsimile: (617) 526-5000
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                                             Counsel for Defendant
                                             Cephalon, Inc.


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                         THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FEDERAL TRADE COMMISSION
  600 Pennsylvania Avenue, N.W.
  Washington, D.C. 20508

                         Plaintiff,

            V.                                        Civil Action No. 08-cv-2141 (RBS)

CEPHALON, INC.
  41 Moores Road
  Frazer, Pennsylvania 19355

                          Defendant.


                                CERTIFICATE OF SERVICE

       I, David J. Creagan, hereby certify that on May 12, 2008, the foregoing Fed. R. Civ. P.

26(f)(2) Report to the Court was filed electronically and served via electronic mail on the following

counsel, and is available for viewing and downloading on the ECF System.




Markus H. Meier, Esquire                          James C. Burling, Esquire
FEDERAL TRADE COMMISSION                          WILMER CUTLER PICKERING
600 Pennsylvania Avenue, N.W.                       HALE AND DORR LLP
Washington, D.C. 20580                            60 State Street
        , c.gov
mmeiergft                                         Boston, MA 02109
                                                  james.burlinggwilmerhale.com
Counsel for Plaintiff
Federal Trade Commission                           Counsel for Defendant
                                                   Cephalon, Inc.



                                                     BY:
                                                             David J. Creai an
                                                             creagandgwh t^andwilliams.com




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                                   8                                 UNITED STATES DISTRICT COURT
                                   9                                NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                             SAN JOSE DIVISION
                                  11

                                  12    FEDERAL TRADE COMMISSION,                           Case No. 17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                           CASE MANAGEMENT ORDER
                                  14            v.

                                  15    QUALCOMM INCORPORATED,
                                  16                   Defendant.

                                  17
                                       Plaintiff’s Attorneys: Jennifer Milici, Joseph Baker
                                  18   Defendant’s Attorneys: Gary Andrew Bornstein, Nicole Peles, Yonatan Even, Geoffrey Holtz,
                                  19   Richard Taffet

                                  20         An initial case management conference was held on April 19, 2017. A further case
                                       management conference is set for July 19, 2017, at 2:00 p.m. The parties shall file their joint case
                                  21   management statement by July 12, 2017.
                                  22           The parties shall serve on named parties no more than 20 interrogatories. The discovery
                                       limitations in the Federal Rules of Civil Procedure otherwise govern this case.
                                  23

                                  24          Judge Nathanael Cousins shall be the discovery judge for both this case and the consumer
                                       Multi-District Litigation.
                                  25
                                               Qualcomm shall respond by April 21, 2017 to the FTC’s April 6, 217 draft Protective
                                  26   Order. The parties shall file a stipulated protective order for Judge Cousins’s signature, or a
                                  27   protective order dispute, by April 27, 2017.
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                                              The Court set the following case schedule:
                                   3
                                        Scheduled Event                                        Date
                                   4
                                        Deadline to File Protective Order                      April 27, 2017
                                   5    Plaintiff’s Opposition to Defendant’s Motion to        May 12, 2017
                                   6    Dismiss
                                        Defendant’s Reply in Support of Motion to Dismiss      June 2, 2017
                                   7
                                        Motion to Dismiss Hearing                              June 15, 2017, at 1:30 p.m.
                                   8
                                        Further CMC                                            July 19, 2017, at 2:00 p.m.
                                   9    Close of Fact Discovery                                March 30, 2018
                                  10    Plaintiff’s Opening Expert Reports                     April 20, 2018
                                  11    Defendant’s Expert Reports                             May 25, 2018

                                  12    Plaintiff’s Rebuttal Expert Reports                    June 22, 2018
Northern District of California
 United States District Court




                                        Close of Expert Discovery                              July 20, 2018
                                  13
                                        Last Day to File Dispositive Motions and Daubert       August 10, 2018
                                  14    Motions
                                        (one per side in the entire case)
                                  15
                                        Summary Judgment and Daubert Oppositions               September 10, 2018
                                  16
                                        Summary Judgement and Daubert Replies                  September 28, 2018
                                  17    Hearing on Dispositive Motions                         October 18, 2018, at 1:30 p.m.
                                  18    Final Pretrial Conference                              December 13, 2018, at 1:30 p.m.
                                  19    Bench Trial                                            January 4, 2019, at 9:00 a.m.

                                  20    Length of Trial                                        8 days

                                  21
                                       IT IS SO ORDERED.
                                  22

                                  23
                                       Dated: April 19, 2017
                                  24
                                                                                      ______________________________________
                                  25
                                                                                      LUCY H. KOH
                                  26                                                  United States District Judge

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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION,

         Plaintiff,
                 v.                                          Civil Action No. 19-1080 (JDB)
 SURESCRIPTS, LLC,

         Defendant.


                                     SCHEDULING ORDER

       Upon consideration of the parties’ respective scheduling proposals, and in accordance with

Rule 16.3 of the Local Civil Rules, it is hereby ORDERED:

1. Dispositive Motions

       The Court notes that no dispositive motions are currently pending. Defendant consents to

personal jurisdiction and venue in this Court. Parties shall file motions for summary judgment

following the conclusion of discovery. See ¶ 6, infra.

2. Joinder of Parties, Amendment of Pleadings, and Narrowing of the Issues

       The parties may join any additional parties and make any amendments to the pleadings by

not later than May 29, 2020. Thereafter, the parties may seek to amend the pleadings by motion

pursuant to Fed. R. Civ. P. 15.

3. Agreement to Assign to Magistrate Judge

       The parties do not request assignment to a magistrate judge for all purposes, and the Court

concludes that such an assignment for any purpose is not necessary in this case.

4. Possibility of Settlement

       The parties do not believe that there is a realistic possibility of settlement at this time.


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5. Alternative Dispute Resolution

         The parties have considered the possibility of using alternative dispute resolution

procedures but do not believe that the case would benefit from such procedures at this time.

6. Summary Judgment

         Motions for summary judgment may be filed after the conclusion of discovery.

7. Initial Disclosures

         The parties do not stipulate to dispensing with initial disclosures required by Rule 26(a)(1).

The parties do not propose any changes to the scope or form of the initial disclosures.

8. Case Schedule and Scope of Discovery

         The case schedule shall proceed as follows:

 Event                                                 Date

 Defendant’s Answer to Plaintiff’s Complaint           2/10/2020
 Service of Initial Disclosures                        2/12/2020
 Discovery Commences                                   3/2/2020
 Status Conference                                     6/16/2020 at 9:30 a.m.
 Substantial Completion of Document                    11/23/2020
 Production
 Close of Fact Discovery                               1/20/2021
 Plaintiff Serves Initial Expert Report(s)             3/22/2021
 Defendant Serves Expert Report(s)                     5/21/2021
 Plaintiff Serves Rebuttal Expert Report(s)            6/21/2021
 Close of Expert Discovery                             8/20/2021
 Summary Judgment Motions Filed                        10/22/2021
 Oppositions to Summary Judgment Motions               11/22/2021
 Filed
 Replies in Support of Summary Judgment                12/13/2021
 Filed
 Submission of Proposed Pretrial Order                 45 Days After the Court’s Order Resolving
                                                       Motions for Summary Judgment




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       (a) Timing of Discovery

       Full discovery will commence on March 2, 2020, and proceed according to the schedule

outlined above. The parties are ordered to use reasonable best efforts to cooperate with each other

and other parties in In re Surescripts Antitrust Litig., No. 19-cv-6627 (JJT) (N.D. Ill.), to reduce

discovery burdens.

       The parties shall serve subpoenas and discovery requests sufficiently in advance of the

discovery completion date such that all responses or objections will be due on or before that date.

The close of fact discovery shall not preclude requests for admission regarding the authentication

and admissibility of exhibits.

       (b) Limitations on Interrogatories

       The parties shall serve no more than twenty-five (25) interrogatories, including all discrete

subparts.

       (c) Other Written Discovery

       There shall be no limitations on the number of requests for the production of documents

pursuant to Fed. R. Civ. P. 34, or on the number of requests for admission pursuant to Fed. R. Civ.

P. 36. Each party may seek a protective order pursuant to Fed. R. Civ. P. 26(c), with respect to

specific requests for the production of documents or requests for admission as well as any

objections to specific discovery requests.

       In response to any Rule 34 request for data or data compilations, the parties shall meet and

confer in good faith.

       In response to any document requests, the parties need not produce to each other any

documents previously produced by defendant to the FTC in the course of the investigation (FTC

File No. 141-0210).



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        (d) Limitations on Depositions

        Each party may take up to 30 depositions of fact witnesses. Depositions taken for the sole

purpose of establishing the location, authenticity, or admissibility of documents produced by any

party or non-party do not count toward the limit on depositions. These depositions must be

designated as such at the time that the deposition is noticed and will be noticed only after the party

taking the deposition has taken reasonable steps to establish location, authenticity, or admissibility

through other means.

        Depositions taken during the Commission’s pre-complaint investigation do not count

toward the number of depositions allowed by this Order. Either party may further depose witnesses

whose depositions were taken during the investigation.

        All depositions shall last no more than seven (7) hours.

        During nonparty depositions, the non-noticing side may examine the witness for no more

than two hours of the seven-hour examination time. If the nonparty deposition is noticed by both

parties, then time will be divided equally (i.e., three and one-half hours for each side), and the

deposition shall count as one deposition for each noticing party. Any time allotted to one side not

used by that side in a nonparty deposition may be used by the other side up to the seven-hour limit

in total.

        The parties may seek leave of Court to extend the duration of depositions beyond seven (7)

hours for good cause.

        Expert depositions are not subject to the provisions and limitations of this subparagraph.

        (e) Protective Order

        The parties agree that a protective order is necessary to safeguard confidential information

concerning defendant’s and nonparties’ business information. The parties have negotiated a



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protective order and agree on all of the terms, except as to accessibility of Confidential and Highly

Confidential Material to Surescripts’s in-house counsel. The Court adopts the FTC’s proposal

with respect to the access of Surescripts’s in-house counsel to confidential and highly confidential

information. The parties are directed to submit a revised proposed protective order incorporating

this provision and reflecting the other matters discussed during the February 27, 2020 status

conference.

9. Electronically Stored Information

       The parties have not identified any issues at this time with respect to electronically stored

information (“ESI”) and agree as follows regarding the preservation and production of ESI.

       The parties have established litigation holds to preserve ESI that may be relevant to the

expected claims and defenses in this case. In addition, the parties have taken steps to ensure that

automatic deletion systems will not destroy any potentially relevant information.

       The use of Technology Assisted Review tools may assist in the efficient production of ESI.

However, if a party desires to use such technologies, it shall meet and confer with the other side

and negotiate in good faith on the reasonable use of such technology.

       The parties will request ESI in the form or forms that facilitate efficient review of ESI. In

general, the parties will produce ESI according to the same ESI technical specifications used by

defendants in the FTC’s pre-complaint investigation, with the exception of Instruction 4(a)(vi),

which calls for production of “redacted documents in PDF format accompanied by OCR with the

metadata and information required by relevant document type in subparts (a)(i) through (a)(v)

above.”   The parties may produce redacted documents in image format or native format,

accompanied by OCR with the metadata and information required by relevant document type in

subparts (a)(i) through (a)(v) of the Instructions.      The parties shall include an “Alternate



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Custodian” or “All Custodians” field (or the equivalent) in the metadata associated with documents

they produce. The parties may seek additional modifications to the ESI specifications used in the

FTC’s investigation.

10. Privilege and Work-Product Protection

       If information subject to a claim of attorney-client privilege, work-product immunity, or

any other applicable privilege or immunity is produced inadvertently, the parties shall comply with

Fed. R. Evid. 502(b) and Fed. R. Civ. P. 26(b)(5)(B). The parties are encouraged to negotiate a

procedure to assert these claims after inadvertent production and, if agreement is reached, to

include such a provision in the Protective Order.

       The parties shall neither request nor seek to compel the production of any interview notes,

interview memoranda, or recitation of information contained in such notes or memoranda, except

as specified in the forthcoming Protective Order. Nothing in this Order requires the production of

any party’s attorney work product, confidential attorney-client communications, communications

with or information provided to any potentially or actually retained expert (except to the extent

that such communications are relied upon by the expert in formulating an opinion in this case), or

materials subject to the deliberative-process or any other governmental privilege.

       The parties shall abide by the following guidelines concerning the preparation of privilege

logs: a general description of the litigation underlying attorney work-product claims is permitted;

identification of the name and the company affiliation for each non-defendant person is sufficient

identification; and there is no requirement to identify the discovery request to which each privilege

document was responsive.

       The following privileged or otherwise protected communications may be excluded from

privilege logs:



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       (a) any documents or communications sent solely among outside counsel for the defendant

       or persons employed or retained by such counsel;

       (b) any documents or communications sent solely among counsel for the Federal Trade

       Commission or persons employed or retained by the Federal Trade Commission;

       (c) privileged documents attached to responsive documents, except that if privileged

       documents that are attached to responsive documents are withheld from production, the

       parties will insert a placeholder to indicate a document has been withheld from that family;

       (d) draft litigation filings not sent to third parties;

       (e) documents created after this litigation commenced (April 17, 2019) that were sent solely

       among Surescripts’s outside counsel and in-house counsel exclusively concerning this

       litigation.

11. Experts

       Subject to the following paragraphs, the parties will abide by the requirements of Fed. R.

Civ. P. 26(a)(2) and 26(b)(4).

       Because experts for both plaintiff and defendant will likely use significant amounts of data

in the preparation of their expert reports and their expert testimony, a party shall produce with any

initial or rebuttal expert report, subject to the requirements of the Stipulated Protective Order, (a)

a list of all commercially-available computer applications used in the preparation of the report; (b)

a copy of all data sets, in native file format, used or developed in the preparation of the report; (c)

a copy of any customized statistical software or other customized computer programs used by the

party’s expert in the course of preparing the report; (d) any processed data files developed in the

preparation of the report; (e) a description of how the programs and original data set(s) were

employed to create a final data set(s) if requested; and (f) a description of the purpose and format



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of each data file and program file with instructions on how replication can be conducted if

requested.

       Each party’s expert shall be deposed only once and for no more than seven (7) hours.

12. Pretrial Conference

       The final pretrial conference date will be set after resolution of the parties’ motions for

summary judgment.

13. Trial Date

       A trial date in this case will be set after resolution of the parties’ motions for summary

judgment.

14. Other

       (a) Witness Lists

       The parties are required to exchange final fact witness lists. A party’s final witness list

may include individuals not previously identified on (i) the Rule 26(a) initial disclosures or (ii)

Rule 26(e) supplemental disclosures that have been provided at least 30 days before the end of fact

discovery, so long as the opposing party is provided a reasonable opportunity to take the witness’s

deposition before the pretrial conference. The limitation on depositions shall not include

depositions of any person identified in the final trial witness list, who was not previously disclosed

in (i) or (ii) above and was not previously deposed.

       (b) Nationwide Service of Trial Subpoenas

       The parties may move the Court to allow nationwide service of process of trial subpoenas

pursuant to Fed. R. Civ. P. 45 and 15 U.S.C. § 23.

       (c) Pretrial Order and Exhibit Lists

       The parties shall negotiate the timing, method, and manner of the exchange of exhibit lists,



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deposition designations and objections (and counter-designations thereto), final trial witness lists,

motions in limine, and Daubert motions.

       (d) Service of Pleadings and Discovery on Nonparties

       Service of all pleadings and discovery, including Fed. R. Civ. P. 45 subpoenas for

testimony or documents, and delivery of all correspondence in this matter shall be made by email

or FTP to counsel of record for each party, except when the volume of attachments requires

overnight delivery of the attachments or personal delivery, in which case service shall be made to

the following individuals designated by the parties for each side noted below:

               For plaintiff Federal Trade Commission:

               Markus H. Meier
               Federal Trade Commission
               Bureau of Competition
               400 Seventh Street, S.W.
               Washington, DC 20024
               (202) 326-3759
               mmeier@ftc.gov

               David B. Schwartz
               Federal Trade Commission
               Bureau of Competition
               400 Seventh Street, S.W.
               Washington, DC 20024
               (202) 326-3748
               dschwartz1@ftc.gov

               For defendant Surescripts:

               Amanda P. Reeves
               Allyson M. Maltas
               LATHAM & WATKINS LLP
               555 Eleventh Street, NW, Suite 1000
               Washington, DC 20004-1304
               Telephone: (202) 637-2183
               Facsimile: (202) 637-2201
               Email: amanda.reeves@lw.com
               Email: allyson.maltas@lw.com



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                Alfred C. Pfeiffer, Jr.
                Elizabeth C. Gettinger
                LATHAM & WATKINS LLP
                505 Montgomery Street, Suite 2000
                San Francisco, CA 94111-6538
                Telephone: (415) 391-0600
                Facsimile: (415) 395-8095
                Email: al.pfeiffer@lw.com
                Email: elizabeth.gettinger@lw.com


        Each side shall copy and produce materials obtained in discovery, in the format they were

received from any nonparty, to the other side, within three business days after receipt by the side

initiating the discovery request; except that if a nonparty produces materials that are not Bates-

stamped, the party receiving the materials may Bates-stamp them before producing a copy to the

other party and shall produce the documents or electronically stored information in a reasonable

time.

        Service of materials too voluminous to be sent electronically (via email or FTP transfer)

shall be delivered to plaintiff:

                Markus H. Meier
                Federal Trade Commission
                Bureau of Competition
                400 Seventh Street, S.W.
                Washington, DC 20024
                (202) 326-3759
                mmeier@ftc.gov

                David B. Schwartz
                Federal Trade Commission
                Bureau of Competition
                400 Seventh Street, S.W.
                Washington, DC 20024
                (202) 326-3748
                dschwartz1@ftc.gov

        Service of materials too voluminous to be sent electronically (via email or FTP transfer)

shall be delivered to defendant:


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               Amanda P. Reeves
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               555 Eleventh Street, NW, Suite 1000
               Washington, DC 20004-1304
               Telephone: (202) 637-2183
               Facsimile: (202) 637-2201
               Email: amanda.reeves@lw.com
               Email: allyson.maltas@lw.com

               Alfred C. Pfeiffer, Jr.
               Elizabeth C. Gettinger
               LATHAM & WATKINS LLP
               505 Montgomery Street, Suite 2000
               San Francisco, CA 94111-6538
               Telephone: (415) 391-0600
               Facsimile: (415) 395-8095
               Email: al.pfeiffer@lw.com
               Email: elizabeth.gettinger@lw.com

       (e) Modification of Scheduling and Case Management Order

       Any party may seek modification of this Order for good cause, except that the parties may

also modify discovery and expert disclosure deadlines by agreement.

       (f) Miscellaneous

       As to all other discovery issues not addressed in this Scheduling Order, the parties must

comply with the limitations and requirements of the Federal Rules of Civil Procedure and the Local

Civil Rules of this Court. In the event that a discovery dispute arises, the parties shall make a good

faith effort to resolve or narrow the areas of disagreement. If the parties are unable to resolve the

discovery dispute, the parties shall jointly call chambers at (202) 354-3430 before filing a

discovery motion, at which time the Court will make a determination as to the manner in which it

will handle the discovery dispute.




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      A status conference in this matter is set for June 16, 2020, at 9:30 a.m. in Courtroom 30.

      SO ORDERED.

                                                                              /s/
                                                                       JOHN D. BATES
                                                                  United States District Judge
Dated: February 28, 2020




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                                                                   conclude on August 6. The pretrial order in this non-jury trial
                     2021 WL 76336                                 is due on October 20.
      Only the Westlaw citation is currently available.
       United States District Court, S.D. New York.                Shkreli is currently incarcerated at the Allenwood Low
                                                                   Security Federal Correctional Institution. He is due to be
    FEDERAL TRADE COMMISSION, State of New                         released from custody on September 14, 2023. 1
  York, State of California, State of Ohio, Commonwealth
     of Pennsylvania, State of Illinois, State of North            On November 25, 2020, Shkreli filed this motion to stay
   Carolina, and Commonwealth of Virginia, Plaintiffs,             discovery. The motion became fully submitted on December
                              v.                                   11.
  VYERA PHARMACEUTICALS, LLC, and Phoenixus
    AG, Martin Shkreli, individually, as an owner and
      former director of Phoenixus AG and a former                                           Discussion
      executive of Vyera Pharmaceuticals, LLC, and
                                                                   Shkreli moves to stay this litigation, and in particular further
      Kevin Mulleady, individually, as an owner and
                                                                   discovery, until he is released from prison. He asserts
      former director of Phoenixus AG and a former
                                                                   difficulty in communicating with his counsel to prepare his
  executive of Vyera Pharmaceuticals, LLC, Defendants.             defense to the claims in this litigation while incarcerated.
                       20cv00706 (DLC)
                                                                   “The power to stay proceedings is incidental to the power
                               |
                                                                   inherent in every court to control the disposition of the causes
                       Signed 01/08/2021
                                                                   on its docket with economy of time and effort for itself, for
                                                                   counsel, and for litigants.”      Louis Vuitton Malletier S.A.
              Memorandum Opinion and Order                         v. LY USA, Inc., 676 F.3d 83, 96 (2d Cir. 2012) (citation
                                                                   omitted). A district court has discretion to stay discovery for
DENISE COTE, District Judge:                                       “good cause” pursuant to Rule 26 of the Federal Rules of Civil
                                                                   Procedure. The party seeking the stay of discovery bears the
 *1 Defendant Martin Shkreli has moved to stay discovery           burden of demonstrating good cause.
until 2023, when he is due to be released from prison. Shkreli's
motion is denied.                                                  Shkreli has not shown “good cause” for a stay of this
                                                                   complex litigation. This action is brought by the federal
                                                                   government and several States. The parties and the public
                         Background                                have a significant interest in resolving the issues raised
                                                                   by the plaintiffs’ claims with due expedition. The issues
This action was filed on January 27, 2020. Discovery               principally arise from events that began years ago, in 2014.
began shortly thereafter. An Order of June 15 denied the           The core of the allegedly anticompetitive conduct underlying
defendants’ motion to stay discovery pending resolution of         the plaintiffs’ claims appears to remain ongoing. Should the
their motions to dismiss. An Opinion of August 18 largely          plaintiffs prevail in this litigation, the impact on the generic
denied their motions to dismiss. See Fed. Trade Comm'n             drug market and consumers of pharmaceuticals would be
v. Vyera Pharm., LLC, No. 20CV706 (DLC), 2020 WL                   prompt and significant. The plaintiffs also seek equitable
4891311, at *14 (S.D.N.Y. Aug. 18, 2020) (“Vyera”). This           monetary relief. The public interest weighs strongly against
Opinion is incorporated by reference, and familiarity with it      any unnecessary delay of this litigation.
is assumed.
                                                                   Shkreli has failed to show that he will be unfairly prejudiced
Fact discovery is scheduled to end on February 26, 2021.           by the litigation proceeding while he is incarcerated. This
Shkreli's deposition is set to proceed on January 27 and           litigation was filed after a lengthy administrative investigation
28, 2021. His recent request to delay his deposition until         of Shkreli's activities. The plaintiffs promptly produced the
late February was denied. Expert discovery is scheduled to         administrative record to the defendants, and the defendants



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                                                                       sending and receiving legal mail, the availability of legal
have had months to examine it. The protocol for discovery
was entered last Spring, and the parties have relied on it and         visits for much of the time this litigation has been pending, 2
planned accordingly.                                                   unmonitored legal calls, and emails and calls over the
                                                                       Bureau of Prison's (“BOP”) TRULINCS and TRUFONE
 *2 Shkreli's application is also untimely. Shkreli's delay in         systems. 3 Shkreli's prison consultant acknowledges that the
bringing a motion based on his alleged lack of communication           BOP has “done a somewhat satisfactory job at arranging
with counsel undermines his assertion that the breadth of              communication thus far.” Shkreli's access to his counsel is
discovery in this action requires a stay.                              at least as good as that provided to incarcerated defendants
                                                                       facing criminal charges.
Shkreli has also failed to demonstrate good cause to support
his request for a stay. Shkreli claims that, because of his
incarceration, he has not had, and will not have, sufficient
                                                                                              CONCLUSION
access to counsel to prepare for his deposition and participate
in his own defense. He adds that a failure to stay discovery           Shkreli's November 25, 2020 motion to stay discovery
would violate his constitutional right to access to courts, and,       pending his release from prison is denied.
as a corollary, his right to counsel.

Shkreli is represented by a team of experienced and able               All Citations
counsel from two law firms. Shkreli has at his disposal several
methods for communicating with his attorneys, including                Not Reported in Fed. Supp., 2021 WL 76336




                                                           Footnotes


1      Shkreli's prison consultant calculates that Shkreli could be released to a halfway house as early as mid-
       September 2021 if Shkreli earns enough credits from participation in certain programs in prison.

2      Despite invitations by the Bureau of Prisons to counsel to schedule visits to meet with Shkreli, his attorneys
       have not done so. While defense counsel quite rightly point to the ongoing pandemic and the risks to health
       posed by travel and prison visits, it nonetheless remains true that counsel have chosen not to avail themselves
       of this opportunity.

3      In a letter of September 25, 2020, the plaintiffs represented that they would not seek from the BOP any further
       communications between Shkreli and his attorneys conducted over monitored lines.



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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

 FEDERAL TRADE COMMISSION

        and

 STATE OF NEW YORK,

                               Plaintiffs,

        v.

 VYERA PHARMACEUTICALS, LLC,

 PHOENIXUS AG,
                                                   Case No. 1:20-cv-00706-DLC
 MARTIN SHKRELI, individually, as an
 owner and former director of Phoenixus AG
 and a former executive of Vyera
 Pharmaceuticals, LLC,

        and

 KEVIN MULLEADY, individually, as an
 owner and director of Phoenixus AG and a
 former executive of Vyera Pharmaceuticals,
 LLC,

                               Defendants.

                         AMENDED JOINT RULE 26(f) REPORT

       Plaintiffs Federal Trade Commission (“FTC”) and the State of New York and Defendants

Vyera Pharmaceuticals, LLC, Phoenixus AG, Martin Shkreli, and Kevin Mulleady, by and

through their undersigned counsel, jointly submit the following Amended Rule 26(f) Report and

Discovery Plan. This Amended Report reflects that the parties had reached agreement regarding

the briefing schedule for Defendants’ anticipated Motions to Dismiss.

       The parties conducted the Rule 26(f) conference telephonically on February 27, 2020.




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The parties discussed all of the matters outlined in Rule 26(f) during that conference.

       The parties respectfully submit the following proposed discovery plan pursuant to Rule

26(f). Where the parties were unable to agree on an issue, each side has set forth its respective

position. The parties’ respective proposed schedules are attached to this Report as Exhibit A.

       A.      Initial Disclosures – Rule 26(f)(3)(A)

       The parties agree to exchange initial disclosures pursuant to Rule 26(a) no later than

April 13, 2020. The parties agree that the initial disclosures will take the form prescribed in Rule

26(a), including that counsel for Defendants will identify whether any of them represents any

individuals or entities identified pursuant to Rule 26(a)(1)(A)(i).

       B.      Subjects of Discovery and Discovery Completion – Rule 26(f)(3)(B)

               1. Subjects of Discovery

       Plaintiffs anticipate the subjects of discovery will include factual and expert discovery

regarding the parties’ respective claims and defenses, including: (1) the relevant antitrust market;

(2) Defendants’ Daraprim distribution agreements, agreements regarding supply of

pyrimethamine active pharmaceutical ingredient (“API”), and data-blocking agreements; (3) the

alleged anticompetitive and procompetitive effects, including any consumer harm, of the conduct

alleged; (4) the impact of Defendants’ conduct on entry into the market of generic Daraprim

(pyrimethamine); (5) Shkreli and Mulleady’s individual liability; and (6) the appropriate remedy.

       Defendants anticipate the subjects of discovery will include factual and expert discovery

regarding the parties’ respective claims and defenses, including: (1) the availability of Daraprim

for sale on the open market during the relevant period; (2) the likelihood and timing of generic

entry for Daraprim; (3) the ability of generic manufacturers to obtain required FDA approvals

and to bring a generic form of Daraprim to market; (4) the ability of API manufacturers to obtain




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FDA approvals and to sell pyrimethamine API; (5) the potential for recurrence of the alleged

conduct; (6) available substitutes for Daraprim and/or pyrimethamine API; and (6) defenses to

Messrs. Shkreli’s and Mulleady’s alleged individual liability, including but not limited to the

specific role and conduct of Messrs. Shkreli and Mulleady during the relevant period.

               2. Fact Discovery

       The parties do not agree about when fact discovery should close. The parties’ respective

proposed schedules are attached to this Report as Exhibit A. The parties do not agree about

whether discovery should be stayed pending resolution of anticipated motions to dismiss.

       Plaintiffs’ Position:

       Plaintiffs’ position is that discovery should not be stayed pending resolution of the

anticipated motions to dismiss. Plaintiffs also respectfully propose that the Court resolve this

issue at the status conference scheduled for March 20, 2020. In any event, if the Court prefers

full briefing on the issue, Plaintiffs do not agree with Defendants’ proposal that their anticipated

motion to stay should be delayed until the deadline for their motions to dismiss.

       Defendants’ proposed schedule contemplates a stay of discovery until this Court resolves

numerous motions to dismiss that have yet to be filed. Briefing for these motions to dismiss will

not be complete for about four months. Defendants provide no good cause for why the Court

should diverge from “the usual practice in federal courts—permitting discovery to continue

during the pendency of a motion to dismiss.” Tobias Holdings, Inc. v. Bank United Corp., 177 F.

Supp. 2d 162, 169 (S.D.N.Y. 2001); see also Fed. R. Civ. P. 26(c). This well-established

principle “applies with even greater force where, as here, Defendants have not yet filed a motion

to dismiss, but merely contemplate one.” Noble Talents LLC v. Asch, No. 19-cv-11020, 2020

U.S. Dist. LEXIS 25306, *1-2 (S.D.N.Y. Feb. 13, 2020).




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       To satisfy their “good cause” burden, Defendants must meet a three-factor balancing test

that weighs “(1) whether a defendant has made a strong showing that the plaintiff’s claim is

unmeritorious, (2) the breadth of discovery and the burden of responding to it, and (3) the risk of

unfair prejudice to the party opposing the stay.” Kirschner v. J.P. Morgan Chase Bank, N.A., No.

17-CV-6334 (PGG) (SLC), 2020 WL 230183, at *2 (S.D.N.Y. Jan. 15, 2020) (internal quotation

marks omitted). Each of the factors weighs against Defendants’ request for a discovery stay.

       First, Defendants cannot make the “strong showing” that Plaintiffs’ claims are

“unmeritorious.” Relying on documents and testimony from their investigation, Plaintiffs’ 65-

page complaint sets forth detailed allegations that Defendants engaged in a multi-faceted

anticompetitive scheme to block lower-cost generic competition to a life-saving medication in

violation of federal and state antitrust laws. See Guiffre v. Maxwell, No. 15 Civ. 7433 (RWS),

2016 WL 254932, at *2 (S.D.N.Y. Jan. 20, 2016) (denying motion to stay because the complaint

pleaded “concrete facts and law to support all of [Plaintiffs’] arguments”).

       For example, the Complaint alleges that Defendants entered two exclusive contracts

intended to deny generic competitors access to Daraprim’s active pharmaceutical ingredient

(“API”), the key input in pharmaceutical products. Compl. ¶¶ 138-169. After securing an

exclusive contract with the only supplier approved to manufacture the API for the U.S. market,

Defendants then moved to sideline an API supplier that had been working with potential generic

competitors. As the Complaint alleges, Defendants had no need for this second API source, and

never purchased any of the API for its own product. Compl. ¶¶ 153-65. Nonetheless, Defendants

paid this API supplier millions of dollars to ensure that it could not to supply its potential

competitors. Compl. ¶ 60. These allegations, among many others, fully support the claims that

Defendants have violated, and are continuing to violate, federal and state antitrust law. See




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Geneva Pharm. Tech. Corp. v. Barr Labs. Inc., 386 F.3d 485, 495-501, 506-10 (2d Cir. 2004)

(finding that exclusive API contracts could form the basis for Sherman Act Sections 1 and 2

liability).

        Second, Defendants cannot demonstrate that Plaintiffs’ discovery is so broad and

burdensome as to merit a stay. Defendants’ position is that any discovery would be unduly

burdensome. But instead of seeking a preemptive blanket protective order, “there is no reason

that any objections to individual requests cannot be dealt with through the meet-and-confer

process, and, if necessary, a conference with the Court.” Kirschner, 2020 WL 230183, at *3; see

also Mulligan v. Long Island Univ., No. 18-CV-2885 (ERK) (SJB), 2018 WL 8014320, at *3

(E.D.N.Y. Dec. 13, 2018) (denying motion to stay where defendants could “seek a protective

order which the Court would consider in the ordinary course of discovery practice”). Such

objections should not, however, be based solely on the pendency of the motion to dismiss.

        Third, Plaintiffs—and the consumers we seek to protect—would suffer significant

prejudice if the Court stayed discovery. The outcome of this case directly impacts patients,

hospitals, and other organizations that would benefit from generic competition to Daraprim.

Although the FDA recently approved one generic version of Daraprim, generic entry has not yet

occurred. Moreover, consumers typically do not experience significant cost savings until

multiple generics enter and compete. Defendants’ ongoing conduct has significantly delayed this

competition. See Guiffre, 2016 WL 254932, at *2 (denying a stay when complaint describes an

“ongoing series of events”). Plaintiffs are ready and eager to make their case at trial and to end

Defendants’ anticompetitive conduct. To that end, discovery should proceed and no stay should

be issued.

        Defendants’ Position:




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       Defendants’ position is that it is inappropriate and improper for Plaintiffs to include

advocacy briefing on this issue in a Rule 26(f) Report. Moreover, it is inconsistent with the

parties’ discussions during their two Rule 26(f) conferences. Defendants’ position is that

discovery should be stayed pending resolution of the anticipated motion(s) to dismiss.

Defendants plan to file a motion to stay discovery for the Court’s consideration

contemporaneously with their motion(s) to dismiss.

       Areas of Agreement:

       The parties agree that they shall serve subpoenas and discovery requests sufficiently in

advance of the discovery completion date such that all responses or objections will be due on or

before that date. The close of fact discovery shall not preclude requests for admission regarding

the authentication and admissibility of exhibits.

       Parties who produce discovery shall produce a copy of the discovery to all parties. If a

non-party produces discovery to a party, the receiving party shall promptly provide a copy of the

non-party discovery to all parties.

       The parties agree that discovery should not be conducted in phases or limited to or

focused on particular issues.

       The parties anticipate that discovery of foreign entities may be necessary in this case and

that it may be necessary to serve discovery pursuant to the Hague Convention on the Taking of

Evidence Abroad in Civil or Commercial Matters or other international agreements.

               3. Expert Discovery

       The parties do not agree about when expert discovery should close, whether there should

be reply expert reports, and whether it is appropriate to address certain expert discovery issues in

this Report. The parties’ respective proposed schedules are attached to this Report as Exhibit A.




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        Plaintiffs’ Position:

        The parties should be permitted to serve reply expert reports that respond to the

opinions set forth in expert rebuttal reports. Reply reports would not be an opportunity to

correct oversights in the original report. Instead, they would be limited to explaining,

countering, or disproving the opinions of the other party. Allowing for reply expert reports

will have several benefits in these proceedings. First, they will help narrow the issues of

dispute among the experts, which promotes efficiency for both the parties and the Court.

Second, they will ensure that all of an expert’s opinions and analyses, including those that

respond to points raised in opposing experts’ rebuttal reports, are fairly disclosed before

expert depositions. Third, given the Court’s preference for written direct testimony of

experts, providing for reply reports will reduce the possibility that an opposing side objects to

written direct expert testimony on the ground that it contains undisclosed opinions. See

generally Ironshore Ins. Ltd. v. Western Asset Mgmt. Co., No. 11 Civ. 5954 (LTS) (JCF),

2013 WL 2051863, at *2 (S.D.N.Y. May 15, 2013) (Magistrate Mem. & Order) (“Reply

expert reports may be appropriate if the rebuttal reports raise new matters not discussed in the

initial reports.”).

        Plaintiffs also propose the following with respect to expert discovery. Because experts for

both Plaintiffs and Defendants will likely use significant amounts of data in the preparation of

their expert reports and their expert testimony, a party shall produce with any initial, rebuttal, or

reply expert report, subject to any applicable protective order: (a) a list of all commercially-

available computer applications used in the preparation of the report; (b) a copy of all data sets,

in native file format, used or developed in the preparation of the report; (c) a copy of any

customized statistical software or other customized computer programs used by the party’s




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expert in the course of preparing their report; (d) any processed data files developed in the

preparation of the report; (e) a description of how the programs and original data set(s) were

employed to create a final data set(s) if requested; and (f) a description of the purpose and format

of each data file and program file with instructions on how replication can be conducted if

requested.

        Defendants’ Position:

        Defendants’ position is that the parties should not be permitted to serve reply expert

reports as these are neither necessary nor customary. In addition, Defendants’ position is that

Plaintiffs’ proposed schedule for the timing of expert reports in Exhibit A is unrealistic,

unreasonable and plainly designed to unfairly advantage Plaintiffs; Plaintiffs propose two

months for Plaintiffs’ expert reports, only one month for Defendants’ rebuttal reports, fourteen

days for reply reports, but only thirty days for expert depositions. This is in contrast to

Defendants’ more reasonable proposed schedule that eliminates expert reply reports and instead

gives the same amount of time for Plaintiffs’ and Defendants’ expert reports -- two months for

each of Plaintiffs’ expert reports, and for Defendants’ rebuttal reports -- and then two months for

expert depositions. Further, Defendants’ position is that any specifics regarding expert discovery

are premature and inappropriate for a Rule 26(f) Report; rather, these would be better served as

part of an expert discovery protocol that the parties could negotiate at a more appropriate time in

the future.

        C.     Disclosure, Discovery, or Preservation of ESI – Rule 26(f)(3)(C)

        The parties anticipate that the scope of discovery will encompass Electronically Stored

Information (“ESI”). The parties will request ESI in the form or forms that facilitate efficient

review of ESI. In general, the parties will produce ESI either according to the same ESI technical




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specifications used by Defendants in the FTC’s pre-complaint investigation or in accordance

with an ESI protocol as agreed among the parties or ordered by the Court.

       The parties disagree about whether certain potential issues relating to ESI need be

presented in this Report.

       Plaintiffs’ Position:

       Plaintiffs have raised several issues regarding the preservation, collection, and production

of ESI and other relevant discovery materials from the personal files and email accounts of

Defendants Shkreli and Mulleady and the employees of Defendants Vyera and Phoenixus. The

parties are continuing to negotiate and discuss these issues, and Plaintiffs may raise with the

Court unresolved issues (if any) requiring the Court’s attention.

       Defendants’ Position:

       Defendants’ position is that there is no issue with regard to preservation. Plaintiffs have

not identified any specific issues or non-compliance with ESI preservation and conceded as

much on the Rule 26(f) teleconference on February 27, 2020. All Defendants understand their

ESI preservation obligations and made this known to Plaintiffs during that Rule 26(f)

teleconference. Thus, Defendants’ position is that there is no need to have a provision regarding

the preservation of ESI in this Report.

       D.      Privilege – Rule 26(f)(3)(D)

       The parties agree to the following guidelines concerning the preparation of privilege logs:

identification of the litigation or potential litigation underlying attorney work product claims is

permitted; identification of the name and the company for each non-Defendant person is

sufficient identification; and there is no requirement to identify the discovery request to which

each privileged document was responsive.




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       The parties agree that the following privileged or otherwise protected communications

may be excluded from privilege logs:

       (a)     any documents or communications sent solely among outside counsel for the

Defendants or persons employed or retained by such counsel;

       (b)     after the filing of the Complaint for Injunctive and Other Equitable Relief on

January 27, 2020, any documents or communication regarding the conduct of this litigation sent

solely among outside counsel for the Defendants or sent solely between outside counsel for the

Defendants and (i) Defendants or (ii) Defendants’ employees. Notwithstanding the foregoing,

privileged documents or communications that may otherwise be exempt from logging under this

subpart must nevertheless be logged if any portion of the document or communication also

concerns ongoing or forward-looking business decisions, plans, actions, or practices.

       (c)     any documents or communications sent solely among counsel for the Plaintiffs or

persons employed or retained by the Plaintiffs for the purpose of this litigation or the pre-

Complaint investigations; and

       (d)     non-responsive privileged documents attached to responsive documents; however,

when privileged documents that are attached to responsive documents are withheld from

production, the parties will insert a placeholder to indicate a document has been withheld from

that family; and

       (e)     draft litigation filings.

       The parties agree that, to the extent Defendants served privilege logs on the Plaintiffs

during the pre-Complaint investigations, those privilege logs are deemed served in this action.

The parties agree to produce documents in this matter on a rolling basis and serve privilege logs

no later than 45 days after each production, unless otherwise agreed. The parties further agree




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that they have reserved all rights to challenge any privilege claims, whether described on logs

previously produced or otherwise.

       E.      Limitations on Discovery – Rule 26(f)(3)(E)

       The parties disagree about the allocation of time during non-party depositions.

       Plaintiffs’ Position:

       During non-party depositions, if both sides cross-notice the deposition, then the time will

be divided equally, i.e., three and one-half hours for each side. Any time allotted to one side not

used by that side may be used by the other side up to the seven-hour limit in total. The parties

may, by mutual consent, agree to a different allocation of time for specific non-party depositions

without leave of Court. Current and former employees of the Defendants do not count as non-

parties for purposes of this proposal.

       Plaintiffs’ proposal to allocate time at non-party depositions equally between the parties

is practical, fair, and reduces the likelihood that the Court will be dragged into disagreements

about the proper allocation for particular depositions. The proposal also is flexible. By setting

only a default rule, it allows the parties to negotiate changes in the time allocation where

appropriate. Finally, allowing one side to use the other’s unused time should limit any

gamesmanship with cross-noticing of depositions. Defendants’ proposal to rely on the Federal

Rules of Civil Procedure is ineffective because the Rules do not address how to allocate time

between the parties for non-party depositions. Thus, Defendants’ proposal is likely to lead to

disagreements that ultimately will need to be resolved by this Court.

       Defendants’ Position:

       Defendants’ position is that the Federal Rules of Civil Procedure governing depositions,

including Fed. R. Civ. P. 30(d)(1), will apply, unless the parties agree to particular modifications,




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which would be addressed on a deposition-by-deposition basis. Plaintiffs’ proposal is

unnecessary and could lead to gamesmanship with cross notices and time allocations being taken

up strategically, especially since most of the non-parties have presumably already spoken to the

Plaintiffs, whereas Defendants have had access to none of them. Moreover, Plaintiffs’

unwillingness to apply their protocol to former employees of the Companies, meaning that the

presumption would not apply to those individuals, substantially undermines Plaintiffs’ position

and supposed rationale.

       Areas of Agreement:

       The parties agree that there shall be no limitations on the number of requests for the

production of documents pursuant to Rule 34 or on the number of requests for admission

pursuant to Rule 36. Each party reserves the right to seek a protective order pursuant to Rule

26(c) with respect to specific discovery requests.

       The parties agree that each side shall serve no more than twenty-five interrogatories,

including all discrete subparts.

       The parties agree that it will be necessary to take more than ten depositions as permitted

under Rule 30(a)(2)(A).

       The parties propose that the limitation on depositions be increased to 200 hours per side

for fact depositions.

       The parties agree that testimony taken in investigational hearings during the FTC’s pre-

Complaint investigation do not count towards the number of hours agreed above. Either party

may further depose witnesses whose testimony was taken in investigational hearings during the

pre-Complaint investigations. The parties also agree that expert depositions shall not count

towards the number of hours allotted for depositions.




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        F.      Other Orders That the Court Should Issue – Rule 26(f)(3)(F)

        The parties are negotiating a stipulated protective order that they intend to present to the

Court. The parties agree that neither side should exchange documents under Rule 26(a)(1)(A)(ii)

until a protective order is entered in this case. The parties agree that they will negotiate an expert

protocol that will address discovery of expert materials.

        G.      Other Matters

                1. Settlement

        The parties discussed settlement during the Rule 26(f) conference, and it does not appear

that settlement is likely at this time.

                2. Witness Lists

        The parties disagree about the procedure for finalizing witness lists and whether there

should be opportunity to depose previously unidentified witnesses.

        Plaintiffs’ Position:

        A party’s final witness list may include individuals not previously identified on (i) the

Rule 26(a) initial disclosures or (ii) Rule 26(e) supplemental disclosures that have been provided

at least 30 days before the end of fact discovery, so long as the opposing parties are provided a

reasonable opportunity to take the witness’s deposition before the pretrial conference. The

limitation on depositions shall not include depositions of any person identified in the final trial

witness list who was not previously disclosed in (i) or (ii) above and was not previously deposed.

        Plaintiffs’ proposed rule is consistent with a “basic purpose” of the Federal Rules of Civil

Procedure to facilitate the full disclosure of relevant information during discovery and to prevent

“trial by ambush.” In re Hornbeam Corp., No. 14 Misc. 424 (Part 1), 2015 WL 13647606, at *5

(S.D.N.Y. Sept. 17, 2015) (quoting Ginns v. Towle, 361 F.2d 798, 801 (2d Cir. 1966)). Rule




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26(a)(1)(A) requires a litigant to identify each individual likely to have discoverable information

that the disclosing party may use to support its claims or defenses in its initial disclosures, and

Rule 26(e) imposes a continuing duty to supplement such disclosures in a timely manner

throughout the discovery period if the litigant learns they are incomplete or incorrect in any

material respect. By ensuring that the opposing parties will have the opportunity to depose a late-

identified witness, Plaintiffs’ proposal both discourages gamesmanship by eliminating any unfair

advantage to be gained and provides for fair and orderly discovery by the opposing parties when

a witness is identified late.

        Defendants’ Position:

        Defendants’ position is that specifics regarding witness lists for trial are premature and

improper for a Rule 26(f) Report.

                3. Consent to Magistrate Judge

        The parties do not consent to proceed before a magistrate judge.

                4. Joinder of Parties and Amendment of Pleadings

        Plaintiffs anticipate that additional states may join as Plaintiffs in this action. The parties

propose June 19, 2020 as the final date by which parties may be joined. Plaintiffs reserve all of

their rights to seek leave to amend the Complaint.

                5. Service of Pleadings and Discovery

        The parties agree that service of all pleadings and discovery, including copies of Rule 45

subpoenas, and delivery of all correspondence in this matter shall be made by email or FTP to

counsel of record for each party, except when the volume of attachments requires overnight

delivery of the attachments or personal delivery, in which case service shall be made to the

following individuals designated by the parties for each side noted below:




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       Each side shall copy and produce materials obtained in discovery, in the format they were

received from any non-party, to the other parties, within three business days after receipt by the

side initiating the discovery request; except that if a non-party produces materials that are not

Bates-stamped, the party receiving the materials may Bates-stamp them before producing a copy

to the other parties and shall produce the documents or electronically stored information in a

reasonable time.


Dated: March 17, 2020                                 Respectfully submitted,

                                                      /s/ Markus H. Meier
                                                      Markus H. Meier (pro hac vice)
                                                      Federal Trade Commission




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                                     EXHIBIT A
                                 PROPOSED SCHEDULE

                                           Plaintiffs’ Proposed     Defendants’ Proposed
Event                                            Deadline                 Deadline
Initial Disclosures Served                    April 13, 2020            April 13, 2020
Initial Pretrial Conference                   March 20, 2020           March 20, 2020
Defendants’ Motion to Stay                    Not applicable            May 22, 2020
Discovery                                (The parties’ statements
                                          in this Report suffice)
Plaintiffs’ Opposition to Motion to           Not applicable             July 6, 2020
Stay Discovery
Defendants’ Reply in Support of              Not applicable              July 27, 2020
Motion to Stay Discovery
Defendants’ Motion(s) to Dismiss or           May 22, 2020               May 22, 2020
Answers
Plaintiffs’ Opposition(s) to Motion(s)        July 6, 2020               July 6, 2020
to Dismiss
Defendants’ Reply(ies) in Support of          July 27, 2020              July 27, 2020
Motion(s) to Dismiss
Deadline for Joining Additional               June 19, 2020              June 19, 2020
Parties or Amending Pleadings
Close of Fact Discovery                    December 18, 2020          18 months after the
                                             (nine months)          resolution of motions to
                                                                             dismiss
Expert Reports from Parties Bearing        February 16, 2021        2 months after the close
the Burden on an Issue                        (+60 days)                of fact discovery
Rebuttal Expert Reports                     March 18, 2021          4 months after the close
                                              (+30 days)                of fact discovery
Reply Expert Reports                         April 1, 2021               Not applicable
                                              (+14 days)
Close of Expert Discovery                    April 30, 2021         6 months after the close
                                              (+30 days)               of fact discovery
Motion(s) for Summary Judgment               June 14, 2021                  [TBD]
                                              (+45 days)
Opposition(s) to Motion(s) for               July 29, 2021                  [TBD]
Summary Judgment                              (+45 days)
Reply(ies) in Support of Motion(s)          August 19, 2021                 [TBD]
for Summary Judgment                          (+21 days)
If no Summary Judgment Motions               June 30, 2021                  [TBD]
filed, Joint Pretrial Motion




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2020, I served a true and correct copy of the foregoing

document and exhibits on all counsel of record via the Court’s CM/ECF system.



Dated: March 17, 2020                                /s/ Markus H. Meier
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :                  20cv00706 (DLC)
FEDERAL TRADE COMMISSION and STATE OF :
NEW YORK,                              :                     PRETRIAL
                                       :                 SCHEDULING ORDER
                         Plaintiffs,   :
                                       :
               -v-                     :
                                       :
VYERA PHARMACEUTICALS, LLC, PHOENIXUS :
AG, MARTIN SHKRELI, individually, as an:
owner and former director of Phoenixus :
AG and a former executive of Vyera     :
Pharmaceuticals, LLC, and KEVIN        :
MULLEADY, individually, as an owner and:
director of Phoenixus AG and a former :
executive of Vyera Pharmaceuticals,    :
LLC,                                   :
                         Defendants.   :
                                       :
-------------------------------------- X

DENISE COTE, District Judge:

     As set forth at the telephonic pretrial conference held
pursuant to Rule 16, Fed. R. Civ. P., on March 20, 2020, the
following schedule shall govern the further conduct of pretrial
proceedings in this case:

1.   The parties are instructed to contact the chambers of
     Magistrate Judge Lehrburger prior to March 27, 2020 in
     order to schedule settlement discussions under his
     supervision to occur in June 2020.

2.   The parties shall submit a proposed protective order by
     April 3, 2020. By this date, the parties also shall file a
     proposed Order setting April 17, 2020 as the deadline for
     third parties to seek revisions, or otherwise make
     objections, to the proposed protective order.

3.   The parties shall submit by April 10, 2020 a proposed
     protocol for conducting electronic discovery.

4.   The parties shall comply with their Rule 26(a)(1), Fed. R.




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      Civ. P., initial disclosure obligations by April 10, 2020.

5.    No additional parties may be joined or pleadings amended
      after May 1, 2020.

6.    Initial Interrogatories and Requests pursuant to Rule 34,
      Fed. R. Civ. P., shall be served by May 1, 2020. By May
      15, 2020, the Federal Trade Commission (“FTC”) shall
      produce documents from its pre-complaint investigation that
      are responsive to the Requests.

7.    By May 22, 2020, the parties shall file a letter with the
      Court identifying any objections or disagreements that they
      have been unable to resolve in responding to each other’s
      Interrogatories and Requests.

8.    By May 22, 2020, the parties shall file a letter with the
      Court that sets forth a proposed process and schedule for
      conducting foreign discovery.

9.    By May 22, 2020, the parties shall file a letter with the
      Court that sets forth their proposed plans and schedule for
      third-party discovery. By June 5, 2020, the parties shall
      begin serving their third-party document demands.

10.   By May 22, 2020, the parties shall file a letter that sets
      forth their proposed plan and schedule for the taking of
      fact depositions. This letter shall identify the proposed
      number of depositions or deposition hours sought by the
      parties.

      In light of the COVID-19 outbreak, counsel should consult
      as to whether pretrial proceedings, including depositions
      and mediation, may be conducted through video conference or
      teleconference. Pursuant to Rules 30(b)(3) and (b)(4),
      Fed. R. Civ. P., all depositions in this action may be
      taken via telephone, videoconference, or other remote
      means, and may be recorded by any reliable audio or
      audiovisual means. This Order does not dispense with the
      requirements set forth in Fed. R. Civ. P. 30(b)(5),
      including the requirement that, unless the parties
      stipulate otherwise, the deposition be “conducted before an
      officer appointed or designated under Rule 28,” and that
      the deponent be placed under oath by that officer. For




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      avoidance of doubt, however, a deposition will be deemed to
      have been conducted “before” an officer so long as that
      officer attends the deposition via the same remote means
      (e.g., telephone conference call or video conference) used
      to connect all other remote participants, and so long as
      all participants (including the officer) can clearly hear
      and be heard by all other participants.

11.   By May 22, 2020, the parties shall file a letter with the
      Court that sets forth their proposed plan and schedule for
      expert discovery.

12.   All document discovery must be substantially complete by
      August 28, 2020.

13.   The following motion will be served by the dates indicated
      below.

      Any motion to dismiss

      -    Motion served by May 22, 2020
      -    Opposition served by July 6
      -    Reply served by July 27

14.   The next pretrial conference is scheduled as a telephone
      conference for September 11, 2020 at 10:00 am. The parties
      shall use the following dial-in instructions for the
      telephone conference:

                 Dial-in:           888-363-4749
                 Access code:       4324948

      The parties shall use a landline if one is available.


Dated:     New York, New York
           March 24, 2020

                              __________________________________
                                         DENISE COTE
                                 United States District Judge




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                                                              trial purposes in accordance with     28 U.S.C. § 636. The
                  2018 WL 5728515                             following motion is before the Court:
     Only the Westlaw citation is currently available.
              United States District Court,
            E.D. Texas, Texarkana Division.                               Defendants' Opposed Motion to
                                                                          Stay Discovery (Docket Entry #40).
   HEALTH CHOICE GROUP, LLC and Jaime Green,
    on Behalf of the United States of America, et al.
                           v.
                                                              The Court, having reviewed the relevant briefing, is of the
          BAYER CORPORATION, et al.
                                                              opinion Defendants' motion should be DENIED.
                 No. 5:17cv126-RWS-CMC
                             |
                     Signed 04/25/2018                                             BACKGROUND

Attorneys and Law Firms                                       This is a False Claims Act (“FCA”) qui tam action
                                                              brought against Bayer Corporation (“Bayer”), Amgen,
Samuel Franklin Baxter, Jennifer Leigh Truelove, McKool       Inc. (“Amgen”), Onyx Pharmaceuticals, Inc. (“Onyx”),
Smith, Marshall, TX, W. Mark LaNier, Jonathan P.              AmerisourceBergen Corporation (“AmerisourceBergen”),
Wilkerson, Christopher Lee Gadoury, The LaNier Law Firm,      and Lash Group (“Lash”) (collectively “Defendants”) by
PC, Houston, TX, Dana Elizabeth Vallera, Eric Brian Halper,   Health Care Group, LLC, and Jamie Green (“Relators”). The
Radu A. Lelutiu, McKool Smith PC, New York, NY, Geoffrey      federal and state governments declined to intervene. Relators'
Patton Culbertson, Kelly B. Tidwell, Patton Tidwell &         First Amended Complaint (“FAC”) filed on January 12, 2018,
Culbertson, LLP, Texarkana, TX, Karla Yahaira Valenzuela,     alleges that, with substantial assistance from Amerisource and
Noroozi PC, Santa Monica, CA, Lee Adam Cirsch, The            Lash, Bayer and Amgen pursued three marketing schemes
LaNier Law Firm, P.C., Los Angeles, CA, Ryan Daniel Ellis,    that violate the Anti-Kickback Statute. (“AKS”). Relators
Howry Breen & Herman LLP, Austin, TX, for Health Choice       claim Defendants: (i) knowingly presented or caused to be
Group, LLC.                                                   presented to the United States false or fraudulent claims
                                                              for payment; (ii) knowingly made, used, and caused to be
Matthew J. O'Connor, Joshua N. DeBold, Benjamin J. Razi,
                                                              made and used false records and statements to get false or
Covington & Burling LLP, Washington, DC, Andrea Leigh
                                                              fraudulent claims paid or approved by the United States; and
Fair, Claire Abernathy Henry, Thomas John Ward, Jr., Ward,
Smith & Hill, PLLC, Longview, TX, Charles Michael Moore,      (iii) knowingly conspired to violate 31 U.S.C. §§ 3729(a)
DLA Piper LLP (US), Alexandra Ann Locasto, Christopher        (1)(A) and (B) and to defraud the United States by causing
Scott Jones, William Scott Hastings, John Patrick McDonald,   the Medicare and Medicaid Programs to pay for false claims.
Locke Lord LLP, Dallas, TX, Lance Lee, Attorney at Law,
William David Carter, Sr., Mercy Carter Tidwell, L.L.P.,      Relators' remaining claims for relief rely upon the
Texarkana, TX, for Bayer Corporation, Amgen Inc., Onyx        state False Claims Act statutes in Arkansas, California,
Pharmaceuticals, Inc., AmerisourceBergen Corporation, Lash    Colorado, Connecticut, Delaware, the District of Columbia,
Group.                                                        Florida, Georgia, Hawaii, Illinois, Indiana, Iowa, Louisiana,
                                                              Maryland, Massachusetts, Michigan, Minnesota, Montana,
                                                              Nevada, New Hampshire, New Jersey, New Mexico, New
                         ORDER                                York, North Carolina, Oklahoma, Rhode Island, Tennessee,
                                                              Texas, Vermont, Virginia, and Washington. These state law
CAROLINE   M.   CRAVEN,              UNITED        STATES     claims are based on the same conduct as the federal FCA
MAGISTRATE JUDGE                                              claims.

 *1 The above-referenced cause of action was referred to
the undersigned United States Magistrate Judge for pre-
                                                                         MOTION TO STAY DISCOVERY



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In their current motion, Defendants move the Court for a             An order staying discovery should only be issued upon a
stay of discovery pending resolution of Defendants' Motion           showing of “good cause” by the movant. Griffin, 2015 WL
to Dismiss Plaintiffs' First Amended Complaint (Docket               11019132, at *2; see FED. R. CIV. P. 26(c).
Entry # 38). In their motion to dismiss, Defendants argue
Relators fail to plead their claims of fraud with particularity as
required by    FED. R. CIV. P. 9(b). 1 Relying on arguments                                 DISCUSSION
further described in their motion to dismiss, Defendants
                                                                     The focus of Defendants' motion to stay is their claim that
argue    Rule 9 has an important role in restricting access
to discovery for plaintiffs who, as Relators here, plead             Relators fail to satisfy  Rule 9(b)'s pleading obligations. In
problematic, generalized allegations of fraud. According to          their reply, Defendants state Relators' FAC “is exceedingly
Defendants, allowing discovery to proceed while the motion           vague and broad in the activities, geographical locations, and
                                                                     timeframe it implicates, especially in light of the rigorous
to dismiss is pending would thwart          Rule 9(b)'s critical
gatekeeper function.                                                     Rule 9(b) standard that it must meet.” Docket Entry # 67 at
                                                                     pg. 2. According to Defendants, if their motion to dismiss is
 *2 Defendants further assert a “temporary stay while the            successful, the need for discovery would be eliminated. “But
Court considers the motion to dismiss is warranted in this           this is true any time a dispositive motion is filed. Permitting
case for the simple reasons of fairness and efficiency.” Docket      a stay of discovery simply upon the filing of such a motion
Entry # 40 at pg. 2. Defendants contend, given the nature and        would allow the exception to swallow the rule.” Syngenta
breadth of Relators' allegations, “extensive discovery of the        Seeds, Inc. v. BTA Branded, Inc., No. 05 C 6673, 2007 WL
parties, the Government, and third-party doctors will likely         3256848, at *2 (N.D. Ill. Nov. 1, 2007).
be required.” Id. According to Defendants, if third parties and
Defendants are required immediately to engage in discovery           In their response, Relators assert the fact this is an action
in a case which the Court eventually dismisses, “they will           brought under the FCA does not alter the general rule.
have been put through needless expense in a case that lacks          Docket Entry # 53 at pg. 3 (citing United States v. Infilaw
merit.” Id.                                                          Corp., No. 16-cv-970, 2018 WL 889024, at *4-*5 (M.D. Fla.
                                                                     Feb. 14, 2018) (Even though the plaintiff's discovery was
                                                                     “far reaching,” the court denied a motion to stay discovery
                                                                     pending a decision on a motion to dismiss in FCA case,
                    APPLICABLE LAW                                   noting there are discovery “rules to constrain the parties” and
                                                                     a stay can be “problematic because it may needlessly lengthen
Under Local Rule CV-26 and Federal Rule of Civil
                                                                     the litigation.”) ). Relators further assert the cases cited by
Procedure 26, the presumption is that discovery shall proceed
                                                                     Defendants in support of their motion to stay “say nothing
notwithstanding the filing of a motion to dismiss. Local
                                                                     about the propriety of granting a stay pending a motion to
Rule CV-26(a), titled “No excuses,” provides “a party is
not excused from responding to discovery because there               dismiss pursuant to    Rule 9(b),” and some of the “cases do
are pending motions to dismiss....” In the Fifth Circuit,            not address discovery stays at all.” Docket Entry # 53 at pg. 3.
staying discovery while a motion to dismiss is pending “is
the exception rather than the rule.” Griffin v. Am. Zurich           According to Relators, “in the one case that does, the
Ins. Co., No. 3:14-cv-2470-P, 2015 WL 11019132, at *2                discovery stay was granted pending ruling on a summary
(N.D. Tex. Mar. 18, 2015). A motion to stay discovery is             judgment motion after the plaintiff had been given an initial
not “automatically granted whenever a motion to dismiss is           opportunity to seek discovery and an additional 6-month
pending.” Id. “Nor is a stay of discovery permitted merely           extension of time for discovery.” Id. at pg. 4 (emphasis in
because defendant believes it will prevail on its motion to
                                                                     original) (citing   Fujita v. United States, 416 Fed. App'x
dismiss.” Id. “[H]ad the Federal Rules contemplated that a
                                                                     400, 402-03 (5th Cir. 2011) ); see also U.S. ex rel. Fla. Soc'y
motion to dismiss under Fed. R. Civ. P. 12(b)(6) would stay
                                                                     of Anesthesiologists v. Choudry, Case No. 8:13-cv-2603-
discovery, the Rules would contain a provision to that effect.”
                                                                     T-27AEP, 2016 WL 7205970, at *1, *3 (M.D. Fla. Oct. 11,
Valenzuela v. Crest-Mex Corp., No. 3:16-cv-1129-D, 2017
                                                                     2016) (staying discovery after having granted the defendants'
WL 2778104, at *5 (N.D. Tex. June 26, 2017).
                                                                     motion to dismiss and allowing leave to amend to comply



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                                                                    7, 2014) ) (noting that motion to dismiss not so “clearly
with      Rule 9); U.S. ex rel. Day v. UT Medical Group,            meritorious” as to warrant stay of discovery). According
Inc., No. 12-cv-021390JPM-tmp, 2013 WL 12149636, at                 to the court in Chevrolet, “while not wholly insubstantial,”
*1-*2 (W.D. Ten. Aug. 15, 2013) (addressing the plaintiff's         defendant's motion was “no slam-dunk, nor so likely to
motion to compel discovery and finding that prior-granted           be granted that it warrants the requested discovery stay....”
discovery stay precluded motion to compel; no discussion
                                                                       2014 WL 5644089, at *2-*3.
concerning propriety of discovery stay); U.S. ex rel. Lusby v.
Rolls-Royce Corp., No. 1:03-CV-0680-SEB/WTL, 2007 WL
                                                                    Defendants' concerns with the potential burden on third-
4557773, at *8 (S.D. Ind. Dec. 20, 2007) (staying discovery
                                                                    parties do not justify a stay of discovery. Even if these
where there was an absence of reliable allegations indicating
                                                                    concerns were sufficient, Defendants' assertions “only
that particulars of fraudulent claims existed); Pennington v.
                                                                    detail[ ] the usual inconveniences and costs that are associated
Vail Products, Inc., No. Civ. A. 303CV1961D, 2004 WL
                                                                    with discovery practice,” and do not explain how Defendants
302298, at *3 (N.D. Tex. 2004) (addressing the merits of
                                                                    will suffer “unique hardship if discovery proceeds in this
the defendant's motion to dismiss in non-FCA case with no
                                                                    matter.” Ashford Inc. v. Unite Here, No. 3:15-cv-0262-M,
discussion of discovery stays and further noting that if the
                                                                    2015 WL 11121019, at *2 (N.D. Tex. May 12, 2015).
plaintiffs later obtained through discovery or other means the
                                                                    At this point, any burden on Defendants or third-parties
factual grounds that would permit them to allege fraud, they
                                                                    is speculative, especially considering the parties have not
may move for leave to amend).
                                                                    exchanged discovery requests. 3 These assertions do not
 *3 Relators assert their allegations are not glaringly deficient   warrant departing from this Court's ordinary practice not to
nor have they made overly broad discovery requests. Relators        stay discovery.
argue there is an obvious distinction between allowing a
“fishing expedition” and allowing the parties to engage in the       *4 In sum, Defendants have failed to show good cause for
usual course of discovery.                                          a stay of discovery in this instance. Therefore, Defendants'
                                                                    motion to stay is denied. The Court advises it will issue a
The Court is well aware of the heightened pleading standard         Report and Recommendation on the motion to dismiss as soon
                                                                    as practicable. Accordingly, it is
of    Rule 9(b). 2 The Court is not convinced the motion to
dismiss, upon preliminary review, is so clearly meritorious
                                                                    ORDERED that Defendants' Opposed Motion to Stay
and truly case dispositive as to warrant a stay of discovery.
                                                                    Discovery (Docket Entry #40) is hereby DENIED.
  Southern Motors Chevrolet, Inc. v. Gen. Motors, LLC,
No. CV 414-152, 2014 WL 5644089, at *1 (S.D. Ga.
Nov. 4, 2014) (citing Alexander v. Allen, No. 2:13-cv-885-          All Citations
FTM-29CM, 2014 WL 3887476, at *2 (M.D. Fla. Aug.
                                                                    Not Reported in Fed. Supp., 2018 WL 5728515




                                                            Footnotes


1       Additionally, Defendants assert the FAC does not describe any conduct that would render a claim “false.”
        They argue Relators cannot satisfy the other basic elements of a False Claims Act violation—causation,
        materiality, and scienter. Defendants further contend the FAC asserts claims beyond the statute of limitations
        period and improperly attempts to add a new plaintiff relator (Jaime Green) in violation of the FCA's first-
        to-file rule.

2
        A claim filed under the FCA must satisfy the heightened pleading standard of             Rule 9(b) of the Federal Rules
        of Civil Procedure.   U.S. ex rel. Nunnally v. West Calcasieu Cameron Hosp., 519 Fed.Appx. 890, 892 (5th
        Cir. 2013) (footnote and citations omitted). “In alleging fraud or mistake, a party must state with particularity



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      the circumstances constituting fraud or mistake.”     FED. R. CIV. P. 9(b). A court must implement           Rule 9(b)
      as a screening mechanism to prevent meritless fraud claims “with ‘bite’ and ‘without apology.’ ”           U.S. ex rel.
      Grubbs v. Kanneganti, 565 F.3d 180, 185-86 (5th Cir. 2009) (quoting            Williams v. WMX Techs., 112 F.3d
      175, 177 (5th Cir. 1997) ). The court, however, cannot use        Rule 9(b) to require fact pleading; instead, the
      court must ensure “      Rule 9(b) supplements but does not supplant Rule 8(a)'s notice pleading.”            Grubbs,
      565 F.3d at 186.      Rule 9(b) “requires only simple, concise, and direct allegations of the circumstances
      constituting fraud, which after Twombly must make relief plausible, not merely conceivable, when taken as
      true.” Id. In the context of the FCA, “   Rule 9(b)'s ultimate meaning is context-specific” and depends on the
      elements of the claim.      Nunnally, 519 Fed.Appx. at 891-92 (quoting         Grubbs, 565 F.3d at 189-90).

3     According to Relators, “any undue burden that does materialize may be avoided through discussion with
      Relators to narrow or amend Relators' discovery requests. As a last resort, discovery disputes can be raised
      with the court, but a stay is both premature and a disproportionate remedy where more tailored solutions will
      address Defendants' concerns when they arise, if ever.” Docket Entry # 53 at pg. 7.



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                                                                               these rules [i.e., discovery of information that is relevant
                                                                               in the broadest sense] ... if it determines[, among other
      KeyCite Yellow Flag - Negative Treatment                                 things,] that ... the burden or expense of the proposed
Clarified on Denial of Reconsideration by In re Bank of New York Mellon
                                                                               discovery outweighs its likely benefit, considering the
Corp. Forex Transactions Litigation, S.D.N.Y., November 6, 2014
                                                                               needs of the case, the amount in controversy, the parties'
                    2014 WL 5392465                                            resources, the importance of the issues at stake in the
       Only the Westlaw citation is currently available.                       action, and the importance of the discovery in resolving
                United States District Court,                                   the issues.” 3
                      S.D. New York.                                      Thus, courts must exercise practical judgment in defining
                                                                          the scope of pretrial discovery lest a vehicle intended to
     In re BANK OF NEW YORK MELLON CORP.                                  facilitate just, speedy and inexpensive determinations become
        FOREX TRANSACTIONS LITIGATION.                                    an obstacle to accomplishing any of those goals.
           This document relates to: All Actions.
            United States of America, Plaintiff,
                             v.                                                                        Facts
    The Bank of New York Mellon, et ano., Defendants.
                                                                          The Litigation
                      No. 12 MD 2335(LAK).                                Although they are brought on somewhat different legal
                                |                                         theories, both the civil cases included in In re Bank of New
                       Signed Oct. 9, 2014.                               York Mellon Corp. Forex Transactions Litigation and United
                                                                          States v. Bank of New York Mellon arise out of much the
                                                                          same nucleus of facts, which is described in the Court's
              MEMORANDUM AND ORDER                                        opinions on motions to dismiss in the government case 4 and

LEWIS A. KAPLAN, District Judge.                                          in one of the private cases. 5 Briefly stated, the Bank of New
                                                                          York Mellon and its affiliates (collectively “BNY Mellon”
 *1 This matter now is before the Court because the parties               or the “Bank”) have custodial clients that need to engage
are at an impasse over the question whether defendants                    in currency transactions. At times relevant to the present
should be permitted to take depositions of certain non-party              controversy, the Bank offered a so-called standing instruction
witnesses and over the scope of other such depositions. It is             service pursuant to which it automatically provided currency
well at the outset to bear in mind certain basic considerations:          exchange services as needs arose. All or substantially all of
                                                                          the plaintiffs claim, often among other things, that the Bank,
  • Discovery is a means of obtaining evidence that is                    through a variety of representations to clients, conveyed
    important to the resolution of cases-ideally in a “just,              the impression that it was providing its standing instruction
     speedy, and inexpensive” manner. 1                                   clients with the best prices it could obtain when, in fact, it was
                                                                          charging considerably more.

  • Discovery is not an end in itself.                                    The plaintiffs fall into several categories. First, the
                                                                          government, suing under the Financial Institutions Reform,
        • Discovery is not a means of obtaining raw material
           simply because that raw material, which bears some             Recovery, and Enforcement Act (“FIRREA”), 6 seeks the
           relationship to a matter in controversy, might one             maximum civil penalty permitted by law, which the United
           day be useful. “The purpose of discovery is not                States Attorney's Office asserts amounts to hundreds of
           solely to get information .... Blindly focusing on the         millions of dollars. Second, various BNY Mellon customers,
           universe of relevant information can lead to a very            in some cases individually and in others on behalf of alleged
                                                                          classes of customers, seek damages (1) on the basis of alleged
           expensive discovery process.” 2
                                                                          false or misleading representations with respect to the pricing
  • To guard against discovery abuse, the Federal Rules of                of standing instruction foreign exchange transactions; (2) for
     Civil Procedure now provide that a “court must limit the             breach of contract; and (3) for breach of fiduciary duties
     frequency or extent of discovery otherwise allowed by                allegedly owed to them by the Bank. Third, two actions have



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been brought on behalf of public sector customer plaintiffs         charge,” and (2) show that some customers were not actually
under the California False Claims Act. Fourth, one or more          misled. 10
actions has been brought under ERISA. Finally, a class action
on behalf of purchasers of Bank stock during a relevant period      The customer class plaintiffs dispute these assertions. They
seeks damages for alleged violations of the federal securities      seek a protective order foreclosing the first 11 depositions and
laws, essentially on the theory that BNY Mellon statements          limiting the second group of eight.
concerning its financial position, the results of its operations,
and other matters were false or misleading because they             Neither the government, the other plaintiffs, nor the proposed
failed to disclose what the Bank had been up to with respect        deponents has taken any position on this matter.
to standing instruction foreign exchange trading. While the
aggregate amount of the claims of the private plaintiffs, as far
as the Court is aware, has not been quantified, it doubtless is
a very large number.                                                                          Discussion

                                                                    The customer class plaintiffs place principal reliance on
The Discovery Program                                               the proposition that discovery of absent class members is
 *2 The coordination of all of these actions has involved           permitted only upon a “ ‘strong showing’ “ that “ ‘the
significant effort by both counsel and the Court. After             information sought (1) is not sought with the purpose or
extensive consideration, the Court approved a discovery             effect of harassment or altering membership of the class;
schedule and program, two aspects of which are particularly         (2) is directly relevant to common questions and unavailable
salient to the present motion. First, a deposition taken in         from the representative parties; and (3) is necessary at trial
any of the private actions may be used in the government's          of issues common to the class.’ “ 11 Whatever the relevance
case and vice versa. 7 Second, the presumptive limits on            of this standard, it does not carry the day in the unusual
the number of permitted depositions were eliminated. The            circumstances of this case. There is no serious claim here
private plaintiffs and the government, on the one hand, and         of harassment or of attempted alteration of the membership
the defendants on the other each were permitted collectively        of the class. Indeed, not one of the proposed deponents
to take up to 150 fact depositions—i.e., up to a total of 300       has objected to its noticed deposition or to that deposition's
depositions—without further leave of the Court or agreement         scope . 12 Moreover, BNY Mellon contends with some
of the parties. 8                                                   justification that the proposed deponents in fact are percipient
                                                                    witnesses rather than mere bystanders who are included in the
                                                                    class but have no relevant evidence to give. So the question
The Present Controversy                                             comes down to the relevance of the proposed discovery and
The Bank already has taken more than 30 depositions                 its significance in the litigation of this case. And while the
of named plaintiffs and their agents or representatives in          customer class plaintiffs have touched on this only briefly, it
the customer cases. It now seeks to depose 11 absent                is the issue at the heart of this matter.
customer class members mentioned, if only in passing, in
the government action, and an additional eight such absent           *3 BNY Mellon does not claim that any of these proposed
class members who worked as investment managers for                 depositions is critical to the defense of any of these cases save
named plaintiffs. The Bank argues that these depositions            the government's. And the Bank has overreached even as to
are appropriate because the testimony of these witnesses is         the government action.
relevant to the government action on the theory that the
government alleges that the Bank “engaged in a massive              The government here sues under FIRREA. As explained
scheme to defraud its ‘clients and/or their investment              in DOJ Case, its theory is that the Bank is liable for
managers' by ‘providing them confusing and misleading               civil penalties because it violated the mail and wire fraud
information.’ “ 9 It contends that the testimony it hopes to        statutes and thereby “affect[ed] a federally insured financial
obtain is “critical to its defense” because it may (1) reveal       institution.” 13 The government alleges, in essence, that the
that there is disagreement in the industry about what “best         Bank participated in a fraudulent scheme to bilk its clients
execution requires” and over the meaning of the term “free of       and harmed itself in the process by putting federally insured
                                                                    deposits at risk. 14


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                                                                    evidence bearing on industry custom without gearing up the
                                                                    costly machinery of depositions. No one has suggested that
The mail and wire fraud statutes “prohibit the use of mails or
                                                                    the proposed deponents will testify about the alleged scheme's
wires in furtherance of ‘any scheme or artifice to defraud.’
                                                                    impact, or lack thereof, on BNY Mellon or about the Bank's
“ 15 To prove that BNY Mellon violated these statutes,
                                                                    intent. Nor could they.
the government will have to show, among other things,
that the Bank (1) affirmatively misrepresented, or failed to
                                                                    Thus, while evidence obtained from the proposed depositions
disclose, material information that it had a duty to disclose,
                                                                    might be relevant, in the capacious sense of Federal Rules
and (2) acted with “fraudulent intent,” defined in somewhat
                                                                    of Evidence 401 and Civil Procedure 26(b)(1), to some issue
more specific terms as “ ‘a conscious knowing intent to
                                                                    in the government's case, the Court finds that such evidence
defraud.’ “ 16 It will have to show also that the Bank “            is sufficiently unimportant to resolution of the issues at hand
‘contemplated or intended some harm to the property rights
                                                                    that discovery should be circumscribed. 21
                                                17
of the victim[s]’ “ of its fraudulent scheme. What it will
not have to prove is that those victims actually relied on
the Bank's misrepresentations or omissions. 18 Stated another
                                                                                              Conclusion
way, fraudulent intent in this Circuit “comprises two principal
parts: (1) intent to deceive and (2) contemplation of actual        In this Court's view, the Bank's arguments here are an attempt
                       19                                           to take a bridge too far. This is a big case. Vast amounts
harm to the victim.”   It does not require that the victim
actually be deceived or even that the victim actually be            of money are at stake. But the need for these depositions—
harmed.                                                             significantly overstated as it is—is insufficient in light of the
                                                                    dubious relevance and materiality of the testimony at issue.
With these considerations in mind, testimony by Bank                Accordingly, customer class plaintiffs' motion for a protective
customers or their investment managers about their particular       order [DI 486] is granted in all respects.
understandings of the term “best execution,” for example,
would be only tangentially relevant, if it is relevant at all, to   *4 SO ORDERED.
whether the Bank acted with fraudulent intent. The Bank's
intent depends on what the Bank thought, not on what these
                                                                    All Citations
proposed witnesses thought. It is, of course, the Bank that is in
the best position to produce evidence as to its understanding       Not Reported in F.Supp.3d, 2014 WL 5392465
and the basis for it. 20 And the Bank is well situated to obtain




                                                            Footnotes


1       Fed.R.Civ.P. 1.

2       Sidney K. Kanazawa, Rethinking Discovery and Document Retention in the Digital Age, 13 (No. 1) PRAC.
        LITIGATOR 39, 47 (2002).

3       Fed.R.Civ.P. 26(b)(2)(C).

4       United States v. Bank of New York Mellon, 941 F.Supp.2d 438 (S.D.N.Y.2013) [“DOJ Case” ].

5       In re Bank of New York Mellon Corp. Forex Transactions Litig., 921 F.Supp.2d 56 (S.D.N.Y.2013).

6
           12 U.S.C. § 1833a.




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7      See Am. Scheduling Order [DI 422] § 2, ¶ 6. Notwithstanding this agreement, the parties reserved their rights
       to object to the use of deposition testimony on any other grounds. See id.

8      See id. § 2, ¶¶ 9–10.

9      BNY Mellon Opp'n [DI 488; filed under seal], at 1 (quoting DOJ Case, No. 11–cv–6969 (LAK), Compl. [DI
       31] ¶ 4). The Bank refers also to the complaint of the New York Attorney General, which is pending in the
       state court. See id.

10     Id. at 1–2.

11     Mot. for Protective Order [DI 486], at 2 (quoting McCarthy v.. Paine Webber Grp., 164 F.R.D. 309, 313
       (D.Conn.1995)).

12     See BNY Mellon Opp'n, at 1.

13     DOJ Case, 941 F.Supp.2d at 451.

14     See id. at 463.

15
       Id. (quoting      18 U.S.C. §§ 1341,     1343).

16
         United States v. Autuori, 212 F.3d 105, 116, 118 (2d Cir.2000) (quoting               United States v. Guadagna,
       183 F.3d 122, 129 (2d Cir.1999)).

17
          Id. at 116 (quoting     Guadagna, 183 F.3d at 129).

18
          See, e.g., Bridge v. Phoenix Bond & Indent. Co., 553 U.S. 639, 648–49 (2008) (“Using the mail to execute
       or attempt to execute a scheme to defraud is indictable as mail fraud ... even if no one relied on any
       misrepresentation.”);        Neder v. United States, 527 U.S. 1, 24–25 (1999) (“The common-law requirement[ ]
       of justifiable reliance ... plainly ha[s] no place in the federal fraud statutes.” (internal quotation marks omitted)).

19
       DOJ Case, 941 F.Supp.2d at 464 (citing         United States v. Regent Office Supply Co., 421 F.2d 1174, 1180–
       81 (2d Cir.1970)).

20     The testimony of these witnesses might be relevant, in the broad Federal Rule of Evidence 401 sense, to
       the question whether there was a common understanding of the term “best execution.” That in turn could
       bear on the Bank's intent and on the meaning of various customer contracts to the extent any such common
       understanding was known to the Bank. But such an attenuated chain of relevance does not justify “the burden
       or expense of the proposed discovery,” which “outweighs its likely benefit” in large part because the testimony
       the Bank seeks is most likely to be available from the Bank's own sources. See Fed.R.Civ.P. 26(b)(2)(C).
       Moreover, the Bank is in the best position to provide evidence as to what the Bank thought, and it has not
       contended that these depositions would be necessary or even useful in proving a common understanding for
       the purpose of assessing the extent and nature of the Bank's knowledge.

21     See id. R. 26(b)(2)(C)(iii).



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                                                                   Patent”), No. 8,450,249 (“the '249 Patent”), and No.
                    2016 WL 11745554                               8,450,250 (“the '250 Patent”) (collectively, “the Patents-in-
     Only the Westlaw citation is currently available.             Suit”). The Patents-in-Suit claim methods for the introduction
United States District Court, S.D. Texas, Houston Division.        of drag reducing agents (“DRAs”) into heavy, asphaltenic
                                                                   hydrocarbon streams to achieve drag reduction as the
  LUBRIZOL SPECIALTY PRODUCTS, INC., Plaintiff,                    hydrocarbon stream flows through the pipeline. Lubrizol's
                     v.                                            ExtremePower products embody the patented methods.
          FLOWCHEM LLC, Defendant.
                                                                   Lubrizol alleges that in 2014 Flowchem began offering to
                  Civil Action No. H-15-2917                       supply heavy oil DRAs under the name “TURBOFLO.”
                               |                                   Lubrizol alleges that its test results on samples of Flowchem's
                       Signed 06/21/2016                           TURBOFLO product showed that the active ingredient in
                                                                   Flowchem's product was the same as in Lubrizol's products.
Attorneys and Law Firms                                            As a result, Lubrizol alleges that Flowchem will imminently
                                                                   infringe the Patents-in-Suit.
Aaron Huang, Weil, Gotshal & Manges LLP, Redwood
Shores, CA, Claire K. Comfort, Eric S. Hochstadt, Weil,
                                                                   In its Amended Answer, Flowchem asserts counterclaims
Gotshal & Manges LLP, New York, NY, Douglas W.
                                                                   seeking a declaratory judgment that Lubrizol's patents
McClellan, Weil, Gotshal Manges LLP, Houston, TX,
                                                                   are invalid, that Flowchem is not infringing the Lubrizol
Elizabeth S. Weiswasser, Julie A. Harris, The Lubrizol Corp.,
                                                                   patents, and that Lubrizol's patents are unenforceable due
Wickliffe, OH, Suzanne Faul Day, The Lubrizol Corp.,
                                                                   to inequitable conduct. Additionally, Flowchem asserts a
Houston, TX, for Plaintiff.
                                                                   counterclaim for monopolization in violation of Section 2 of
Cristina Espinosa Rodriguez, Jillian Collum Beck, Maria            the Sherman Act (“Antitrust Counterclaim”).
Wyckoff Boyce, Hogan Lovells US LLP, Houston, TX,
Jeffrey S. Whittle, Mark Dewey Shelley, II, Womble Bond
                                                                   II. ANALYSIS
Dickinson (US) LLP, Houston, TX, Steven Hollman, Hogan
                                                                   “For convenience, to avoid prejudice, or to expedite and
Lovells US, L.L.P, Washington, DC, for Defendant.
                                                                   economize, the court may order a separate trial of one or more
                                                                   separate issues, claims, crossclaims, counterclaims, or third-
                                                                   party claims.” FED. R. CIV. P. 42(b). A motion to bifurcate
             MEMORANDUM AND ORDER                                  “is a matter within the sole discretion of the trial court.”

NANCY F. ATLAS, SENIOR UNITED STATES DISTRICT                         Conkling v. Turner, 18 F.3d 1285, 1293 (5th Cir. 1994)
JUDGE
                                                                   (quoting    First Tex. Sav. Ass'n v. Reliance Ins. Co., 950 F.2d
 *1 This patent case is before the Court on the Motion             1171, 1174 n.2 (5th Cir. 1992)); see also    Gardco Mfg. v.
to Bifurcate and Stay Discovery of Flowchem's Antitrust            Herst Lighting Co., 820 F.2d 1209, 1212 (Fed. Cir. 1987);
Counterclaim (“Motion to Bifurcate”) [Doc. # 77] filed by          Chartis Specialty Ins. Co. v. Tesoro Corp., 930 F. Supp. 2d
Counterclaim Defendant Lubrizol Specialty Products, Inc.           653, 662 (W.D. Tex. 2013). “Separation of issues, however, is
(“Lubrizol”), to which Counterclaim Plaintiff Flowchem LLC
                                                                   not the usual course that should be followed.”     McDaniel
(“Flowchem”) filed an Opposition [Doc. # 82], and Lubrizol
                                                                   v. Anheuser–Busch, Inc., 987 F.2d 298, 304 (5th Cir. 1993).
filed a Reply [Doc. # 85]. Based on the Court's review of the
                                                                   An important requirement for separate trials under Rule 42(b)
record and the applicable legal authorities, the Court exercises
                                                                   is that the issue to be bifurcated “must be so distinct and
its discretion to deny the Motion to Bifurcate at this stage of
                                                                   separate from the others that a trial of it alone may be had
the proceedings.
                                                                   without injustice.”     Id. at 305. “This limitation on the use
                                                                   of bifurcation is a recognition of the fact that inherent in the
I. BACKGROUND                                                      Seventh Amendment guarantee of a trial by jury is the general
Lubrizol is the owner of      United States Patents No.            right of a litigant to have only one jury pass on a common
8,022,118 (“the '118 Patent”), No. 8,426,498 (“the '498            issue of fact.” Id. (emphasis in original). This limitation also



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                                                                      lawyers' and witnesses' time and other resources to require the
has a pragmatic rationale – “if two juries were allowed to pass
                                                                      same witnesses to be deposed more than once.
on an issue involving the same factual and legal elements,
the verdicts rendered by those juries could be inconsistent,
                                                                      The Court concludes that bifurcation of discovery would
producing intolerably anomalous results.” Id.
                                                                      not further convenience or avoid prejudice in this case and,
                                                                      therefore, denies the Motion to Bifurcate as to the request
 *2 In this case, Lubrizol seeks to bifurcate and stay
                                                                      for a stay of discovery. It may appear later, however, that
discovery of Flowchem's antitrust claim until its own patent
                                                                      bifurcated trials, as opposed to bifurcated discovery, would
claims and Flowchem's defenses are resolved. Lubrizol
                                                                      be conducive to an expedited and economical resolution of
argues correctly that if it prevails on its patent claims, then
                                                                      this case. Because discovery will have been completed on all
Flowchem's antitrust claim fails as a matter of law and
                                                                      claims, the bifurcated claims could be presented to the same
there will be no need for additional discovery. It is unclear
                                                                      jury if Lubrizol is unsuccessful on its patent claims. This will
at this early stage of the proceedings, however, whether
                                                                      allow the same jury to decide all fact issues and will, therefore,
Lubrizol will ultimately prevail on its patent infringement
                                                                      prevent the need to educate two separate juries on the relevant
claims. Although bifurcation and a stay of discovery on
                                                                      technology. Therefore, if appropriate, either party may move
the antitrust claim could potentially be more convenient
                                                                      for a bifurcated trial after the completion of discovery.
and avoid potential increased expense to Lubrizol, it would
prejudice Flowchem's right to have its antitrust claim resolved
promptly, economically, and by the same jury that hears and           III. CONCLUSION AND ORDER
decides the patent issues.                                            Bifurcation of discovery in this case would neither further
                                                                      convenience nor avoid prejudice. Accordingly, it is hereby
Additionally, bifurcation and a stay of discovery could
increase the expense for both parties. Bifurcation and a              ORDERED that Lubrizol's Motion to Bifurcate and Stay
stay of discovery would increase the likelihood of discovery          Discovery of Flowchem's Antitrust Counterclaim [Doc. # 77]
disputes due to the parties' disagreement regarding whether           is DENIED.
requested discovery is subject to the stay since much of the
relevant discovery on Flowchem's defenses and its antitrust
counterclaim overlap. Expenses could also be increased                All Citations
because of duplicative discovery. For example, some of the
individuals to be deposed would be the same for all claims,           Not Reported in Fed. Supp., 2016 WL 11745554
and it would be an inconvenience as well as a waste of

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                                                                  companies primarily outside the United States, and Defendant
                   2006 WL 2850061                                is a leading manufacturer of automotive fuel pumps and
      Only the Westlaw citation is currently available.           fuel pump modules. TI Group markets both original and
               United States District Court,                      replacement automotive fuel pumps and fuel pump modules,
                       S.D. Texas,                                while Performance sells only aftermarket replacement parts.
                    Houston Division.
                                                                  TI Group is the owner of the three patents described
           PERFORMANCE AFTERMARKET                                in the Complaint, and it has asserted a counterclaim
          PARTS GROUP, LTD., et al., Plaintiffs,                  that Performance's replacement fuel pumps infringe those
                        v.                                        patents. Plaintiffs, maintaining that their fuel pumps are non-
                                                                  infringing, seek a declaratory judgment of patent invalidity
              TI GROUP AUTOMOTIVE
                                                                  and non-infringement. Plaintiffs also assert the defenses
              SYSTEMS, INC., Defendant.
                                                                  of laches and equitable estoppel, and they have antitrust
                 Civil Action No. H-05-4251.                      and business disparagement claims. Defendant's patent
                               |                                  infringement claims are counterclaims in this case.
                        Oct. 3, 2006.
                                                                  After Defendant's Motion to Dismiss the antitrust and
Attorneys and Law Firms                                           business disparagement claims was denied, Defendant filed
                                                                  this Motion to Bifurcate. Defendant seeks to bifurcate
Stephen R. Cochell, Epstein Becker et al, Houston, TX, for        and stay discovery on Plaintiffs' antitrust and business
Plaintiff.                                                        disparagement claims until its counterclaim for patent
                                                                  infringement is decided.
John C. Blattner, J. Michael Huget, Butzel Long PC, Ann
Arbor, MI, John R. Keville, Howrey LLP, Stephen R. Cochell,
Epstein Becker et al, Houston, TX, for Defendant.                 II. ANALYSIS
                                                                  The Federal Rules of Civil Procedure allow a district court,
                                                                  in furtherance of convenience or to avoid prejudice, or
             MEMORANDUM AND ORDER                                 when separate trials will be conducive to expedition and
                                                                  economy, [to] order a separate trial of any claim, cross-claim,
NANCY F. ATLAS, District Judge.
                                                                  counterclaim, or third-party claim, or of any separate issue or
 *1 This patent and antitrust case is before the Court on the     of any number of claims, cross-claims, counterclaims, third-
Motion to Bifurcate and Stay Discovery Pursuant to Rule           party claims or issues....” FED.R.CIV.P. 42(b). A motion to
42(b) (“Motion to Bifurcate”) [Doc. # 45] filed by Defendant      bifurcate “is a matter within the sole discretion of the trial
TI Group Automotive Systems, LLC (“TI Group”). TI Group           court.”    First Tex. Sav. Ass'n v. Reliance Ins. Co., 950 F.2d
filed a Supplemental Brief [Doc. # 49], to which Plaintiffs
                                                                  1171, 1174 n. 2 (5th Cir.1992); see also    Gardco Mfg. v.
Performance Aftermarket Parts Group, Ltd. (“Performance”)
                                                                  Herst Lighting Co., 820 F.2d 1209, 1212 (Fed.Cir.1987).
and G & C Automotive Distributors, Inc. (“G & C”) filed a
response [Doc. # 54], and TI Group filed a reply [Doc. # 59].
                                                                  Frequently, parties seek to bifurcate liability and damages
Based on the Court's review of the record in this case and the
                                                                  phases of a trial, or to bifurcate the punitive damages phase.
application of governing legal authorities, the Court exercises
                                                                  In this case, however, Defendant seeks to bifurcate and stay
its discretion to deny the Motion to Bifurcate at this stage of
                                                                  discovery of Plaintiffs' claims until its own counterclaims
the proceedings.
                                                                  are resolved. This strategy would not, however, further
                                                                  convenience or avoid prejudice. Instead, bifurcation and a
I. BACKGROUND                                                     stay of discovery would seriously prejudice Plaintiffs' right
The factual and procedural background of this case is set         to have a prompt resolution of the claims they filed against
forth fully in the Memorandum and Order entered August            Defendant. 1
11, 2006 [Doc. # 44] addressing Defendant's Motion to
Dismiss. Briefly, Plaintiffs supply automotive products to



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                                                                     It may appear later, however, that bifurcated trials, as
 *2 Defendant argues that if its patents are found to be
                                                                     opposed to bifurcated discovery, would be conducive to an
valid and Plaintiffs' products are found to be infringing,
                                                                     expedited and economical resolution of this case. Should that
then Plaintiffs' antitrust and business disparagement claims
                                                                     happen, either party may move for a bifurcated trial after the
fail and there will be no need for additional discovery.
                                                                     completion of discovery.
Plaintiffs disagree with Defendant's characterization but,
more importantly, it is far from clear in this case that
Defendant will prevail on its patent infringement claims.
                                                                     III. CONCLUSION AND ORDER
Additionally, Defendant argues that the fact issues on the
                                                                     Bifurcation of discovery in this case would neither further
patent infringement claims are distinct from the fact issues
                                                                     convenience nor avoid prejudice. Accordingly, it is hereby
on the antitrust and business disparagement claims. Even if
Defendant is correct, many of the persons to be deposed
                                                                     ORDERED that Defendant's Motion to Bifurcate and Stay
and otherwise provide discovery would be the same for all
                                                                     Discovery [Doc. # 45] is DENIED. Either party may, if
claims, and it would be an inconvenience as well as a waste
                                                                     appropriate after the close of discovery, move for bifurcated
of lawyers' and witnesses' time and other resources to require
                                                                     trials of the patent issues and the antitrust and business
the same witnesses to be deposed more than once. The Court
                                                                     disparagement issues.
concludes that bifurcation of discovery would not further
convenience or avoid prejudice in this case and, therefore,
denies the Motion to Bifurcate as to the request for a stay of       All Citations
discovery.
                                                                     Not Reported in F.Supp.2d, 2006 WL 2850061




                                                         Footnotes


1      TI Group filed its patent infringement claims against Performance in November 2005 in the Eastern District
       of Michigan, but dismissed the lawsuit voluntarily after Performance challenged personal jurisdiction.



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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03010-APM
                                                      HON. AMIT P. MEHTA
 v.

 GOOGLE LLC,

                                Defendant.



 STATE OF COLORADO, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03715-APM
                                                      HON. AMIT P. MEHTA
 v.

 GOOGLE LLC,

                                Defendant.


                         ORDER TO BIFURCATE PROCEEDINGS

       The Parties in the above-captioned actions have jointly requested to bifurcate the

proceedings to hold separate trials on liability and, if necessary, remedy.

       Rule 42(b) of the Federal Rules of Civil Procedure authorizes a court to hold a separate

trial on one or more separate issues, “[f]or convenience, to avoid prejudice, or to expedite and

economize.” The Court has considered the Parties’ requests for separate trials in this matter

regarding (a) the liability of the Defendant for violations of Section 2 of the Sherman Act, 15

U.S.C. § 2, as alleged by the U.S. Plaintiffs and the Plaintiff States, and (b) the remedies for any

such violations.




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       The Court finds that, to the extent necessary, holding separate trials on the issues of

liability and remedies will be more convenient for the Court and the Parties, and will expedite

and economize this litigation.

       IT IS THEREFORE ORDERED

       1.      There will be a liability phase in each matter that will address only the

Defendant’s liability under the Sherman Act, and, if the Court renders a decision finding the

Defendant liable, the Court will hold separate proceedings regarding the remedies for

Defendant’s violation(s) of the Sherman Act.

       2.      During the liability phase, expert discovery and testimony need not offer specific

opinions regarding particular remedies beyond that necessary to demonstrate liability under

Section 2 of the Sherman Act.

       3.      Nothing in this Order shall (a) alter the Parties’ respective abilities in either action

to offer evidence relevant to any issue in the liability proceedings nor alter the burden of proof,

persuasion, or production to establish each and every element of liability, justifications, or

defenses, or (b) prohibit or limit discovery during the liability phases of these actions on issues

relevant to liability under Section 2 of the Sherman Act.



 Dated:                                                  _____________________________
                                                                   Amit. P. Mehta
                                                          United States District Court Judge




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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

 UNITED STATES OF AMERICA,et al

                        Plaintiffs,

        V.                                             Civil Action No. I:23cv0108(LMB/JFA)

 GOOGLE LLC,

                        Defendant.



                                               ORDER


        This matter is before the court on plaintiffs' motion to clarify scheduling order. (Docket

 no. 276). This motion was filed on June 30,2023 and was noticed for a hearing on July 7, 2023.

 (Docket no. 278). On July 3, 2023, the court entered an order indicating this motion would be

 decided without argument once defendant filed its response. (Docket no. 281). On July 5, 2023,

 defendant filed its brief in opposition. (Docket no. 282).

        As shown in the memorandum in support of this motion and defendant's opposition, the

 parties agree that if plaintiffs prevail on their claims before the jury and make a determination to

 seek equitable relief, a separate proceeding before the District Judge would be necessary.

 Plaintiffs' motion requests that if a hearing on equitable relief is necessary following the jury

 trial, the court should determine "at that time the extent to which additional fact and expert

 discovery related to equitable remedies is necessary". (Docket no. 276 at 1). Defendant opposes

 this motion on various grounds, some procedural and some substantive. Defendant argues this is

 not a motion to clarify but it is a motion to modify the scheduling order that would require a

 showing of good cause. Defendant states that the issue of conducting additional discovery as to

 equitable remedies following the jury trial was not discussed during the negotiations concerning

                                                   1


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 the scheduling order. Defendant notes there is no provision in the scheduling order addressing

 how the court would proceed with determining plaintiffs' entitlement to equitable relief

 following the jury trial or the bifurcation of discovery relating to potential equitable remedies.

 Defendant takes the position that the deadlines in the scheduling order requiring that all fact and

 expert discovery must be completed by certain dates includes all fact and expert discovery

 concerning any equitable remedies that plaintiffs may seek following any verdict in plaintiffs'

 favor. Defendant argues that it would be prejudicial at this stage ofthe proceedings to

 "bifurcate" any discovery relating to potential equitable relief. Defendant relies on Judge

 Payne's approach in Steves & Sons, Inc. v. Jeld-Wen, Inc., 345 F. Supp. 3d 614(E.D. Va. 2018)

 in which it appears that no additional fact discovery was undertaken between the jury verdict and

 the court's initial determination on plaintiffs entitlement to equitable relief. However,in that

 case Judge Payne's initial and supplemental scheduling orders specifically addressed the timing

 of an evidentiary hearing regarding equitable relief, if needed,following the jury trial.'
         Given that the current scheduling order in this case does not address the procedure to be

 followed ifthe jury finds for plaintiffs and plaintiffs then decide to pursue equitable relief,

 seeking some clarification on that matter is appropriate. Plaintiffs' motion makes the seemingly

 simple request that the court would determine what additional fact and expert discovery "is

 necessary" if plaintiffs prevail at the jury trial and then decide to seek equitable relief based on




        'A review ofthe docket sheet in Steves & Sons reveals the process followed by Judge
 Payne after the initial jury trial included having the plaintiff identify the specific equitable relief
 being sought, the legal basis for that relief, the witnesses to be called, and the documents
 intended to be introduced. The parties were directed to provide a list of expert witnesses to be
 called at the hearing and to agree on a schedule for exchanging expert reports relating to the
 equitable relief being sought. (Docket no. 1132). After Judge Payne found divestiture was
 appropriate, a special master was appointed to obtain information and make a recommendation
 as to how that divestiture should be accomplished.



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 the jury's verdict. Justifiably, defendant is concerned that plaintiffs' request could be interpreted

 as an indication that additional fact discovery would be necessary which could result in another

 round of expensive and time-consuming fact discovery. As shown in the correspondence

 reflecting the consultation among counsel prior to filing this motion (Docket nos. 282-3 and 282-

 4)and in plaintiffs' memorandum, plaintiffs have failed to provide defendant or the court with

 any specific information concerning what additional discovery may be needed that is "unique to

 potential equitable remedies". They refer to "technical feasibility" and the potential need to

 review additional source code, hardware on which the source code resides, and Application

 Programming Interface calls made among and within defendant's systems but they do not

 specify how any of that information would be needed to argue what equitable remedy is

 appropriate based on the jury's findings. In any event, the first step in this process is that

 plaintiffs must obtain ajury verdict in its favor. The next step would be for plaintiffs to decide,

 based on the jury's findings, whether they want to seek any equitable relief and, if so, what relief

 they want to request. As in Steves & Sons, plaintiffs will need to identify the equitable relief

 being sought based on the outcome ofthe jury trial promptly and provide the legal basis for that

 requested relief. At that point, it is likely that the parties would need to engage in some limited,

 additional exchange ofexpert reports that would address the specific remedies being sought.

        For these reasons, plaintiffs' motion is granted in part. In the event plaintiffs obtain a

 jury verdict is their favor on liability and monetary damages,the court will promptly convene a

 status conference to discuss whether plaintiffs wish to pursue equitable relief based on the jury's

 verdict, what equitable relief plaintiffs intend to pursue, the schedule for exchanging expert

 reports addressing the specific equitable remedy or remedies being sought, the schedule for

 briefing by the parties, and a date for the hearing. While it is unlikely that additional fact




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 discovery will be necessary for the court to decide what, if any, equitable remedies are

 appropriate, the parties will have the opportunity to address that issue at that status conference

 following any jury verdict in plaintiffs' favor.

        Entered this 11th day of June, 2023.                                                 -
                                                        John F. Anderson
                                                        United States IVIagiRtrafP .tprfge
                                                       John F. Anderson
                                                       United States Magistrate Judge
 Alexandria, Virginia




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                                                                For the reasons explained below, the Court DENIES the
                     2017 WL 2778104                            Townsend Defendants' Motion for Temporary Stay of
     Only the Westlaw citation is currently available.          Discovery and Protective Order [Dkt. No. 45] and Defendant
 United States District Court, N.D. Texas, Dallas Division.     Kelly Goodwin’s Motion for Protective Order [Dkt. No. 47].

        Felipe VALENZUELA, et al., Plaintiffs,
                      v.                                                                Background
    CREST-MEX CORPORATION, et al., Defendants.
                                                                In support of their Motion for Temporary Stay of Discovery
                     No. 3:16-cv-1129-D                         and Protective Order, the Townsend Defendants explain that
                              |
                     Signed 06/26/2017                            Plaintiffs sued ten defendants alleging that they all
                                                                  employed Plaintiffs, for purposes of the [Fair Labor
Attorneys and Law Firms                                           Standards Act (“FLSA”) ], and claiming that they were
                                                                  not paid $23,273.00 in wages for work as maintenance
Jamie Harrison Zidell, Joshua Aaron Petersen, Robert Lee          workers on the La Sierra Apartments located in Dallas,
Manteuffel, J.H. Zidell PC, Dallas, TX, for Plaintiffs.           Texas. Defendants moved to dismiss because the FLSA
                                                                  does not cover Plaintiffs and because Defendant Townsend
Leland C. de la Garza, Barrett Christopher Lesher, Hallett &
                                                                  is not an “employer” of Plaintiffs under the FLSA.
Perrin PC, Derek D. Rollins, Martha Hardwick Hofmeister,
                                                                  Defendants' motion to dismiss presented threshold issues
Timothy D. Zeiger, Michelle Morgan, Shackelford, Melton,
                                                                  that should be addressed before Defendants are subjected
McKinley & Norton, LLP, Dallas, TX, for Defendants.
                                                                  to the considerable expense and burden of this type of
                                                                  litigation. The motion to dismiss is pending. Defendants
                                                                  also recently filed a motion to compel arbitration based
     MEMORANDUM OPINION AND ORDER 1                               on newly discovered arbitration agreements. Defendants
                                                                  requested that the Court rule on the motion to compel
DAVID L. HORAN, UNITED STATES MAGISTRATE
                                                                  arbitration prior to ruling on the motion to dismiss.
JUDGE
                                                                  Meanwhile, Plaintiffs have initiated a barrage of discovery
 *1 Defendants Thomas Townsend, Crest-Mex Corporation
                                                                  directed at all Defendants, including hundreds of discovery
d/b/a La Sierra Apartments, MTORMA Trust, Dallas Net
                                                                  requests and seeking to depose all nine defendants in
Lease Trust, Sierra Management Trust, Sierra Management
                                                                  this lawsuit. Much of the written discovery is subject
Co., La Sierra Apartments Trust, Cedar Sierra Management
                                                                  to objection given its overbreadth, request for irrelevant
Co., LLC., and 3328 Cedar Plaza Lane Apartments, Inc.
                                                                  material, and the undue burden that would be imposed on
(collectively, the “Townsend Defendants”) have filed a
                                                                  Defendants. If discovery is not stayed, Defendants will be
Motion for Temporary Stay of Discovery and Protective
                                                                  forced to spend an amount complying with the discovery
Order [Dkt. No. 45], and Defendant Kelly Goodwin has filed
                                                                  that exceeds Plaintiffs' damages, all before Defendants'
a Motion for Protective Order [Dkt. No. 47].
                                                                  threshold motions are ruled upon. Defendants are hereby
                                                                  moving for protection from such discovery by asking the
United States District Judge Sidney A. Fitzwater has referred
                                                                  Court to exercise its discretion to protect Defendants from
both motions to the undersigned United States magistrate
                                                                  discovery until the Court rules on Defendants' motion
judge for determination under     28 U.S.C. § 636(b)(1)(A).       to compel arbitration and/or motion to dismiss. For the
See Dkt. No. 48.                                                  reasons shown below, good cause exists for the Court to
                                                                  exercise its discretion.
Plaintiffs Felipe Valenzuela and Jose Guillermo Gandara have
filed a response to each motion, see Dkt. Nos. 50 & 51, and     Dkt. No. 45 at 1-2 (footnote omitted).
the Townsend Defendants and Goodwin have filed replies, see
Dkt. Nos. 52 & 54.                                               *2 More specifically, the Townsend Defendants contend that
                                                                their request should be granted after considering the relevant
                                                                factors of “(1) the breadth of discovery sought; (2) the burden



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of responding to such discovery; and (3) the strength of the        times 9 depositions). Exhibit G, Lesher Decl., ¶ 4 (App.
dispositive motion filed by the party seeking the stay.” Id. at     48). Thus, Plaintiffs seek to impose on Defendants as much
4. They assert, as to the first factor, that                        as 101 hours of discovery burden, seeking discovery on all
                                                                    issues in the case, while Defendants' potentially dispositive
                                                                    Motion is pending.
            Plaintiffs served on the nine moving
                                                                  Id. at 5. And, as to the third factor, the Townsend Defendants
            Defendants a total of 603 discovery
                                                                  assert that,
            requests: 13 requests for admission,
            12 interrogatories, and 42 requests                     [a]t the threshold of this case, Defendants challenged
            for production for each of the nine                     Plaintiffs' standing to bring a claim under the Fair Labor
            moving Defendants. These discovery                      Standards Act (“FLSA”) because there is no individual or
            requests are wide-reaching and will                     enterprise coverage. And, Defendant Townsend challenged
            require much work by Defendants to                      Plaintiff’s right to sue him as an “employer” under the
            comply with the requests. In addition,                  FLSA.
            on April 26, 2017, Plaintiffs' counsel
            requested dates for the depositions of                  Plaintiffs claim they worked as maintenance employees
            corporate representatives of the eight                  at the La Sierra Apartments in Dallas until March 1,
            corporate Defendants and Defendant                      2006. (Complaint, ¶ 20, 21) Plaintiffs claim, in conclusory
            Townsend. .... The topics listed in                     fashion, that Defendants' business and Plaintiffs' work
            Plaintiffs' counsel’s letter are equally                for Defendants “affected interstate commerce” because
            wide-reaching.                                          “materials and goods that Plaintiffs used” in their
                                                                    job “moved through interstate commerce prior to and
                                                                    subsequent to Plaintiffs' use.” (Complaint, ¶ 22) Plaintiffs
Id. at 4-5 (citations omitted). As to the second factor, the        claim that Defendant Townsend ran the apartment business
Townsend Defendants argue that                                      primarily from California, while making trips to Texas
                                                                    to supervise on-site operations. (Complaint, ¶ 22) Based
  Plaintiffs' counsel is seeking to conduct all of Plaintiffs'      on these allegations, Plaintiffs assert coverage under the
  discovery while Defendants' Motions are pending, thereby          FLSA.
  subjecting Defendants to the burden of this discovery
  even if its motions are meritorious and are ultimately             *3 Defendants' Motion challenges Plaintiffs' pleading
  granted. The burden is substantial. The discovery has been        of FLSA coverage, both from Plaintiffs' side and from
  propounded on all nine moving Defendants and in total             Defendants' side. Defendants' Motion cites numerous
  comprise 603 discovery requests. The large number of              authorities, including this Court’s own decision in Lopez-
  discovery requests demonstrates the obvious burden that           Santiago v. Coconut Thai Grill, 2014 WL 840052 (N.D.
  will be imposed on Defendants.                                    Tex. 2014), rejecting FLSA coverage allegations similar
                                                                    to those in Plaintiffs' complaint. The Court should rule on
  Beyond the sheer magnitude of the discovery, as reflected         this threshold issue (and Townsend’s “employer” issue)
  in the attached declaration of Defendant Townsend, it             before Defendants are subjected to the burden of all-out
  will take Defendants at least thirty hours to comply with         discovery in this case. If the FLSA does not apply, then
  the discovery requests. Exhibit F, Townsend Decl., ¶ 3            Plaintiffs' lawsuit based solely on the FLSA should not be
  (App. 46). And, as reflected in the attached declaration          allowed to proceed and Defendants should not be subjected
  of Barrett Lesher, one of Defendants' counsel, it will            to the burden of Plaintiffs' discovery. It would be manifestly
  take Defendants' counsel at least ten hours to prepare the        unjust to give Plaintiffs' full discovery before they have
  discovery responses. Exhibit G, Lesher Decl., ¶ 3 (App.           even made it past the threshold FLSA coverage issue.
  48).
                                                                    Additionally, Defendants' motion to compel arbitration is
  The depositions of the eight corporate representatives            as equally strong. Defendants presented the court with two
  and Defendant Townsend, a total of nine depositions, is           arbitration agreements that were provided to Plaintiffs, and
  expected to take at least eight hours of preparation and          Plaintiffs continued to work and accept pay after receiving
  potentially as much as 63 hours of depositions (7 hours           the agreements. Additionally, Plaintiffs' claims fall within


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  the scope of the agreements. Therefore, Defendants have         to compel arbitration are strong and would suffice as an
  provided strong arguments in support of arbitration.            independent basis on which to wholly protect Goodwin from
                                                                  the Discovery Requests.” Id. at 3 n.1. “Goodwin, therefore,
Id. at 5-7.                                                       moves this Court for complete protection from the Discovery
                                                                  Requests, or at least until such time as the Court has ruled
Finally, the Townsend Defendants contend that a stay is           on Goodwin’s motion to dismiss and/or her co-defendants'
appropriate where they have presented substantial arguments       motions concerning arbitration.” Id. at 2.
for dismissal, where Plaintiffs have served objectionable and
harassing discovery, and where a temporary stay of discovery       *4 Plaintiffs respond that the “Townsend Defendants'
will not unduly delay litigation. See id. at 7-9.                 Motion to Dismiss does not assert an outright legal defense
                                                                  against the allegations in the Complaint other than the statute
Goodwin similarly explains that she has filed a motion to         of limitations as to some of Plaintiffs' claims, but instead
dismiss Plaintiffs' case under Federal Rule of Civil Procedure    attacks the sufficiency of the pleadings under Rule 12(b)(6)
12(b)(6), asserting “that Plaintiffs lack standing, and because   and alleges that Plaintiffs have failed to plead any facts to
Goodwin does not meet the statutory definition of ‘employer,’     support their individual and enterprise coverage allegations
” and that “Plaintiffs served three (3) sets of written           or that Defendant Townsend was their employer”; that, “even
discovery on Goodwin: (1) requests for production, (2)            if the Court finds that Plaintiffs need to provide further
requests for admissions, and (3) interrogatories (collectively,   factual development,” the Court is likely to allow Plaintiffs
the ‘Discovery Requests’).” Dkt. No. 47 at 1. Goodwin asserts     to replead; that, “[a]s to the breadth of discovery sought,
that, “[i]f the Court does not protect Goodwin from the           Plaintiffs' discovery requests in this case inquire into basic
Discovery Requests, she will be forced to spend time and          elements of Plaintiffs' FLSA claims, i.e., hours worked,
money responding to the Discovery Requests that would             identification of goods and materials used, identity of co-
otherwise be unnecessary should the threshold issues made         workers (who are witnesses with knowledge of relevant facts
the subject of her motion to dismiss be decided in her            such as the Plaintiffs' hours worked and the Defendants'
favor and/or should the issues made the subject of her co-        wage and hour policies and practices), amounts paid to
defendants' motions concerning arbitration (which seeks to        Plaintiffs, Defendants' wage and hour policies, and issues
stay this entire proceeding) be decided in their favor.” Id. at   related to FLSA coverage and employer status of the various
2. Goodwin explains that her                                      Defendants”; that, “[w]hile the Townsend Defendants refer
                                                                  to a total of 603 discovery requests, this is a result of the
  dispositive motion challenges Plaintiffs' pleadings, and
                                                                  fact that there are nine separate entities involved in the
  the cases cited therein (including this Court’s own prior
                                                                  business structure created by Defendant Townsend himself,”
  decision) reject FLSA coverage in cases with similar
                                                                  where “Plaintiffs served thirteen requests for admissions,
  allegations. The Court should rule on this threshold issue
                                                                  twelve interrogatories, and forty-two requests for production
  (and Goodwin’s “employer” issue) before Goodwin is
                                                                  on each of the Townsend Defendants”; and that, “[g]iven
  subjected to the burden and expense of discovery in this
                                                                  the relationship between the Townsend Defendants, it is
  case.
                                                                  likely that the majority of the Townsend Defendants will
  If the FLSA does not apply, then Plaintiffs' FLSA lawsuit       have similar, if not identical, responses to most of Plaintiffs'
  should not be allowed to proceed and, correspondingly,          discovery requests.” Dkt. No. 50 at 2, 3, 4-5.
  Goodwin should not be subjected to the burden or expense
  of responding to the Discovery Requests (or, additional         Plaintiffs further respond that,
  discovery such as depositions). It would be manifestly
  unfair, costly to Goodwin, and burdensome to require
  Goodwin to participate in full discovery before Plaintiffs                   [a]s to the burden of responding
  have even made it past the threshold issues described                        to Plaintiffs' discovery requests,
  herein.                                                                      the Townsend Defendants argue in
                                                                               conclusory fashion that the burden
Id. at 3 (footnote omitted). “Notwithstanding these                            of responding to Plaintiffs' discovery
arguments, Goodwin concurs with her co-defendants'                             requests would be “substantial.”
assertion the arguments made the subject of their motion                       The Townsend Defendants' counsel



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             provided an affidavit estimating that                       with the Court and the Court declined
             it would take at least ten hours to                         to enter a similar stay of discovery
             respond to the Plaintiffs' discovery                        less than three months ago, the current
             requests. This amounts to barely                            request to stay discovery should be
             over an hour per party. That the                            declined as well.
             Townsend Defendants' counsel is
             representing nine separate entities
             in this litigation is a fact that is          Id. at 8-9 (citations omitted).
             completely out of Plaintiffs' control.
             The Townsend Defendants' calculation          As to Goodwin’s Motion for Protective Order, Plaintiffs
             of the discovery burden also                  oppose for many of the same reasons as they raise in
             incorporates a “worst case” scenario          opposition to the Townsend Defendants' motion, but Plaintiff
             as to the requested depositions of            also note that, in her motion, Goodwin did not address any
             the parties, presuming that all of the        of the relevant factors in detail and that she “argues only in
             depositions will last the full seven          conclusory fashion that she should not be subjected to the
             hours provided for in the Federal Rules       burden or expense of responding to the discovery requests.”
             of Civil Procedure. Furthermore, the          Dkt. No. 51 at 3.
             burden of deposing the Townsend
             Defendants will fall more heavily on
             Plaintiffs as they will be required to
             engage the services of a court reporter                      Legal Standards and Analysis
             and bear the full cost associated
                                                            *5 The Court has discretion to stay discovery “for good
             therewith, at least until such time
             as they may prevail in this matter.           cause shown.” FED. R. CIV. P. 26(c)(1); accord     Landry
             Finally, the Townsend Defendants              v. Air Line Pilots Ass'n Int'l AFL-CIO, 901 F.2d 404, 436
             have already responded to Plaintiffs'         (5th Cir. 1990); see generally      Landis v. N. Am. Co., 299
             discovery requests with naught but            U.S. 248, 254 (1936) (“[T]the power to stay proceedings is
             objections; albeit the responses are          incidental to the power inherent in every court to control the
             generally improper under Heller v.            disposition of the causes on its docket with economy of time
             City of Dallas, 303 F.R.D. 466 (N.D.          and effort for itself, for counsel, and for litigants.”). Under
             Tex. Nov. 12, 2014), and a motion to          Federal Rule of Civil Procedure 26(c), the Court may, for
             compel may ultimately be necessary.           good cause, issue an order to protect a party or person from
                                                           annoyance, embarrassment, oppression, or undue burden or
                                                           expense. See FED. R. CIV. P. 26(c)(1). “[T]he burden is
Id. at 4 (citations omitted).                              upon [the party seeking the protective order] to show the
                                                           necessity of its issuance, which contemplates a particular
Plaintiffs also note,                                      and specific demonstration of fact as distinguished from
                                                           stereotyped and conclusory statements.”   In re Terra Int'l,
                                                           134 F.3d 302, 306 (5th Cir. 1998) (citations omitted); see
             [a]s one final matter, [that] Defendants
             previously requested that the Court           also    E.E.O.C. v. BDO USA, L.L.P., 856 F.3d 356, 367 (5th
             stay all discovery until after deciding       Cir. 2017), as revised (May 8, 2017). A protective order is
             the Defendants' motions to dismiss            warranted in those instances in which the party seeking it
             when the parties filed their Joint            demonstrates good cause and a specific need for protection.
             Status Report Regarding Scheduling            See Landry, 901 F.2d at, 435. The Court has broad discretion
             Proposal. The Court did not stay              in determining whether to grant a motion for a protective
             discovery when it entered its                 order. See    Harris v. Amoco Prod. Co., 768 F.2d 669, 684
             Scheduling Order on March 20, 2017.           (5th Cir. 1985). “The trial court is in the best position to weigh
             As this issue was previously raised           fairly the competing needs and interests of parties affected by


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                                                                  under Rule 26(c)(1). Ashford Inc. v. Unite Here, No. 3:15-
discovery.”    Seattle Times Co. v. Rhinehart, 467 U.S. 20,       cv-0262-M, 2015 WL 11121019, at *2 (N.D. Tex. May 12,
36 (1984).                                                        2015).

In particular, “[t]he Court has broad discretion and inherent     And, as to the pending dispositive motions, the Townsend
power to stay discovery' while a motion to dismiss is             Defendants and Goodwin raise threshold challenges to
pending,” but “[s]uch a stay is not [ ] automatically granted     Plaintiffs' FLSA claims that are not uncommon and have
whenever a motion to dismiss is pending.” Stanissis v.            not generally resulted in staying discovery—even in cases
Dyncorp Int'l LLC, No. 3:14-cv-2736-D, 2014 WL 7183942,           to which the defendants' briefing points—and that the Court
at *1 (N.D. Tex. Dec. 17, 2014) (internal quotation marks         notes, without suggesting a view on the merits of defendants'
omitted). “[N]o federal rule, statute, or binding case law        pending motions to dismiss, often have resulted in leave to
applies here to automatically stay discovery pending a ruling     replead. See, e.g., Lopez-Santiago v. Coconut Thai Grill, No.
on” defendants' motions to dismiss. Escareno ex rel. A.E.         3:13-cv-4268-D, 2014 WL 840052, at *4-*5 (N.D. Tex. Mar.
v. Lundbeck, LLC, No. 3:14-cv-257-B, 2014 WL 1976867,             4, 2014). That all weighs heavily in favor of the Court’s
at *2 (N.D. Tex. May 15, 2014). “In fact, such a stay is          “declin[ing] in the exercise of its broad discretion to ...
                                                                  preclude all discovery in this case during the time it will take
the exception rather than the rule.”      Glazer’s Wholesale
                                                                  to decide the instant motions to dismiss and (if applicable) any
Drug Co., Inc. v. Klein Foods, Inc., No. 3:08-cv-774-L, 2008
                                                                  motions addressed to amended pleadings.” Stanissis, 2014
WL 2930482, at *1 (N.D. Tex. July 23, 2008). “[H]ad the
                                                                  WL 7183942, at *1. And, although the motion to compel
Federal Rules contemplated that a motion to dismiss under
                                                                  arbitration might, if granted, result in the complete dismissal
Fed. R. Civ. P. 12(b)(6) would stay discovery, the Rules would
                                                                  of this case as pending in this Court, that possibility alone does
contain a provision to that effect.” Id. (internal quotation
                                                                  not, considering all the other factors discussed above, justify
marks omitted).
                                                                  taking the extraordinary step of staying discovery.

The law is the same as to a pending motion to compel
                                                                   *6 Accordingly, the Court determines, in an exercise of
arbitration, although “[a] trial court has broad discretion and
                                                                  its broad discretion, that a stay of discovery and protective
inherent power to stay discovery until preliminary questions
                                                                  order, as requested, are not appropriate here. And, after
that may dispose of the case are determined.”        Petrus v.    considering all of the circumstances presented, the Court
Bowen, 833 F.2d 581, 583 (5th Cir. 1987).                         further determines that the parties will bear their own
                                                                  expenses, including attorneys' fees, in connection with
As the Townsend Defendants note, courts in this jurisdiction      the Townsend Defendants' Motion for Temporary Stay of
have explained that relevant “factors that inform the court’s     Discovery and Protective Order [Dkt. No. 45] and Defendant
discretion are: (1) the breadth of discovery sought; (2) the      Kelly Goodwin’s Motion for Protective Order [Dkt. No. 47].
burden of responding to such discovery; and (3) the strength
of the dispositive motion filed by the party seeking a stay.”
  Von Drake v. Nat'l Broad. Co., No. 3:04-cv-652-R, 2004                                    Conclusion
WL 1144142, at *1 (N.D. Tex. May 20, 2004).
                                                                  For the reasons explained above, the Court DENIES the
Here, the Court is persuaded that the discovery requests that     Townsend Defendants' Motion for Temporary Stay of
Plaintiffs have served and the depositions that they seek are     Discovery and Protective Order [Dkt. No. 45] and Defendant
not so voluminous and do not present such an undue burden         Kelly Goodwin’s Motion for Protective Order [Dkt. No. 47].
as the defendants make them out, considering that multiple,
apparently related defendants have been sued here and are         SO ORDERED.
jointly represented. The Court finds that the defendants'
assertions—which “only detail[ ] the usual inconveniences
                                                                  All Citations
and costs that are associated with discovery practice”—“do
not suffice to show hardship or inequity” or other good cause     Not Reported in Fed. Supp., 2017 WL 2778104
that would justify a stay of discovery and protective order




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                                                     Footnotes


1     Under § 205(a)(5) of the E-Government Act of 2002 and the definition of “written opinion” adopted by the
      Judicial Conference of the United States, this is a “written opinion[ ] issued by the court” because it “sets forth
      a reasoned explanation for [the] court’s decision.” It has been written, however, primarily for the parties, to
      decide issues presented in this case, and not for publication in an official reporter, and should be understood
      accordingly.



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Williams v. New Day Farms, LLC, Not Reported in F.Supp.2d (2010)


                                                                   complaint in Case No. 2:08–cv–1107, Ms. Williams and
                   2010 WL 3522397                                 NNA opposed the development of poultry farms by out of
      Only the Westlaw citation is currently available.            state corporations and discriminated against such poultry
                                                                   farms and their Hispanic employees. New Day contended
       This decision was reviewed by West editorial                that the alleged discrimination was demonstrated by the
      staff and not assigned editorial enhancements.               actions of Ms. Williams and NNA in motivating the Board
                                                                   of Trustees of York Township to enact a fire code as a
                 United States District Court,                     pretext for impermissibly regulating New Day's operations.
                         S.D. Ohio,                                Ms. Williams and NNA filed a motion to dismiss relying, in
                      Eastern Division.                            part, on the Noerr–Pennington doctrine. This Court granted
                                                                   the motion to dismiss filed by Ms. Williams and NNA and
         Pamela D. WILLIAMS, et al., Plaintiffs,
                                                                   dismissed all claims against them by order dated November
                         v.                                        17, 2009. New Day and Daybreak have appealed to the Sixth
       NEW DAY FARMS, LLC, et al., Defendants.                     Circuit Court of Appeals.

                       No. 2:10–cv–0394.
                                                                   In the current case, Ms. Williams and NNA contend that the
                                |
                                                                   previous case was a “SLAPP Suit” or Strategic Litigation
                         Sept. 7, 2010.
                                                                   Against Public Participation action designed to silence their
Attorneys and Law Firms                                            efforts as critics of New Day and Daybreak. Ms. Williams and
                                                                   NNA assert claims of malicious civil prosecution, abuse of
Shawn J. Organ, Jonathan Kent Stock, Organ Stock LLP,
                                                                   process, and claims for violations of      42 U.S.C. § 1983 and
Columbus, OH, for Plaintiffs.
                                                                      42 U.S.C. § 1985. They also assert claims for attorneys'
Kevin Patrick Braig, Dayton, OH, Thomas Patrick Whelley,           fees pursuant to 43 U.S.C. § 1988 and injunctive relief.
II, Dayton, OH, Lawrence Scott Helkowski, Ohio Attorney
General's Office, Columbus, OH, Aaron Scott Farmer,
Columbus, OH, for Defendants.
                                                                                          II. Legal Standard

                                                                   A stay of discovery for any reason is a matter ordinarily
                           ORDER                                   committed to the sound discretion of the trial court.

TERENCE P. KEMP, United States Magistrate Judge.                         Chrysler Corp. v. Fedders Corp. 643 F.2d 1229 (6th
                                                                   Cir.1981). In ruling upon a motion for stay, the Court is
 *1 This case is before the Court to consider the motion to        required to weigh the burden of proceeding with discovery
stay discovery filed by defendants New Day Farms, LLC and          upon the party from whom discovery is sought against the
Daybreak Foods, Inc. The motion has been fully briefed. For        hardship which would be worked by a denial of discovery.
the following reasons, the motion to stay (# 17) will be denied.   Additionally, the Court is required to take into account any
                                                                   societal interests which are implicated by either proceeding
                                                                   or postponing discovery.      Marrese v. American Academy
                        I. Background                              of Orthopedic Surgeons, 706 F.2d 1488, 1493 (7th Cir.1983).
                                                                   When a stay, rather than a prohibition, of discovery is sought,
This case arises out of another action filed in this Court,        the burden upon the party requesting the stay is less than if he
New Day Farms, LLC v. Board of Trustees of York Township,          were requesting a total freedom from discovery. Id.
Case No. 2:08–cv–1107, in which Pamela Williams and
Northwest Neighborhood Alliance, the plaintiffs here, were         However, one argument that is usually deemed insufficient to
named as defendants. The facts of that case, relevant for          support a stay of discovery is that a party intends to file, or has
purposes of the current motion, include the following.             already filed, a motion to dismiss for failure to state a claim
In June 2007, New Day, a Minnesota limited liability               under Rule 12(b)(6). As one court has observed,
company, purchased a poultry farm in York Township,
Union County, Ohio. According to the allegations of the


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              *2 The intention of a party to                                                III. Analysis
             move for judgment on the pleadings
             is not ordinarily sufficient to justify               New Day and Daybreak assert the following arguments in
             a stay of discovery. 4 J. Moore,                      support of their motion to stay discovery. First, they contend
             Federal Practice § 26.70[2], at 461.                  that significant discovery was undertaken in Case No. 2:08–
             Had the Federal Rules contemplated                    cv–1107 such that a stay of discovery will not result in
             that a motion to dismiss under                        any prejudice to plaintiffs in this action. On the other hand,
             Fed.R.Civ.Pro. 12(b)(6) would stay                    they argue, permitting additional discovery may result in
             discovery, the Rules would contain                    duplication of efforts and unnecessary expense. Additionally,
             a provision to that effect. In fact,                  they assert that the goals of judicial economy and preservation
             such a notion is directly at odds with                of the parties' resources will be met by a stay. In support of
             the need for expeditious resolution                   this argument they note that the Court has already recognized
             of litigation.... Since motions to                    the importance of these goals in entering a stay during the
             dismiss are a frequent part of federal                appeal of their attorneys' fees motion in Case No. 2:08–cv–
             practice, this provision only makes                   1107. Further, New Day and Daybreak assert that additional
             sense if discovery is not to be                       discovery is unnecessary to address the legal issues raised
             stayed pending resolution of such                     in their dispositive motion including the issue of Noerr–
             motions. Furthermore, a stay of the                   Pennington immunity.
             type requested by defendants, where
             a party asserts that dismissal is likely,             To the contrary, Ms. Williams and NNA argue that the
             would require the court to make a                     discovery undertaken in the other lawsuit is addressed to
             preliminary finding of the likelihood                 completely different issues with limited relevance to this
             of success on the motion to dismiss.                  action. Plaintiffs contend that discovery is necessary directed
             This would circumvent the procedures                  to issues including the motive for suing Ms. Williams and
             for resolution of such a motion.                      NNA, the identification of Does 1–5 named as defendants
             Although it is conceivable that a                     in Case No. 2:08–cv–1107, and the financial background of
             stay might be appropriate where the                   New Day and Daybreak. Further, they contend that, to the
             complaint was utterly frivolous, or                   extent discovery was undertaken in the other action, it was
             filed merely in order to conduct a                    “incomplete and deficient” and a stay may increase the risk
             “fishing expedition” or for settlement                that information will not be recovered. Additionally, plaintiffs
                                                                   contend that a pending dispositive motion is not grounds for
             value, cf.     Blue Chip Stamps v.
                                                                   staying discovery. Plaintiffs note that New Day and Daybreak
             Manor Drug Stores, 421 U.S. 723,
                                                                   have moved not only to dismiss but, in the alternative,
             741, 95 S.Ct. 1917, 1928, 44 L.Ed.2d
                                                                   for summary judgment. This circumstance, according to
             539 (1975), this is not such a case.
                                                                   plaintiffs, weighs even further against a stay of discovery.

                                                                    *3 In reply, New Day and Daybreak assert that the ability
    Gray v. First Winthrop Corp., 133 F.R.D. 39, 40                of Ms. Williams and NNA to fully respond to the motion
(N.D.Cal.1990). See also Turner Broadcasting System, Inc.          to dismiss proves that additional discovery is not required
v. Tracinda Corp., 175 F.R.D. 554, 556 (D.Nev.1997) (“a            here. According to defendants, Ms. Williams and NNA cite
pending Motion to Dismiss is not ordinarily a situation that       to various discovery materials from the other action “no less
in and of itself would warrant a stay of discovery....”). Thus,    than 40 times” in the response to the motion to dismiss.
unless the motion raises an issue such as immunity from suit,      Further, New Day and Daybreak argue that, to the extent
which would be substantially vitiated absent a stay, or unless     spoliation of evidence based on the conduct of discovery
it is patent that the case lacks merit and will almost certainly   in the other case is a concern to plaintiffs, this is the
be dismissed, a stay should not ordinarily be granted to a party   first time plaintiffs have raised it. Moreover, New Day and
who has filed a garden-variety Rule 12(b)(6) motion.               Daybreak contend that such a concern is unfounded because



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                                                                       Based on the foregoing, the motion to stay discovery (# 17)
preservation efforts were undertaken in Case No. 2:08–cv–
                                                                       is denied.
1107 in accordance with the parties' agreed upon discovery
plan. Finally, New Day and Daybreak reiterate that a stay
of discovery will not prejudice plaintiffs but will prevent
duplicative and harassing discovery.                                                        V. Appeal Procedure

While, as all parties acknowledge, significant discovery               Any party may, within fourteen days after this Order is
was undertaken in Case No. 2:08–cv–1107, Ms. Williams                  filed, file and serve on the opposing party a motion for
and NNA have identified additional discovery they wish to              reconsideration by a District Judge.      28 U.S.C. § 636(b)
pursue for purposes of their claims in this case. In light             (1)(A), Rule 72(a), Fed.R.Civ.P.; Eastern Division Order No.
of this, none of the arguments advanced by New Day and                 91–3, pt. I., F., 5. The motion must specifically designate
Daybreak persuade the Court that a stay of discovery is                the order or part in question and the basis for any objection.
warranted here. To the extent that New Day and Daybreak are            Responses to objections are due fourteen days after objections
concerned about potentially duplicative discovery or expense,          are filed and replies by the objecting party are due seven
should any issues arise, the Federal Rules of Civil Procedure          days thereafter. The District Judge, upon consideration of the
provide other options for addressing such situations short of          motion, shall set aside any part of this Order found to be
a complete stay. However, the primary basis for the requested          clearly erroneous or contrary to law.
stay, the pendency of a potentially dispositive motion as to
which the parties have presented substantial arguments on              This order is in full force and effect, notwithstanding the filing
both sides, is simply not sufficient to warrant a complete             of any objections, unless stayed by the Magistrate Judge or
stay of discovery. The potential prejudice to plaintiffs and the       District Judge. S.D. Ohio L.R. 72.4.
delay of the case outweigh the defendants' arguments in favor
of a stay.
                                                                       All Citations

                                                                       Not Reported in F.Supp.2d, 2010 WL 3522397
                        IV. Disposition


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